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                                 Composite Exhibit 3
                            Frontier Position Statements
    Charge No.              Charging Party              Page(s)
    Charge 541-2016-01704   Randi Freyer                1-12
    Charge 541-2016-01707   Shannon Kiedrowski          13-15
    Charge 541-2016-01708   Erin Zielinski              16-18
    Charge 541-2016-01709   Brandy Beck                 19-31
    Charge 541-2017-01427   Jo Linda Roby               32-43
    Charge 541-2017-01430   Stacy Rewitzer (Schiller)   44-55
    Charge 541-2018-00055   Renee Schwartzkopf          56-66
    Charge 541-2018-00056   Melissa Hodgkins            67-75
    Charge 541-2018-02436   Heather Crowe               76-88
    Charge 541-2018-02426   Trisha Hughes-Draughn       89-100
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       VIA ELECTRONIC SUBMISSION

       Todd Chavez
       Federal Investigator
       U.S. Equal Employment Opportunity Commission
       Denver Field Office
       303 East 17th Avenue
       Suite 410
       Denver, CO 80203

       Re:          Respondent's Position Statement
                    Randi Freyer v. Frontier Airlines, Inc.
                    EEOC Charge No. 541-2016-01704

       Dear Mr. Chavez:

                I am writing on behalf of Respondent Frontier Airlines, Inc. (''Frontier'') in response to
       the Charge of Discrimination filed by Randi Freyer on or about May 6, 2016. In her Charge, Ms.
       Freyer alleges to have suffered discrimination based on her sex and in violation of Title VII of
       the Civil Rights Act of 1964 (''Title VII''), as amended by the Pregnancy Discrimination Act
       (''PDA''). Frontier also acknowledges that Ms. Freyer contends the company violated the
       Colorado Fair Employment Practices Act and the Colorado Workplace Accommodation for
       Nursing Mothers Act (''WANMA''). However, Frontier understands that the Equal Employment
       Opportunity Commission (''EEOC'') does not have jurisdiction over these state law claims.
       Accordingly, it has refined its response to address Ms. Freyer's federal law claim under Title VII.
       To the extent the EEOC believes it has jurisdiction to Investigate the state law allegations
       referenced in the Charge, particularly with respect to the WANMA, Frontier respectfully requests
       the opportunity to supplement this position statement to address these matters. 1




        1
         This position statement is based on Frontier's understanding of Ms. Freyer's allegatlons to the best of its
       knowledge and recollection as of the date of this document. Frontier expressly reserves the righ t to
       amend, supplement or correct this Position Statement, if necessary. In addition, this Position Statement
       and the accompanying exhibits, which contain confidential personnel, medical and business information,
       are subject to the exceptions to the disclosure requirements of the Freedom of I nformation Act f'FOIA"),
       5 U.S.C. § 552(b)(7). All information provided herein, including this Position Statement, Is provided solely
       in cooperation with the EEOC's fact-finding efforts. Frontier reserves all objections to the admissibility at
       any hearing, trial, or other proceeding of any of the information or documents provided to the EEOC.


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                                                      EXHIBIT3
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    I.     INTRODUCTION

            Frontier denies any allegation that it discriminated against Ms. Freyer in violation of Title
    VII, as amended by the PDA, or any other law. In fact, as detailed below, Frontier treated Ms.
    Freyer, all pregnant pilots, and those pilots wishing to express breast milk upon their return to
    work: lawfully; in compllance with the collectively bargained agreement governing relevant
    terms and conditions of a Frontier pilot's employment; in accordance with its standard
    practices; and, most importantly, consistent with the manner in which it accommodates all
    pilots (both male and female) who are similar in their ability to work or not work.

            Indeed, upon close scrutiny of the Charge, it becomes clear that Ms. Freyer demands
    that Frontier treat her, pregnant pilots and those pilots seeking to express breast milk upon
    their return to flight more favorably than all other pilots and federal law. For example, Ms.
    Freyer takes issue with the fact that her leave of absence in connection with her pregnancy and
    the birth of her child was unpaid. Under the terms of the Frontier Airline Pilqts Association's
    C'FAPA'') Collective Bargaining Agreement C'CBA''), all medical leaves of absence are unpaid.
    Moreover, it is indisputable that Title VII, the Family and Medical Leave Act C'FMLA'') and
    Americans with Disabilities Act C'ADA'') do nQt require a leave of absence to be paid.

            In her Charge, Ms. Freyer further contends that the fact she was not offered a
    temporary reassignment to light duty as an accommodation for her pregnancy or desire to
    express breast milk upon her return to work is further evidence of discrimination. More
    specifically, in her Charge, Ms. Freyer contends that she should have been offered the
    opportunity to be temporarily reassigned to a desk job at Frontier's corporate headquarters or a
    ground position at the airport. This argument falls flat because Frontier does not provide
    temporary light duty assignment at its corporate headquarters or at the airport as an
    accommodation to any pilot unable to fly for medical reasons. Any allegation that the company ·
    has done so in the past has no basis in fact. To be clear, Frontier has no obligation under the
    CBA to provide this type of accommodation to pilots (male or female) who are unable to fly due
    to: (a) an on-the-job injury; (b) a non-work related injury; or, (c) any other medical condition
    or disability. Put another way, Frontier treated Ms. Freyer the same as all other pilots.

            Finally, Ms. Freyer's allegations are further undermined by the fact that in May 2016,
    Frontier granted her the very accommodation she requested: an extended leave of absence
    until December 5, 2016, i.e., one year after the birth of her daughter. As Ms. Freyer notes in
    her Charge, it was important to her that her child be breast fed for one full year after birth.
    Accordingly, Ms. Freyer requested a leave of absence up to and including December 5, 2016,
    which is her daughter's one year birthday. The contemporaneous communication surrounding
    Ms. Freyer's accommodation request demonstrates that this was her preferred accommodation,
    i.e., not to return to work and be accom modated there, but to remain home with her daughter.
    Frontier granted Ms. Freyer the extended leave of absence. Therefore, it is unclear what
    damages Ms. Freyer has suffered, given Frontier has provided her with exactly what she
    requested.




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            In summary, Frontier believes that this Position Statement and the evidence submitted
    herewith demonstrate that it has acted lawfully at all times. Accordingly, it respectfully requests
    that the EEOC issue a no probable cause finding with respect to Ms. Freyer's Charge.

    II.       FACTUAL BACKGROUND

              A.     General Information Relating To Ms. Freyer's Employment

            On or about September 3, 2013, Ms. Freyer began her employment with Frontier as a
    pilot in the position of First Officer, in which she remains as of the date of this Position
    Statement. Exhibit A (Personnel File). As a First Officer, Ms. Freyer is generally "responsible for
    ensuring safe and timely flight operations in accordance with all Company policies and Federal
    Aviation Regulations (FAR)." Exhibit B (First Officer Job Description). The job description's
    emphasis on safety is consistent with the fact that while Frontier prides itself on being an ultra-
    low cost carrier, the company views its primary mission to be ensuring the safety of its
    customers and employees. Thus, while serving more than 40 cities in the United States,
    Mexico, and Jamaica on over 275 daily flights, Frontier never loses sight that its principal
    responsibility is to ensure passengers and employees are safely delivered to their destination.

            Upon her acceptance of employment as a First Officer, Ms. Freyer voluntarily joined
    FAPA, the union that represents Frontier pilots and is responsible for promoting the interests of
    its members. See Charge at p. 2, ,J3. Importantly, FAPA and Frontier negotiated a CBA, which
    is the contract that sets forth the terms of employment and working conditions for Frontier
    pilots. The CBA specifically addresses, among other things, seniority, scheduling, staffing
    adjustments, leaves of absence, and medical standards. Exhibit C (Relevant Provisions of FAPA
    CBA). Accordingly, its provisions are material to an assessment of Ms. Freyer's allegations.

            In her Charge, Ms. Freyer contends she was discriminated against in violation of Title
    VII in connection with two separate, discrete time periods: (a) her pregnancy In 2013 and her
    return to work following the birth of her first child; and, (b) her pregnancy in 2015 and
    anticipated return to work following the birth of her second child. Critically, after Ms. Freyer
    had her second child on December 5, 2015, in accordance with the terms of the CBA, she was
    provided a 120 day leave of absence from the birth of her child, i.e., up to and including April 3,
    2016. Id. at §9.H.4. Before returning to work, Ms. Freyer requested an extension of her leave
    until December 5, 2016 to allow her to breast feed her daughter until her first birthday. Exhibit
    Q (March 31, 2016 E-mail). Indeed, in her request for an accommodation for additional leave
    time, Ms. Freyer made clear that her preferred accommodation was to take additional unpaid
    leave, rather than be accommodated to express breast milk at work:

          •   "If I'm eligible to request a medical LOA for these reasons, then I would like to request
              such a leave until my Iii lady turns 1, December 5 of this year."




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        •   "The bottom line is that I'd like to seek leave, under either FMLA, extended maternity
            leave, or medical LOA (or some combination), until December 5, 2016 when Avery will
            be one."

    Id. On or around May 25, 2016, Frontier granted Ms. Freyer this additional leave of absence.
    Exhibit E (June 2013 E-mails Acknowledging Leave of Absence Approved); and, Exhibit F (Leave
                         2
    of Absence Records). Thus, as of the date of this position statement, Ms. Freyer remains
    employed by Frontier, but is on a leave of absence until December 2016.

            B.      Ms. Freyer's Allegations With Respect To Her First Pregnancy And
                    Subsequent Return To Work Are Time Barred

            In order to maintain a claim under Title VII, a plaintiff must file a charge of
    discrimination with the EEOC within 300 days of the alleged unlawful employment practice. 42
    U.S.C. § 2000e-5(e)(1). Ms. Freyer filed her Charge on May 6, 2016 and 300 days prior to that
    is July 11, 2015, rendering any claim based on events before this date untimely as a matter of
    law. Id. Accordingly, Ms. Freyer's allegations relating to her first pregnancy and her
    subsequent return to work are time barred.

            More specifically, in her Charge, Ms. Freyer takes issue with the fact that in early 2014,
    when she was 32 weeks pregnant with her first child and unable to fly, she was required to
    begin her maternity leave rather than have the opportunity to be temporarily reassigned to a
    light duty position. Charge at p. 4, ,i,i17-19. This leave began on March 6, 2014 and ran
    through early April 2014, at which time her first child was born. Id. at p. 5, ,i20. Therefore,
    there can be no doubt that these allegations are time-barred, as they are well before the July
    11, 2015 cut-off imposed by Title VII and enforced by the EEOC. National Railroad Passenger
    Corp. v. Morgan, 536 U.S. 101, 117 (2002) (finding that repeated occurrences of the same
    discriminatory employment action, like the failure to provide an accommodation, can be
    challenged only if "an act contributing to the claim occurs within the [charge] filing period'').

           In addition, the Charge improperly takes aim at Frontier's purported failure to
    accommodate Ms. Freyer upon her return to work in February 2015, after her ten (10) month
    leave of absence following the birth of her first child. Before assessing the lack of legal merit
    on this issue, it is important to note that Ms. Freyer's allegations are inherently contradictory,
    perhaps in an attempt to confuse and mislead the EEOC. For example, in her introduction, she
    admits that she returned to work "in or around February 2015." Charge at p. 1. Then, in the
    purported "fact" section of the Charge, Ms. Freyer claims that she was only on a medical leave
    of absence "until December 2014." Id. at ,i 20. A few paragraphs later Ms. Freyer claims she
    "returned to work in January 2015." Id. at ,i 24. To review, within the Charge, she claims to
    have returned to work in December 2014, January 2015, and February 2015. This


    2
      This Exhibit includes medical information, which is confidential. Accordingly, Frontier has not submitted
    It via the electronic portal, but instead, will deliver it via e-mail.




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    inconsistency on the most basic of issues should not be overlooked by the EEOC, as it is patent
    evidence that Ms. Freyer's allegations lack credibility.

             Notwithstanding the foregoing, Ms. Freyer actually returned to work in February 2015,
    when her first child was approximately 10 months old. The Charge claims that it is "important"
    to Ms. Freyer that she be able to breastfeed her children for one year. Because Ms. Freyer's
    first born turned one in April 2015, to the extent she requested an accommodation with respect
    to expressing breast milk at work, and Frontier does not admit that she did, the request was
    only up to and including April 2015. Thus, once again, because the allegations relate to events
    before the 300 days prior to when Ms. Freyer filed her Charge - i.e., prior to July 11, 2015 -
    any claim based on these events is untimely as a matter of law. 42 U.S.C. § 2000e-S(e)(l); see
    also Morgan, 536 U.S. at 117.

            This last point is critical. As described above in Section II.A, a~er Ms. Freyer had her
    second child on December 5, 2015, she requested an extension of her medical leave of absence
    until December 5, 2016, which Frontier granted. This means that as of the date of this position
    statement, Ms. Freyer remains out on leave and unable to establish a timely claim with respect
    to any failure to accommodate her desire to express milk upon to a return to work. Indeed,
    when she does return to work, her daughter will be one, thereby eliminating Ms. Freyer's
    concerns of being unable to feed her via breast milk until her child's first birthday. For this
    reason, Frontier respectfully states that Ms. Freyer cannot assert and has no standing to claim a
    violation of Title VII in connection with Frontier's purported failure to adequately accommodate
    her desire to express breast milk during work hours.

            In summary, there can be no doubt that all of Ms. Freyer's allegations with respect to
    her first pregnancy and return to work are untimely as a matter of law. See Charge at pp. 4-6,
    ,i,i17-31. Therefore, Frontier respectfully requests that the EEOC inform Ms. Freyer that under
    Title VII, the United States Supreme Court's case law interpreting the same and the EEOC's
    directive to enforce the laws as written, these allegations are time barred.

           c.       Ms. Freyer's Allegations With Respect To Her Second Pregnancy Lacks
                    Factual And Legal Merit

            In her Charge, with respect to her second pregnancy, Ms. Freyer takes issue with the
    fact that when her pregnancy rendered her unable to fly, she was required to take an unpaid
    leave of absence, rather than be: (a) reassigned to a temporary light duty position until the
    birth of her child; or, (b) paid for her time away from work.

                    1,    All Medical Leaves Of Absence Provided To Pilots Are Unpaid

            As an initial matter, the terms and conditions of the leaves of absence policies about
    which Ms. Freyer complains are set forth in the CBA. That is, they were collectively bargained
    for by FAPA and on behalf of Ms. Freyer, who voluntarily agreed to be a part of the union. This
    cannot be lost, as the Charge consistently refers to the leaves of absence policies to which Ms.




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    Freyer is subject to as "Frontier's policies." See e.g. Charge at ,i,i 5, 6, 22, 33 (referring to
    "Frontier's policies'1- This Is misleading because it fails to inform the EEOC that Ms. Freyer's
    Interests were represented by FAPA and accounted for in the determination of the scope of
    these policies.

            That aside, Ms. Freyer takes issue with the fact that she was not provided a paid leave
    of absence. Charge at ,i,i 5, 7, 34. The CBA does not provide for a paid leave of absence for
    pilots unable to fly due to any type medical condition. See generally Ex. C. As set forth in the
    CBA, Frontier provides pilots with the following types of medical leave: (a) Family and Medical
    Leave of Absence; (b) Maternity Leave of Absence; and, (c) Medical Leave of Absence. See Ex.
    C at Section 9 (Leaves of Absence). 3 Nowhere in the CBA does it provide that a pilot shall be
    paid in connection with any of the foregoing leaves of absence, other than to the extent the
    pilot wishes to be paid from accrued sick leave or vacation time. Accordingly, the fact Frontier
    does not pay pregnant pilots on a leave of absence in connection with their pregnancy or birth
    of a child cannot be deemed discriminatory where, as here, the company does not pay any pilot
    (male or female) on a leave of absence for non-pregnancy related medical conditions. See
    Young v. UPS, 135 S. Ct. 1338, 1343-44 (2015). In summary, this renders any assertion that
    Frontier pay Ms. Freyer for her time away from work for pregnancy-related medical conditions
    contrary to the mandates of litle VII. Id. (only requiring an employer to treat "women affected
    by pregnancy .. . the same for all employment-related purposes ... as other persons not so
    affected but similar in their ability or inability to work'') (quoting 42 U.S.C. § 2000e(k))
    (emphasis added).

                    2.     Frontier Does Not Provide The Temporary Light Duty Assignment
                           That Ms. Freyer Sought As An Accommodation To Any Pilots
                           Unable To Fly For Any Reason

            In her Charge, Ms. Freyer also takes issue with the fact that Frontier failed to provide
    her with the opportunity to be reassigned to a temporary light duty position to accommodate
    her inability to fly in the third trimester of her 2015 pregnancy. Charge at p. 6, ,i1 6, 10, 33,
    35, 49. Under the Maternity Leave of Absence policy set forth in the CBA, "[a]fter the 32nd
    week of pregnancy, or whenever such Pilot's doctor will not provide the required medical
    authorization, whichever comes first, the Pilot will request Maternity Leave. " Ex. C at § 9.H.
    Notably, in her Charge, Ms. Freyer does not claim that she should have been perm itted to fly
    after her 32nd week of pregnancy, but instead, simply claims she could have continued working
    in a temporary light duty assignment. Charge at pp. 1, 6, ,i,i 33, 35 (uniformly stating she
    would have been able to "continue working in a reassigned capacity'')."'

    3
      Notably, Frontier pilots are eligible for workers' compensation, as well as long term and short term
    disability benefits in connection with qualifying conditions. In fact, in her Charge, Ms. Freyer's
    acknowledges she received disability benefits after the birth of her first child. Charge at p. 5, ,i20.
    ~ The Federal Aviation Administration's regulations prohibit a person who holds a current medical
    certificate from acting as a pilot when she knows or has reason to know of any medical condition that
    would make the person unable to meet the requirements for the medical certificate necessary for the




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            The CBA does not require and Frontier's standard practices do not provide for the
    provision of a temporary light duty assignment at Frontier's corporate office or at the airport to
    any pilot (male or female) unable to fly due to: (a) an on-the-job injury; (b) a non-work related
    injury; or, (c) any other medical condition or disability. Put another way, there are no poHcies
    or procedures in place at Frontier addressing the provision of temporary light duty assignment
    at issue in the charge, i.e., the provision of a "desk job" at corporate headquarters or a "ground
    position" at the airport. See e.g. Charge at p. 6, 133 (claiming she "would have been able to
    work until the end of [her] pregnancy had I had the option of being temporarily reassigned to a
    ground position''), p. 8, 149 (referencing a "desk job position at headquarters''). Moreover,
    contrary to the allegations in the Charge, during the relevant time period, Frontier did not
    provide a temporary light duty assignment at Frontier's corporate office ( or at the airport) to
    any pilot unable to fly for any reason. Compare Charge at p. 8, 149 (claiming that Ms. Freyer is
    "aware of one [female] line pilot who was provided with a desk job position at headquarters
    when she was unable to fly because of certain medical reasons"). Given the foregoing, the only
    conclusion that can be reached is that Ms. Freyer demands that the EEOC insist she be treated
    more favorably than other pilots. There is no support in the relevant law, including the EEOC's
    guidance interpreting the same.

           First, according the EEOC Enforcement Guidance on Pregnancy Discrimination and
    Related Issues, in enacting the PDA:

                    Congress sought to make clear that 'pregnant women who are
                    able to work must be permitted to work on the same conditions as
                    other employees; and, when they are not able to work for medical
                    reasons, they must be accorded the same rights, leave privileges
                    and other benefits, as other workers who are disabled from
                    working.' The PDA requires [only] that pregnant employees be
                    treated the same as non-pregnant employees who are similar in
                    their ability or inability to work.

    Id. (EEOC Notice No. 915.003) (June 25, 2015) (Overview of Statutory Protections) (emphasis
    added). Pursuant to the foregoing, because Frontier does not provide temporary light duty
    assignment to pilots at Frontier's corporate office or at the airport, the fact that Frontier did not
    provide Ms. Freyer this accommodation is not evidence of discrimination under the PDA.

             Further, in Young v. UPS, the United States Supreme Court held that to succeed on a
    claim that the denial of an accommodation constitutes disparate treatment under the PDA, the
    plaintiff must show, among other things, "that she sought [an] accommodation, that the

    pilot operation. 14 C.F.R. § 61.53. Given the medical risks associated with flying during pregnancy,
    including premature labor, and the inherent risk to the safety of flight operations in the event of a
    medical emergency to a pilot, the CBA identifies that a pregnant pilot will no longer be eligible to fly a
    plane at 32 weeks of pregnancy. In her Charge, Ms. Freyer does not dispute the legitimate business and
    safety reasons behind this decision, which was collectively bargained for and agreed to by her union.




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    employer did not accommodate her, and that the employer did accommodate others 'similar In
    their ability or inability to work."' 135 S. Ct. at 1354 (emphasis added). Here, Ms. Freyer
    cannot establish that she was denied an accommodation provided to other pilots and
    accordingly, cannot set forth a prima facie case of discrimination.

           Finally, when providing guidance with respect to an employer's obligation to provide a
    reasonable accommodation under the ADA, the EEOC has stated:

                    The principle that the ADA does not require employers to create
                    positions as a form of reasonable accommodation applies equally
                    to the creation of a light duty position.

    EEOC Enforcement Guidance: Workers' Compensation and the ADA (EEOC Notice No. 915.002)
    (June 6, 2000) (emphasis added). This provides more support for Frontier's actions, because
    according to the EEOC Guidance, the company was under no obligation to create a temporary
    light duty position or light duty program at Frontier's corporate offices or at the airport for Ms.
    Freyer or others similarly situated.

          In summary, when Frontier did not offer Ms. Freyer the option of a temporary light duty
    assignment, it treated her the same as non-pregnant pilots who are similar in their ability to
    work or not work. Therefore, the company met and is meeting the letter and spirit of the law.5




    5
      In its requests for information, the EEOC seeks information on the pregnant pilots who were "placed on
    unpaid maternity leave following the 32nd week of pregnancy." Frontier will provide this information on
    pilots who, in accordance w ith terms of the CBA, were determined to be unable to fly at week 32 of their
    pregnancy. This information is provided for July 11, 2015 to the present, which for the reasons set forth
    In Section II.B is the relevant time period. 42 U.S.C. § 2000e-5(e){1) (requiring a charge of
    discrimination to be filed within 300 days of the alleged unlawful employment practice). If the EEOC has
    legal authority supporting its request for and inference that it has a right to information from January 1,
    2014 through July 10, 2015, which is outside the relevant time period as set forth in Title VII, Frontier
    respectfully requests the opportunity to review such authority. Upon provision of such information by the
    EEOC, Frontier reserves the right to reconsider its decision on whether to provide such information.

    Subject to and without waiving the foregoing, Frontier states that during the relevant time period, Andrea
    Martinez was the only other pregnant pilot who, in accordance with the CBA, was determined to be
    unable to fly at week 32 of her pregnancy. Ms. Martinez began her leave of absence on November 17,
    2015 and returned to work on May 4, 2016. Recently, Ms. Martinez voluntarily resigned her position with
    Frontier to pursue a career opportunity with another airline.




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          D.       Frontier's Provision Of An Extended Leave Of Absence To Ms. Freyer
                   Undercuts The Remaining Allegations In Her Charge

           In another futile attempt to demonstrate that Frontier discriminated against her, Ms.
   Freyer contends that because the Maternity Leave of Absence policy is "limited" to "120 days of
   unpaid maternity leave," it further evidences a violation of litle VII. See e.g. Charge at ,i52
   (claiming "the limitation to 120 days of unpaid maternity leave" is discriminatory). On this
   issue, the Charge states:

                   I would prefer to take more than the maximum 120 days of
                   unpaid maternity leave so that I can continue breastfeeding, but I
                   am not permitted to do so under Frontier policies. Frontier's
                   policies also prohibit me from seeking unpaid medical leave for a
                   longer period by demonstrating medical necessity as a result of
                   lactation.

   Charge at p.5, ,i 22. There can be no dispute that Frontier granted Ms. Freyer an extended
   leave of absence for the exact duration she requested, December 5, 2015 through December 5,
   2016, and in connection with a purported medical condition related to lactation. Ex. E. Thus,
   this allegation is without factual support. It is inarguable Ms. Freyer was provided more than
   120 days of leave.

           In addition, this claim lacks legal merit. There is no federal law that requires Frontier to
   provide a Q2iQ maternity leave of absence or even that it administer a Maternity Leave of
   Absence policy. Rather, Frontier is required QnJ¥ to follow the FMLA, which is to say it must
   ensure eligible employees are allowed "to take job-protected, unpaid leave for up to a total of
   12 workweeks within any 12 months." 29 C.F.R. § 825.lO0(a). Frontier more than met this
   federal mandate. Specifically, the CBA has a separate leave of absence policy addressing the
   FMLA, which Ms. Freyer exhausted. Ex. C at §9.F. Thus, the fact that the Maternity Leave of
   Absence policy exists and affords Ms. Freyer more than 17 weeks of leave after the birth of her
   child and after she already exhausted her FMLA leave demonstrates just the opposite of
   unlawful treatment against female pilots. Put another way, the Maternity Leave of Absence
   policy provides for coverage far in excess of what is required by federal law and demonstrates a
   good faith attempt to accommodate working mothers.

          E.       Other

          Finally, Ms. Freyer appears to take issue with the fact that at the time she filed her
   Charge on May 6, 2016, Frontier had not provided her a response to her preferred request for
   the accommodation of an extension of her leave of absence or, in the alternative, information
   on "what policies" Frontier had in place to allow her to express breast milk during work hours.
   Charge at ,i,i 38-47; Ex. D (March 31, 2015 E-mail). As detailed above, Frontier has approved
   Ms. Freyer's extended leave of absence. However, the company would be remiss if it did not




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   point out that Ms. Freyer was equally responsible for any delay in Frontier being able to
   determine her eligibility for an extension of her leave of absence.

           In accordance with the Maternity Leave of Absence policy in the CBA, Ms. Freyer was
   granted a leave of absence for 120 days following the date of her daughter's birth. Ex. C at
   §9.H.4 f'Maternity Leave shall be granted until the pregnancy ends, and thereafter for a period
   not to exceed 120 days after the duration of the pregnancy."). Since Ms. Freyer's daughter was
   born on December 5, 2015, she was informed that her leave of absence would extend to April
   3, 2016. Ex. D (Dec. 17, 2015 E-mail). That is, contrary to the allegations in the Charge, Ms.
   Freyer was not "ordered" to return to work on that day, but instead, simply notified the time
   period for which her maternity leave was approved. Charge at p. 6, 136.

          Mere days before her leave was set to expire, on March 31, 2016, Ms. Freyer contacted
   Frontier for the first time to request information on whether she was "eligible" to extend her
   leave of absence and if not, then what options were available to her with respect to expressing
   milk at work. Ex. D (March 31, 2016). Frontier was unable to determine by the e-mail from
   Ms. Freyer whether she had a medical condition that qualified her for a leave of absence under
   the CBA. Rather, Frontier needed a certification from a health care provider identifying the
   medical condition precluding her return to work. This is consistent with the terms of the CBA.

       •    Under the Maternity Leave of Absence policy, "[i]f a Pilot is unable to return to Active
            Service within 120 days after the pregnancy ends because of a certified medical
            incapacitation. she shall be entitled to receive a Medical Leave of Absence under the
            provisions of this Section."

       •     Under the Medical Leave of Absence policy, Frontier has the right to "require a Pilot
           · who requests a Medical Leave of Absence to first present a reasonably sufficient report
             from the Pilot's health care provider certifying the Pilot's need for Medical Leave."

   Ex. Cat §9.H.15.a, §9.1.2 (emphasis added). In short, Ms. Freyer's belief that she could certify
   her own medical incapacitation over e-mail and without input from a health care provider was
   misguided; and, her insistence on getting an answer without any medical certification
   contributed to any perceived delay. Ultimately, in April 2016, Frontier provided Ms. Freyer with
   the requisite medical documentation that needed completion and her doctor returned it in May
   2016. Ex. E. Once Frontier had the proper certifications in hand, it was only then able to
   evaluate and determine that Ms. Freyer would be granted an extension of her medical leave of
   absence.

           Finally, the e-mail communication demonstrates that Ms. Freyer was very clear that she
   was pursuing an extension of her leave and was only interested in what policies were available
   to her if her leave request was denied and she was required to return to work in the spring of
   2016. Ex. D at April 20, 2016 E-mail ("If I'm eligible to request a medical LOA for these
   reasons, then I would like to request such a leave until my Iii lady turns 1, December 5 of this




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   year [2016].''), April 21, 2016 E-mail ("The bottom line is that I'd like to seek leave, under
   either FMLA, extended maternity leave, or medical LOA (or some combination), until December
   5, 2016 when Avery will be one.''). Therefore, any insinuation that Frontier failed to adequately
   engage her in discussions with respect to her return to work are meritless, as Frontier was
   focused on assisting Ms. Freyer in pursuing her primary goal of remaining on a leave of
   absence.

   III.       LEGAL ANALYSIS

            In her Charge, Ms. Freyer contends she was discriminated against based on her sex in
   violation of litle VII, as amended by the PDA. Since she does not offer direct evidence of
   discrimination on this claim, this allegation of discrimination must be analyzed under the
   McDonnell Douglas burden-shi~ing framework. A plaintiff alleging that the denial of an
   accommodation constituted disparate treatment under the PDA establishes a prima facie case
   by showing that: (1) she is a member of a protected class; (2) she sought an accommodation
   and the employer did not accommodate her; and, (3) the employer did accommodate others
   similar in their ability or inability to work. Young, 135 S. Ct. at 1354. If a plaintiff can make
   this showing, then the "employer may then seek to justify its refusal to accommodate the
   plaintiff by relying on legitimate, non-discriminatory reasons for denying her accommodation."
   Id. "If the employer offers an apparently legitimate, non-discriminatory reason for its actions, "
   the burden then shifts back to the plaintiff to "show that that employer's proffered reasons are
   in fact pretextual." Id.

          For the reasons set forth above, with respect to her timely claims of discrimination (and
   even those that are untimely), Ms. Freyer cannot meet her prima facie case because she cannot
   demonstrate that she sought an accommodation that Frontier did not grant to her, but provided
   others similar in their ability to work or not work. For example:        ·

          •    Ms. Freyer complains that she was not afforded the accommodation of a paid leave of
               absence. Frontier does not provide a paid leave of absence to pilots unable to fly due
               to any type medical condition . See Section II.C.1 above.

          •    Ms. Freyer also takes issue with the fact that Frontier failed to provide her with the
               opportunity to be reassigned to a temporary light duty position at Frontier's corporate
               office or at the airport to accommodate her inability to fly. Frontier does not provide
               temporary light duty assignment to any pilot at Frontier's corporate office or at the
               airport unable to fly for any reason (e.g., on the job injury, off the job injury, any
               medical condition or disability). See Section II.C.2 above.

   Accordingly, Ms. Freyer's discrimination claim fails at the outset, as she cannot even make it
   past her prima facie case. Indeed, Frontier's decision to adhere to the provisions of the CBA
   and to treat Ms. Freyer the same as all other pilots in their ability or Inability to work is evidence




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   that its business decisions were legitimate and non-discriminatory. Accordingly, Ms. Freyer also
   cannot establish Frontier's decisions were pretextual.

          In summary, Ms. Freyer's Title VII allegations are either untimely as a matter of law or
   without legal merit.

   IV.    CONCLUSION

          For the reasons detailed above, Ms. Freyer has not been subject to any form of
   discrimination. Rather, Frontier has treated her fairly and lawfully at all times. Accordingly, the
   company respectfully requests that Ms. Freyer's Charge be dismissed with a finding of "no
   probable cause." Please do not hesitate to contact me if you require any further information.

   Sincerely,

   Littler Mendelson, P.C.


   &n~s
   Erin A. Webber

   EAW/ AAS




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   VIA ELECTRONIC SUBMISSION

   Todd Chavez
   Federal Investigator
   U.S. Equal Employment Opportunity Commission
   Denver Field Office
   303 East 17th Avenue
   Suite 410
   Denver, CO 80203


   Re:           Respondent's Position Statement
                 Shannon Kiedrowski v. Frontier Airlines
                 EEOC Charge No. 541-2016-01707

   Dear Mr. Chavez:

           I am writing on behalf of Respondent Frontier Airlines, Inc. ("Frontier") in response to
   the Charge of Discrimination filed by Shannon Kiedrowski on or about May 6, 2016. In her
   Charge, Ms. Kiedrowski alleges to have suffered discrimination based on her sex and in violation
   of Tit1e VII of the Civil Rights Act of 1964 ('Title VII"), as amended by the Pregnancy
   Discrimination Act ("PDA''). Frontier also acknowledges that Ms. Kiedrowski contends the
   company violated the Colorado Fair Employment Practices Act and the Colorado Workplace
   Accommodation for Nursing Mothers Act ("WANMA"). However, Frontier understands that the
   Equal Employment Opportunity Commission ('EEOC") does not have jurisdiction over these
   state law claims. Accordingly, it has refined its response to address Ms. Kiedrowski's federal
   law claim under Title VII. To the extent the EEOC believes it has jurisdiction to investigate the
   state law allegations referenced in the Charge, particularly with respect to the WANMA, Frontier
   respectfully requests the opportunity to supplement this position statement to address these
   matters. 1


   1
     This position statement is based on Frontier's understanding of Ms. Kiedrowski's allegations to the best
   of its knowledge and recollection as of the date of this document. Frontier expressly reserves the right to
   amend, supplement or correct this Position Statement, if necessary. In addition, this Position Statement
   and the accompanying exhibits, which contain confidential personnel, medical and business information,
   are subject to the exceptions to the disclosure requirements of the Freedom of Information Act ("FOIA"),
   5 U.S.C. § 552(b)(7). All information provided herein, including this Position Statement, is provided solely
   in cooperation with the EEOC's fact-finding efforts. Frontier reserves all objections to the admissibility at
   any hearing, trial, or other proceeding of any of the information or documents provided to the EEOC.


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                               Ms. Kiedrowski's Claim Is Time Barred

          Frontier denies any allegation that it discriminated against Ms. Kiedrowski in violation of
  Title VII, as amended by the PDA, or any other law. That said, Ms. Kiedrowski cannot assert a
  Title VII claim against Frontier because her claim is time barred.

           More specifically, in her Charge, Ms. Kiedrowski contends she was discriminated against
   in violation of the law in connection with:

       •    Her first pregnancy in 2010 and subsequent return to work in March 2011; and,

       •    Her second pregnancy in 2013 and subsequent return to work in July 2013.

   Charge at pp. 4-5 11 18, 20, 22, 23. 2 In order to have a valid discrimination claim, a plaintiff
   must file a charge of discrimination within 300 days of the alleged unlawful discrimination
   practice about which she complains. 42 U.S.C. § 2000e-5(e)(l). Ms. Kiedrowski filed her
   Charge on May 6, 2016 and 300 days prior to that is July 11, 2015, rendering any claim based
   on events before this date untimely as a matter of law. Even a cursory review of Ms.
   Kiedrowski's allegations reveal the fundamental flaw in her attempt to bring a claim.

          With respect to her 2010 and 2013 pregnancies, Ms. Kiedrowski takes issue with the fact
   that once she was unable to fly, she was required to take an unpaid leave of absence for the
   remainder of her pregnancy, rather than being provided paid leave or the option to be
   reassigned to a temporary light duty position. See e.g. Charge at p. 5, 1 5. In her Charge, Ms.
   Kiedrowski concedes that these leaves of absence spanned from approximately: (a) October
   2010 through December 2010; and, (b) December 2012 through March 2013. Id. at pp. 4-5 11
   18, 20, 22, 23. Therefore, there can be no doubt that these allegations are time-barred, as
   they are well before the July 11, 2015 cut-off imposed by Title VII and enforced by the EEOC.
   National Railroad Passenger Corp. v. Morgan, 536 U.S. 101, 117 (2002) (finding that repeated
   occurrences of the same discriminatory employment action, like the failure to provide an
   accommodation, can be challenged only if "an act contributing to the claim occurs within the
   [charge] filing period'1,

            As for her allegations that Frontier allegedly failed to accommodate Ms. Kiedrowski upon
   her return to work in March 2011 and July 2013, these too are untimely. The Charge claims
   that it is "important" to Ms. Kiedrowski that she be able to breastfeed her children for one year.
   Ms. Kiedrowski's children turned one in March 2012 and July 2014, respectively. Accordingly, to

   2
    Charge at p. 4-5 ,i,i 18 (stating she first became pregnant in March 2010 and went on a leave of
   absence in or around October 2010, her 32nd week of pregnancy), 20 (stating she gave birth to her first
   child in December 2010 and returned to work in March 2011), 22 (stating she became pregnant with her
   second child in June 2012 and went on a leave of absence in or around December 2012, her 30th week
   of pregnancy), 23 (stating she gave birth to her second child in March 2013 and returned to work in July
   2013).




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   the extent she requested an accommodation with respect to expressing breast milk at work,
   and Frontier does not admit that she did, the request was only up to and including March 2012
   for her first child and July 2014 for her second. Thus, once again, because the allegations
   relate to events before the 300 days prior to when Ms. Kiedrowski filed her Cha rge - i.e., prior
   to July 11, 2015 - any claim based on these events is untimely as a matter of law. 42 U.S.C. §
   2000e-S(e)(l); see also Morgan, 536 U.S. at 117.

           In summary, because even the most generous reading of the Charge demonstrates that
   all the purported unlawful practices about which Ms. Kiedrowski complains occurred between
   October 2010 and July 2014, it is inarguable that her entire claim is time barred. 42 U.S.C. §
   2000e-5(e)(l); see also Morgan, 536 U.S. at 117. For this reason, Frontier states that Ms.
   Kiedrowski cannot assert and has no standing to claim a violation of Title VII. Therefore,
   Frontier respectfully requests that Ms. Kiedrowski's Charge be dismissed with a finding of "no
   probable cause" and that she be informed that under Title VII, the United States Supreme
   Court's case law interpreting the same and the EEOC's directive to enforce the laws as written,
   these allegations are untimely as a matter of law.

            Please do not hesitate to contact me if you require any further information.

   Sincerely,

   Littler Mendelson, P.C.



   Erin A. Webber

   EAW/ AAS

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  VIA ELECTRONIC SUBMISSION

  Todd Chavez
  Federal Investigator
  U.S. Equal Employment Opportunity Commission
  Denver Field Office
  303 East 17th Avenue
  Suite 410
  Denver, CO 80203


  Re:            Respondent's Position Statement
                 Erin Zielinski v. Frontier Airlines
                 EEOC Charge No. 541-2016-01708

  Dear Mr. Chavez:

          I am writing on behalf of Respondent Frontier Airlines, Inc. ("Frontier'') in response to
  the Charge of Discrimination filed by Erin Zielinski on or about May 6, 2016. In her Charge, Ms.
  Zielinski alleges to have suffered discrimination based on her sex and in violation of Title VII of
  the Civil Rights Act of 1964 (''Title VII''), as amended by the Pregnancy Discrimination Act
  ("PDA"). Frontier also acknowledges that Ms. Zielinski contends the company violated the
  Colorado Fair Employment Practices Act and the Colorado Workplace Accommodation for
  Nursing Mothers Act (''WANMA''). However, Frontier understands that the Equal Employment
  Opportunity Commission (''EEOC'') does not have jurisdiction over these state law claims.
  Accordingly, it has refined its response to address Ms. Zielinski's federal law claim under Title
  VII. To the extent the EEOC believes it has jurisdiction to investigate the state law allegations
  referenced in the Charge, particularly with respect to the WANMA, Frontier respectfully requests
  th_e opportunity to supplement this position statement to address these matters. 1



   1
    This position statement is based on Frontier's understanding of Ms. ZieHnski's allegations to the best of
  its knowledge and recollection as of the date of this document. Frontier expressly reserves the right to
  amend, supplement or correct this Position Statement, if necessary. In addition, this Position Statement
  and the accompanying exhibits, which contain confidential personnel, medical and business information,
  are subject to the exceptions to the disclosure requirements of the Freedom of Information Act ("FOIA"),
  5 U.S.C. § 552(b)(7). All information provided herein, including this Position Statement, is provided solely
  in cooperation with the EEOC's fact-finding efforts. Frontier reserves all objections to the admissibility at
  any hearing, trial, or other proceeding of any of the information or documents provided to the EEOC.


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  July 15, 2016
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                                  Ms. Zielinski's Claim Is Time Barred

          Frontier denies any allegation that it discriminated against Ms. Zielinski in violation of
  Title VII, as amended by the PDA, or any other law. That said, Ms. Zielinski cannot assert a
  Title VII claim against Frontier because based on the allegations in her Charge, her claim is time
  barred.

          More specifically, in her Charge, Ms. Zielinski contends she was discriminated against in
  violation of the law in connection with: (a) her pregnancy from October 2013 through July
  2014; and, (b) her return to work in November 2014, alter giving birth in July 2014. Charge at
  pp. 4-5, 111118, 20. 2 In order to have a valid discrimination claim, a plaintiff must file a charge
  of discrimination within 300 days of the alleged unlawful discrimination practice about which
  she complains. 42 U.S.C. § 2000e-5(e)(l). Ms. Zielinski filed her Charge on May 6, 2016 and
  300 days prior to that is July 11, 2015, rendering any claim based on events before this date
  untimely as a matter of law. Therefore, for the reasons set forth below, a review of the
  allegations set forth in Ms: Zielinski's Charge demonstrate that she cannot bring forward a
  viable discrimination claim.

          First, with respect to her pregnancy, Ms. Zielinski's takes issue with the fact that once
  her doctor determined she was unable to fly in her 30th week of pregnancy, she was required to
  take an unpaid leave of absence for the remainder of her pregnancy, rather than being
  provided paid leave or the option to be reassigned to a temporary light duty position. Charge
  at pp. 4-5, 111119, 21. Ms. Zielinski began this maternity leave in or around April 2014 and her
  child was born in July 2014. Id. Therefore, there can be no doubt that the allegations related
  to this April 2014 through July 2014 leave of absence are time-barred, as they are well before
  the July 11, 2015 cut-off imposed by Title VII and enforced by the EEOC. National Railroad
  Passenger Corp. v. Morgan, 536 U.S. 101, 117 (2002) (finding that repeated occurrences of the
  same discriminatory employment action, like the failure to provide an accommodation, can be
  challenged only if "an act contributing to the claim occurs within the [charge] filing period").

         As for her allegations that Frontier allegedly failed to accommodate Ms. Zielinski upon
  her return to work in November 2014, these too are untimely. In her Charge, Ms. Zielinski
  admits that she stopped breastfeeding "entirely" in April 2015, when her son was nine (9)
  months old. Charge at p. 4, 1120 (stating her son was born in July 2014), p. 7, 1139 (admitting
  she stopped breastfeeding when her son was nine (9) months old). Accordingly, to the extent
  she requested an accommodation with respect to expressing breast milk at work, and for the
  purpose of this Position Statement Frontier does not admit that she did, the request was only
  up to and including April 2015. Thus, once again, because the allegations relate to events
  before the 300 days prior to when Ms. Zielinski filed her Charge - i.e., prior to July 11, 2015 -


  2
    Charge at pp. 4-5, ,i,i 18 (stating she became pregnant in October 2013 and because of pregnancy-
  related complications, went on a leave of absence in or around April 2014, her 30 th week of pregnancy),
  20 (stating she gave birth in July 2014 and returned to work in November 2014).




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  any claim based on these events is untimely as a matter of law. 42 U.S.C. § 2000e-5(e)(l); see
  also Morgan, 536 U.S. at 117.                                   ·

           In summary, because even the most generous reading of the Charge demonstrates that
   all the purported unlawful practices about which Ms. Zielinski complains occurred between April
   2014 and April 2015, it is inarguable that her entire claim is time barred. 42 U.S.C. § 2000e-
   5(e)(l); see also Morgan, 536 U.S. at 117. For this reason, Frontier respectfully states that Ms.
   Zielinski cannot assert and has no standing to claim a violation of Title VII. Therefore, Frontier
   respectfully requests that Ms. Zielinski's Charge be dismissed with a finding of "no probable
   cause" and that she be informed that under Title VII, the United States Supreme Court's case
   law interpreting the same and the EEOC's directive to enforce the laws as written, these
   allegations are untimely as a matter of law.

   Sincerely,

   Littler Mendelson, P.C.

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   Erin A. Webber

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   VIA ELECTRONIC SUBMISSION
   Todd Chavez
   Federal Investigator
   U.S. Equal Employment Opportunity Commission
   Denver Field Office
   303 East 17th Avenue
   Suite 410
   Denver, CO 80203

   Re:           Respondent's Position Statement
                 Brandy Beck v. Frontier Airlines
                 EEOC Charge No. 541-2016-01709

   Dear Mr. Chavez:

           I am writing on behalf of Respondent Frontier Airlines, Inc. ("Frontier") in response to
   the Charge of Discrimination filed by Brandy Beck on or about May 6, 2016. In her Charge, Ms.
   Beck alleges to have suffered discrimination based on her sex and in violation of Title VII of the
   Civil Rights Act of 1964 C'Tltle VII"), as amended by the Pregnancy Discrimination Act ('PDA'').
   Frontier also acknowledges that Ms. Beck contends the company violated the Colorado Fair
   Employment Practices Act and the Colorado Workplace Accommodation for Nursing Mothers Act
   C'WANMA'').      However, Frontier understands that the Equal Employment Opportunity
   Commission C'EEOC'') does not have jurisdiction over these state law claims. Accordingly, it has
   refined its response to address Ms. Beck's federal law claim under Title VII. To the extent the
   EEOC believes it has jurisdiction to investigate the state law allegations referenced in the
   Charge, particularly with respect to the WANMA, Frontier respectfully requests the opportunity
   to supplement this position statement to address these matters. 1




   1
     This position statement is based on Frontier's understanding of Ms. Beck's allegations to the best of its
   knowledge and recollection as of the date of this document. Frontier expressly reserves the right to
   amend, supplement or correct this Position Statement, if necessary. In addition, this Position Statement
   and the accompanying exhibits, which contain confidential personnel, medical and business information,
   are subject to the exceptions to the disclosure requirements of the Freedom of Information Act ("FOIA''),
   5 U.S.C. § 552(b)(7). All information provided herein, including this Position Statement, is provided solely
   in cooperation with the EEOC's fact-finding efforts. Frontier reserves all objections to the admissibility at
   any hearing, trial, or other proceeding of any of the information or documents provided to the EEOC.


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   I.     INTRODUCTION

           Frontier denies any allegation that it discriminated against Ms. Beck in violation of Title
   VII, as amended by the PDA, or any other law. In fact, as detailed below, Frontier treated Ms.
   Beck, all pregnant pilots, and those pilots wishing to express breast milk upon their return to
   work: lawfully; in compliance with the collectively bargained agreement governing relevant
   terms and conditions of a Frontier pilot's employment; in accordance with its standard
   practices; and, most importantly, consistent with the manner in which it accommodates all
   pilots (both male and female) who are similar in their ability to work or not work.

           Indeed, upon close scrutiny of the Charge, it becomes clear that Ms. Beck demands that
   Frontier treat her, pregnant pilots and those pilots seeking to express breast milk upon their
   return to flight more favorably than all other pilots and federal law. For example, Ms. Beck
   takes issue with the fact that Frontier has not excused her from performing the essential
   functions of her position as an accommodation to allow her to express breast milk in between
   flights. She believes that these essential functions should simply be transferred to the pilot
   scheduled to fly with her. The law is very clear on this point: An employer is not required to
   allocate or reassign essential functions of a position as an accommodation. Indeed, the United
   States Courts of Appeals for multiple Circuits have affirmatively held that any request to
   reassign essential functions of a position is per se unreasonable. Further, Ms. Beck has not and
   cannot demonstrate that Frontier has excused other pilots from performing essential functions
   of the position as an accommodation for their medical condition or disability.

           As another example, in her Charge, Ms. Beck also takes issue with the fact that Frontier
   Informed her she is not allowed to express breast milk in the aircraft lavatory during flight.
   Despite her acknowledgement of the company's position, Ms. Beck admits to doing so anyway.
   Notwithstanding this insubordination, Frontier can establish that by leaving the cockpit for a
   material period of time - to breastfeed or for any other reason - during flight creates a safety
   risk and compromises the welfare of passengers and crew members. For this reason, Frontier
   has not provided any pilot with the accommodation to leave the cockpit for an extended period
   of time due to any medical condition or disability. Therefore, not only does Frontier have a
   legitimate, non-discriminatory reason for its decision to deny Ms. Beck the opportunity to
   compromise flight safety, but she cannot demonstrate Frontier provided this accommodation to
   other pilots similar in their inability to work for an entire flight.

           In summary, Frontier believes that this Position Statement and the evidence submitted
   herewith demonstrate that it has acted lawfully at all times. Accordingly, it respectfully requests
   that the EEOC issue a no probable cause finding with respect to Ms. Beck's Charge.




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   II.    FACTUAL BACKGROUND

          A.       General Information Relating To Ms. Beck's Employment

           On or about November 17, 2003, Ms. Beck began her employment with Frontier as a
   pilot in the position of First Officer, in which she remains as of the date of this Position
   Statement. Exhibit A (Personnel File). As a First Officer, Ms. Beck is generally "responsible for
   ensuring safe and timely flight operations in accordance with all Company policies and Federal
   Aviation Regulations (FAR)." Exhibit B (First Officer Job Description}. The job description's
   emphasis on safety is consistent with the fact that while Frontier prides itself on being an ultra-
   low cost carrier, the company views its primary mission to be ensuring the safety of its
   customers and employees. Thus, while serving more than 40 cities in the United States,
   Mexico, and Jamaica on over 275 daily flights, Frontier never loses sight that its principal
   responsibility is to ensure passengers and employees are safely delivered to their destination.

          Upon her acceptance of employment as a First Officer, Ms. Beck voluntarily joined the
   Frontier Airline Pilots Association ("FAPA''), the union that represents Frontier pilots and is
   responsible for promoting the interests of its members. See Charge at p. 2, 14. Importantly,
   FAPA and Frontier negotiated the Collective Bargaining Agreement C'CBA''), which is the
   contract that sets forth the terms of employment and working conditions for Frontier pilots.
   The CBA specifically addresses, among other things, seniority, scheduling, staffing adjustments,
   leaves of absence, and medical standards. Exhibit C (Relevant Provisions of FAPA CBA).
   Accordingly, its provisions are material to an assessment of Ms. Beck's allegations.

            In her Charge, Ms. Beck contends she was discriminated against in violation of litle VII
   in .connection with: (a) her pregnancy in 2010 and her return to work three (3) years after the
   birth of her first child, in November 2013; and, (b) her pregnancy in 2013 and 2014, as well as
   her return to work eleven (11) months following the birth of her second child, in May 2014.
   Critically, as Ms. Beck concedes in her Charge, her extended leaves of absence were in
   connection with medical conditions resulting from childbirth and not a result of any Frontier
   policy or practice that inhibited her return to work. See Charge at pp. 4-5, 120 C'Because of
   severe childbirth-related complications, I was on medical leave from September 2010 until
   November 2013.''); 122 C'I gave birth to my second child on June 13, 2014. Due to childbirth-
   related complications, I was on medical leave until May 2015.'').

          B.       Ms. Beck's Allegations with Respect to Her First Pregnancy In 2010,
                   Her Subsequent Return to Work In 2013 and Her Second Pregnancy
                   Spanning 2013 and 2014 Are All Time-Barred

          In order to maintain a claim under litle VII, a plaintiff must file a charge of
   discrimination with the EEOC within 300 days of the alleged unlawful employment practice. 42
   U.S.C. § 2000e-S(e)(1). Ms. Beck filed her Charge on May 6, 2016 and 300 days prior to that is
   July 11, 2015, rendering any claim based on events before this date untimely as a matter of




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   law. Id. Accordingly, Ms. Beck's allegations relating to her first pregnancy in 2010, her
   subsequent return to work in 2013, and her second pregnancy in 2013-2014 are all time barred.

            More specifically, in her Charge, Ms. Beck takes issue with the fact that in 2010, when
   she was 29 weeks pregnant and her doctor stated she was no longer able to safely fly an
   aircraft, she was required to begin her maternity leave rather than have the opportunity to be
   temporarily reassigned to a light duty position. Charge at p. 4, 1118. This leave began in
   October 2010 and ran through December 2010, at which time her first child was born. Id. at p.
   4, ,i,ita, 20. Therefore, there can be no doubt that these allegations are time-barred, as they
   are well before the July 11, 2015 cut-off imposed by Title VII and enforced by the EEOC.
   National Railroad Passenger Corp. v. Morgan, 536 U.S. 101, 117 (2002) (finding that repeated
   occurrences of the same discriminatory employment action, like the failure to provide an
   accommodation, can be challenged only if "an act contributing to the claim occurs within the
   [charge] filing period'').

           Similarly, in her Charge, Ms. Beck also takes issue with but is out of time to assert any
   claim relating to her pregnancy in 2013 and 2014. Ms. Beck states that when she returned to
   work in November 2013, she "was already pregnant with [her] second child," who she gave
   birth to on June 13, 2014. Charge at p. 5, ,i,i21-22. Prior to giving birth to her second child,
   Ms. Beck's physician determined she was unable to safely fly an aircraft beginning in her 28th
   week of pregnancy. See id. at p. 5, 1123. Accordingly, she was on a leave of absence from
   March 2014 until June 2014, when her child was born. Ms. Beck laments that this leave was
   unpaid and notes that she was not given the opportunity to be reassigned to another position
   during the time period she was unable to fly. Id. In addition, Ms. Beck alleges that in May
   2014, she was "distressed" and "dismayed" by comments purportedly made to her by a Human
   Resources employee in connection with her pregnancy; and, for which she would like Frontier
   held responsible and liable. Id. at p. 5, 111124-25. However, because Ms. Beck filed her Charge
   on May 6, 2016, as a matter of law, she is precluded from seeking a remedy for events on or
   before July 11, 2015. 42 U.S.C. § 2000e-5(e)(l). Therefore, given the allegations she lodges
   with respect to her second pregnancy all occurred in 2014, she is barred from bringing forward
   a claim of discrimination based on these events. Id.; see also Morgan, 536 U.S. at 117. This
   last point is critical because Ms. Beck's allegations with respect to her first pregnancy are also
   untimely as a matter of law. For this reason, Frontier states that Ms. Beck cannot assert and
   has no standing to claim a violation of Title VII in connection with any leave of absence taken
   by a female pilot during her pregnancy.

          In addition, the Charge improperly takes aim at the fact that neither the CBA nor a
   Frontier policy provided her with paid leave of absence for the entire three (3) year period from
   2010 to 2013 that she was on a medical leave in connection with the birth of her first child or
   the eleven (11) months that she was on a leave of absence after giving birth to her second
   child. Charge at p. 5, ,i20 (complaining she " receive no paid personal leave" during her three
   (3) year leave of absence from 2010 to 2013), ,i22 (complaining she "received no paid parental
   leave, although I collected benefits under the Company's long term disability insurance plan"




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   from June 2014 to May 2015). That is, even though Ms. Beck acknowledges receiving long-
   term disability benefits for the period of time that she was purportedly unable to work, it
   appears she believes that Frontier's failure to compensate her during this time is additional
   evidence of discrimination. Without regard for the lack of legal substance of this position, there
   is no dispute that because the allegations relate to events before the 300 days prior to when
   she filed her Charge (July 11, 2015) - any such claim is untimely as a matter of law. 42 U.S.C.
   § 2000e-S(e)(l); see also Morgan, 536 U.S. at 117.

           In summary, it is inarguable that all of Ms. Beck's allegations with respect to her first
   pregnancy in 2010, return to work in 2013, and second pregnancy spanning 2013 and 2014 are
   untimely as a matter of law. Charge at pp. 4-5, ,i,i18-25. Therefore, Frontier respectfully
   requests that the EEOC inform Ms. Beck that under 11tle VII, the United States Supreme Court's
   case law interpreting the same and the EEOC's directive to enforce the laws as written, these
   allegations are time barred.

          C.       Response to Ms. Beck's Allegations with Respect to Her Return to Work
                   After Her Second Pregnancy

           Finally, as referenced above, Ms. Beck recounts that after giving birth to her second
   child in June 2014, "due to child-birth related complications," she remained on a leave of
   absence until May 2015, i.e., approximately eleven (11) months. Charge at p. 5, ,i22. She
   contends that upon her return to work, she was subjected to discriminatory treatment because
   Frontier did not adequately accommodate her purported "need" to express breast milk for her
   child after her child had already turned one (1) year old.

                   1.     Expression of Breast Milk During Flight is a Safety Hazard

          As an initial matter, contrary to t he allegations in her Charge, when completing the
   Fitness-for-Duty Certification, Ms. Beck's physician did not state that Ms. Beck had a "medical
   need" to continue to breastfeed her child. Exhibit D. Rather, the certification stated that "if
   [Ms. Beck] chooses to continue breastfeeding/ pumping/ lactation, then pumping should be
   allowed" at three (3) hour intervals to "reduce the risk of reoccurrence" of clogged milk ducts
   and mastitis. Id. (emphasis added).

          The first time Ms. Beck affirmatively alerted Frontier that she had elected to continue to
   breast feed her child was on July 29, 2015, when her child was thirteen (13) months old.
   Charge at p. 5, ,i22 (identifying her child was born on June 13, 2015), ,i27 (identifying the first
   time she "brought [her] need to express breast milk to the attention" of Frontier was on July
   29, 2015). See also Exhibit E (July 29, 2015 E-mail Communication and Frontier's Initial
   Response on August 4, 2015). In the July 29, 2015 e-mail communication, Ms. Beck wrote, in
   material part:

                   I'm sending this email to confirm that it is ok to pump in the
                   aircraft lav [sic] when necessary while working, since I am still



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                   breastfeeding. My fit [sic] for duty letter stated that I have a
                   medical need to express breast milk every 3 hours and there are
                   times when 1 need to pump in the aircraft lav [sic] both on the
                   ground and in flight. Since I was cleared to go back to work with
                   this restriction and I was given no guidance, this has been my
                   plan.

   Ex. E. Ms. Beck's insinuation that Frontier should have been aware that she intended to
   continue breastfeeding is without foundation. Until this e-mail, neither she nor her doctor had
   positively alerted Frontier that Ms. Beck had made the decision to continue breastfeeding her
   child past June 13, 2015.

            That aside, it is shocking that a pilot with Ms. Beck's experience and tenure would
   believe that pumping during flight in the aircraft lavatory is a viable option given the safety
   issues that inevitably arise when a pilot leaves the cockpit. There can be no argument that
   doing so places the welfare of Frontier's passengers, as well as Ms. Beck's colleagues, flying on
   the aircraft at risk. For example, there are two (2) pilots on every flight, a Captain and a First
   Officer. After terrorist attacks on September 11, 2001, the safety protocols relating to a pilot
   leaving the cockpit were strengthened. On an Airbus 319 airplane, in addition to the two (2)
   pilots, there are three (3) flight attendants and approximately 150 passengers. If a pilot leaves
   the cockpit to use the bathroom - to pump or otherwise:

      •   The remaining pilot must put on an oxygen mask.

      •   A flight attendant must go into the cockpit. One reason for this safety measure is
          because the cockpit door is bolted shut and when the second pilot returns from the
          lavatory, another person needs to be in the cockpit to ensure the person seeking reentry
          Is the pilot and to open the door, which allows the other pilot to concentrate on flying
          the plane.

      •   A different flight attendant must take the drink/food cart and go to the front of the
          plane to block access to: (a) the lavatory the pilot is using; and, (b) the cockpit. Again,
          this is another safety measure designed to ensure safety of flight operations.

      •   This leaves only one (1) flight attendant responsible for 150 passengers, including any
          disruptions by any particular passenger or group of passengers.

   This undoubtedly compromises flight safety, as it requires that all flight attendants deviate from
   their regular course of duty, places them in a security related role and allows for the passengers
   to more significantly outnumber the responsible crewmembers. In addition, in the event of an
   explosive/rapid decompression, should Ms. Beck not be present in the cockpit, not able to
   quickly don her oxygen mask and not be ready to work with the Captain to address the
   emergency situation, flight safety is further compromised. Indeed, for the foregoing reasons,
   pilots are only permitted to leave the cockpit for a physiological emergency, which generally



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   requires their absence to go to the bathroom for a matter of minutes, e.g. five (5) minutes. On
   average, Ms. Beck concedes that pumping breast milk and properly storing its contents would
   require a pilot to be absent from the cockpit for no less than 20 minutes and more likely, 30
   minutes. See Charge at p. 3, ,i12 (claimlng that the "15 minutes of time" is an " insufficient
   length to permit pilots who are breastfeeding to pump milk," thereby supporting a position that
   a more material amount of time is allegedly needed to do so). Accordingly, Frontier informed
   Ms. Beck that she was not permitted to pump in the lavatory during flight for the legitimate,
   non-discriminatory reason that doing so risks flight safety, something Frontier is not willing to
   compromise. Young v. UPS, 135 S. Ct. 1338, 1343-44 (2015) (finding that if an employee can
   articulate a prima facie case of pregnancy discrimination, which Frontier does not concede, an
   employer successfully meets its burden upon a showing of legitimate, non-discriminatory
   reasons for its decision to not grant the accommodation requested).

           It is worth noting that even though Ms. Beck acknowledges Frontier informed her that
   expressing breast milk during flight in the aircraft lavatory was prohibited; she admits to doing
   so without regard to the safety risk that it provided. Charge at pp. 5-6, ,i 28 (acknowledging
   Frontier informed her that she was not permitted to pump in the aircraft lavatory), ,J29
   (admitting she expressed breast milk "through taking 'physiological needs breaks' during flight
   in the aircraft lavatory").

           Finally, Frontier has never expressly permitted female pilots to pump during flight, in the
   aircraft lavatory or cockpit. If and when it has come to the Chief Pilot or Human Resources
   attention, the company has consistently informed the female pilot that compromising flight
   safety in such a manner is prohibited. Pilots are, however, permitted to pump in the aircraft
   lavatory upon reaching their destination when the plane Is locked into its arrival gate.

                    2.       Frontier Allows Nursing Mothers to Work Reduced Hours, A
                             Special Accommodation Not Available To Other Pilots

           While Frontier is unwilling to compromise flight safety, it does provide nursing mothers
   with the opportunity to work a reduced schedule, which is a special accommodation that is not
   available to other pilots. Specifically, the FAPA CBA requires that at the completion of a
   monthly bid period, "a Pilot must have a minimum of 70 hours of Pay Credit. At no time shall a
   Pilot be allowed to Drop below 50 hours of Pay Credit." Ex. Cat §5.L.3. If a Pilot drops to 50
   hours during any month, the CBA makes clear that the individual must get back up to 70 hours
   by the end of the month. Id. 2 Frontier allows nursing mothers the accommodation of only
   having to meet a minimum of 50 hours of Pay Credit and not having to get back up to 70 hours
   at the end of the month. This allows women returning to work and wanting to breastfeed the

   2
    Notably, "Pay Credit" is distinct from the number of hours a pilot is set to fly. Ex. Cat §23.4. Generally
   speaking, a pilot gets credit for the number of hours from when the plane pushes back from the gate to
   when it locks into the gate at its destination. However, there are trips that are incentivized, such that a
   pilot may get 10 hours of credit for a shorter flight to a less desirable location or additional credit for trips
   of a longer duration that keep a pilot away from home for a certain number of days.




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   opportunity to work fewer hours, be on the schedule for fewer days and bid for flights in a
   manner that allows them to be at home with their child more o~en. During the relevant time
   period, each time a nursing pilot has made a request to work a reduced schedule, the Chief
   Pilot has granted the accommodation for the duration (e.g., weeks, months, etc.) requested by
   the pilot.

           Ms. Beck requested and was granted this accommodation. Notably, in her Charge, Ms.
   Beck states that other than providing a lactation room at Denver International Airport ("DIA''), it
   is her understanding that Frontier has "no formal policy on providing accommodations for pilots
   who are breastfeeding." Charge at p. 3, ,i10. This is an obvious attempt to mislead the EEOC
   because Ms. Beck is aware that reduced schedule is an informal policy specifically engineered
   by Frontier for nursing mothers. In fact, on April 26, 2015, Ms. Beck sent an e-mail to the
   Frontier Leave of Absence group t hat states:

                   Hi I have a doctor's appointment May 6th and I am expecting to
                   get cleared to come back to work. I will have the doctor fill out
                   the Fitness-for-duty Certification letter. What else will you need
                   from me before I start training? I am hoping to come back to the
                   reduced schedule of 50 flight hrs that has been grated [sic] to
                   nursing moms. I am not sure who I discuss this with - can you
                   please point me In the right direction. Thank you very much for
                   your help. Have a great day.

   Exhibit F (emphasis added). Ms. Beck's attempt to deceive the EEOC should not go unnoticed,
   as it provides affirmative evidence that she is willing to "cleverly'' frame her allegations to
   purposely mislead a federal agency Into believing that Frontier is unwilling to provide
   reasonable accommodations to her and others similarly situated.

                   3.     Ms. Beck's Seniority Allowed Her to Bid For Flight Lines In A
                          Manner That Met Her Nursing Needs

           In her Charge, Ms. Beck also complains that during her return to work, she has found it
   "difficult to express breast milk." Charge at p. 5, 129. She does not attribute such difficultly to
   anything specific, but instead, implies that it is related to the schedule a pilot "may" be forced
   to fly. In paragraph 12 of her Charge, Ms. Beck generally asserts:

                   Pilots at Frontier can work more than 12 hours a day, with flight
                   times ranging from one hour to five hours. Frequently, pilots take
                   overnight trips of two to five days in length spanning multiple
                   cities. Although pilots have breaks of about 45 minutes between
                   flights, their pre-and-post flight duties leave only about 15
                   minutes of t ime to attend to personal needs, such as eating meals




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                   or using the restroom. Additionally, these breaks are Insufficient
                   in length to permit pilots who are breastfeeding to pump milk.

   Id. But, in these general allegations, Ms. Beck fails to acknowledge that as one of the more
   senior First Officers, she has substantial control over her schedule and can essentially choose
   the flight lines she would like to fly. That is, she had control over the length of the flights she is
   scheduled on, the duration of her trips and the time she will have to pump in between flights.

            Section 5 of the FAPA CBA governs the scheduling of pilots. Ex. C. "The monthly lines
   of flying shall be awarded in Domicile to Pilots according to seniority." Id. at §5.6(F)(2), §23.2
   (defining "Domicile" to mean, "a geographic location, usually a city served by scheduled
   Company service, where Pilots are based and the location where Sequences are constructed to
   start. As of the date of signing this Agreement, the only Domicile is Denver."); §23.4 (defining
   "Pilot" to mean, "any employee of Frontier Airlines, Inc. covered under this Agreement, whose
   name appears on the Seniority List.''). Seniority is determined pursuant to Section 3 of the
   CBA. Id. "The seniority of a Pilot shall begin to accrue from the date the Pilot is first placed on
   the Company payroll as a Pilot, and shall continue to accrue thereafter during all service as a
   Pilot except as provided for in this Agreement." Id. at §3.l(A){l). Critically, a pilot continues to
   accrue seniority while on a Family and Medical Leave of Absence, Maternity Leave of Absence
   and a Medical Leave of Absence. Id. at §9.4(F)(2), §9.6(H)(6), and §9.7(1)(4). Therefore,
   given Ms. Beck's seniority began to accrue on or about November 17, 2003, it makes her one of
   the more senior First Officer's with preferential bidding status. Specifically:

                        Beck's       Total ti of First                  Beck's     Total ti of First
         Month           Rank         Officer Pilots        Month        Rank       Officer Pilots
         Jul-15           25               315              Feb-16        21             263
         Aug-15           26               317              Mar-16        21             264
         Sep-15           24               303              Apr-16        19             261
         Oct-15           23               303              May-16        19             254
         Nov-15           23               286              Jun-16        19             249
         Dec-15           21               275              Jul-16        19             195
         Jan-16           21               266


   Accordingly, given Ms. Beck has such high priority in terms of bidding for and being awarded
   the monthly lines of flying she would like, i.e., making her own schedule, it is unclear why she
   would commit to a schedule that purported could or did cause her difficulty in expressing breast
   milk.

           In fact, in a separate Charge of Discrimination filed with the EEOC, Shannon Kiedrowski,
   a fellow Frontier pilot, stated under oath and penalty of perjury that due to her "relatively high




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   seniority," she (Ms. Kiedrowski) "had the ability to bid for short flights" and could make her
   schedule to "fly shorter trips or trips with more ground time," which allowed her to have
   sufficient time to express breast milk in between flights. EEOC Charge No. 541-2016-01707 at
   p.6, ,i36. There is no reason Ms. Beck could not exercise the same wisdom in selecting her
   flight lines to ensure that her flight lines allowed her to accommodate a breastfeeding schedule
   that worked for her. Indeed, her seniority in combination with the approval of her reduced
   schedule renders her contention that she found it difficult to manage expressing breast milk at
   appropriate intervals more of a statement of her inability to bid appropriately - or desire to
   make it an issue - than Frontier's purported failure to accommodate her.

                   4.     The Law Is Clear: Frontier Is Nm Required To Reassign Essential
                          Functions of Ms. Beck's Position As An Accommodation

           Moreover, in her Charge, Ms. Beck inappropriately contends that as an accommodation
   for her "desire" to continue breastfeeding after her child's first birthday, Frontier should have
   provided her additional break time in between flights by delegating her "pre and post-flight
   duties to the other pilot" scheduled to fly with her. Charge at p. 7, 140(f). As set forth in the
   First Officer job description, essential functions of the job include, but are not limited to:

        •   Thorough completion of appropriate pre- and post-flight inspection, ensuring the
            airworthy condition of assigned aircraft in accordance with Frontier policy and Federal
            Aviation Regulations.

        •   Becoming familiar with existing and forecast departure, arrival, and if applicable,
            alternate station weather prior to each flight.

        •   Ensuring that the flight is planned and fueled properly so that it may be conducted
            safely and in accordance with current policies and regulations.

   Ex. B at Essential Functions. An employer is not reguired to allocate or reassign essential
   functions of a position as an accommodation. Put another way, any request to reassign
   essential functions of a position is "per se unreasonable." See e.g. EEOC v. Ford Motor Co., 782
   F.3d 753, 761 {6 th Cir. 2015) (stating that a reasonable accommodation "does not include
   removing an 'essential function' from the position, for that is per se unreasonable") (citations
   omitted); EEOC v. LHC Grp./ Inc., 773 F.3d 688, 698 (5th Cir. 2014) ("The ADA does not
   require an employer to relieve an employee of any essential functions of his or her job, modify
   those duties, reassign existing employees to perform those jobs, or hire new employees to do
   so.'') (citations omitted); Kai/ail v. Alliant Energy Corp. Servs., Inc., 691 F.3d 925, 932 (8th Cir.
   2012) (stating "an employer need not reallocate or eliminate the essential job functions of a job
   to accommodate a disabled employee''); Lang v. Wal-Mart Stores E., LP., No. 15-1543, 2016
   WL 821038, at *6 (1st Cir. Mar. 2, 2016) (''[U]nder the ADA, an employer is not required to
   accommodate an employee by exempting her from having to discharge an essential job
   function.''). Accordingly, Ms. Beck has no legal support for her position that Frontier's failure to




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   offer her the opportunity to discharge essential functions of her position and burden her co-pilot
   with such responsibilities is evidence of discrimination. In fact, it is contrary to the well-settled
   legal authority in this area. See also Hill v. Walker, 737 F.3d 1209, 1217 (8th Cir. 2013) (''Courts
   have continuously found that employers are not required to assign existing employees or hire
   new employees to perform [essential] functions or duties of a disabled employee's job which
   the employee cannot perform by virtue of his disability.").

          To be clear, during the relevant time period, Frontier has not excused any pilot from
   essential functions of the position as an accommodation.

                   5.     Frontier Has Made Available Places To Express Breast Milk At All
                          Locations, Including Outposts

           Finally, any contention that Frontier has not made adequate space available for nursing
   pilots to express breast milk is inaccurate. See Charge at p.4, ,J13. Ms. Beck initially takes
   issue with the fact that the room designated at DIA "is in most cases far from departure/arrival
   gates where the airplanes on which I work are located." Id. This is false. In 2015, when Ms.
   Beck returned to work, the designated room for pilots to express breast mllk was located in
   Concourse A and next to the Chief Pilot's office, which is in close proximity to the gates at which
   Frontier planes depart and arrive. Further, Frontier has made arrangements at its outposts. It
   is noteworthy that securing space in these outpost airports is not the same as an employer
   simply setting aside a location in a store or office complex. Frontier does not own the real
   estate in an airport and is beholden to locations that are available for use by a third party entity
   over whom the company has no control.

       .   In conclusion, Ms. Beck's allegations and contentions of discrimination are without
   factual or legal merit. Indeed, Frontier can demonstrate legitimate, non-discriminatory safety
   reasons for Its decision that pilots are not permitted to nurse in the airplane lavatory during
   flight. Further, there is no legal basis to support Ms. Beck's contention that Frontier's failure to
   reassign the essential functions of her position is evidence of a failure to accommodate.
   Further, it cannot be overlooked that Ms. Beck's seniority allowed her (just like Ms. Kiedrowski)
   the ability to manage her flight schedule to accommodate her own needs and desires, for
   breastfeeding and otherwise. Any failure by Ms. Beck to bid her schedule in a manner
   conducive to express breast milk is not a burden that Frontier should bear. Finally, the EEOC
   cannot overlook the fact that Frontier has an informal policy that allows nursing mothers to
   work a reduced schedule as a means to accommodate their return to work while continuing to
   breastfeed their child. The company also provides adequate facilities at DIA and other outposts
   for Ms. Beck to express breast milk before and after arriving at their gate.

   III,    LEGAL ANALYSIS

           In her Charge, Ms. Beck contends she was discriminated against based on her sex in
   violation of litle VII, as amended by the PDA. Since she does not offer direct evidence of




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   discrimination on this claim, this allegation of discrimination must be analyzed under the
   McDonnell Douglas burden-shifting framework. A plaintiff alleging that the denial of an
   accommodation constituted disparate treatment under the PDA establishes a prima facie case
   by showing that: (1) she is a member of a protected class; (2) she sought an accommodation
   and the employer did not accommodate her; and, (3) the employer did accommodate others
   similar in their ability or inability to work. Young, 135 S. Ct. at 1354. If a plaintiff can make
   this showing, then the "employer may then seek to justify its refusal to accommodate the
   plaintiff by relying on legitimate, non-discriminatory reasons for denying her accommodation."
   Id. "If the employer offers an apparently legitimate, non-discriminatory reason for its actions, "
   the burden then sifts back to the plaintiff to "show that that employer's proffered reasons are in
   fact pretextual." Id

           For the reasons set forth above, with respect to her timely claims of discrimination, Ms.
   Beck cannot meet her prima facie case because she cannot demonstrate that she sought an
   accommodation that Frontier did not grant to her, but provided others similar in their ability to
   work or not work. For example, Ms. Beck takes issue with the fact that Frontier has not
   excused essential functions of her First Officer position as an accommodation to allow her to
   express breast milk in between flights. Ms. Beck cannot establish that Frontier provided such
   an accommodation to any other pilot similar in their inability to work. In addition, as detailed in
   Section II.C.4 above, it Is well-settled that a reasonable accommodation "does not include
   removing an 'essential function' from [a] position, for that is per se unreasonable." Ford Motor
   Co., 782 F.3d at 761. See also LHC Grp., Inc., 773 F.3d at 698; Kai/ail, 691 F.3d at 932; Lang,
   No. 15-1543, 2016 WL 821038, at *6; Hill, 737 F.3d at 1217. Accordingly, Ms. Beck's
   discrimination claim fails at the outset, as she cannot even make it past her prima facie case.

           Further, there can be no dispute that Frontier can exhibit legitimate non-discriminatory
   business reasons for the decisions that Ms. Beck challenges. For example, the Charge takes
   issue with the fact that Frontier informed her that she was not permitted to express breast milk
   in the aircraft lavatory during flight. Notably, Ms. Beck admits that she ignored Frontier's
   guidance on this issue and pumps during flight whenever she deems it necessary. In doing so,
   Ms. Beck knowingly compromises the safety of the flight and places Frontier passengers, as well
   as her fellow crewmembers, at risk. There is no more legitimate, non-discriminatory business
   reason for denying this purported accommodation than Frontier's, which is an attempt to
   ensure the safety of a flight. And, there is no evidence that Ms. Beck can establish Frontier's
   decisions that she takes issue with were pretextual.

          In summary, Ms. Beck's litle VII allegations are either untimely as a matter of law or
   without legal merit.

   IV.    CONCLUSION

           For the reasons detailed above, Ms. Beck has not been subject to any form of
   discrimination. Rather, Frontier has treated her fairly and lawfully at all times. Accordingly, the




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   company respectfully requests that Ms. Beck's Charge be dismissed with a finding of " no
   probable cause. " Please do not hesitate to contact me if you require any further information.

   Sincerely,

   Littler Mendelson, P.C.

  t,\/\n~
   Erin A. Webber

   EAW/AAS

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                                                                             Erin A. Webber
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  VIA ELECTRONIC SUBMISSION

  Justin Moore
  Federal Investigator
  U.S. Equal Employment Opportunity Commission
  Denver Field Office
  303 East 17th Avenue, Suite 410
  Denver, CO 80203

   Re:            Respondent's Position Statement
                  Jo Linda Roby v. Frontier Airlines, Inc.
                  EEOC Charge No. 541-2017-01427

   Dear Mr. Moore:

           I am writing on behalf of Respondent Frontier Airlines, Inc. C'Frontier'') in response to
   the Charge of Discrimination filed by Jo Linda Roby on or about May 16, 2017. In her Charge,
   Ms. Roby alleges to have suffered discrimination based on "pregnancy-related disabilities," sex,
   pregnancy, and "a condition related to [her] pregnancy and childbirth-specifically, lactation," in
   violation of Title VII of the Civil Rights Act of 1964 f'Title VII''), as amended by the Pregnancy
   Discrimination Act C'PDA''), the Americans with Disabilities Act C'ADA''), the Colorado
   Antidiscrimination Act C'CADA''), and the Colorado Pregnant Workers Fairness Act C'PWFA''). 1
   Ms. Roby further alleges that Frontier violated the Colorado Workplace Accommodations for
   Nursing Mothers Act f'WANMA'') by not providing adequate break time and/or space for
   expressing breast milk.

          At the outset, as Ms. Roby acknowledges in her Charge, see Charge at ,i 55 n.1, the
   Equal Employment Opportunity Commission C'EEOC'') does not have jurisdiction over WANMA
   claims. Accordingly, Frontier's response addresses only Ms. Roby's discrimination-based claims




   1
     On her EEOC Form 5, Ms. Roby additionally checked the box for "Retaliation" where asked to identify
   the basis of her Charge (in addition to "Sex" and "Disability''). Ms. Roby makes no mention of retaliation
   in the statement of harm attached to the Form 5, however, and does not address any claim of retaliation
   substantively. Frontier for that reason has not included a discussion of retaliation in this position
   statement.



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   under lltle VIl (as amended by the PDA), the ADA, the CADA, and the PWFA.2 To the extent
  the EEOC believes it has jurisdiction to investigate the allegations referenced in the Charge
  regarding WANMA, Frontier respectfully requests the opportunity to supplement this position
  statement to address such allegations. 3

       I.   INTRODUCTION

           Frontier denies any allegation that it discriminated against Ms. Roby in violation of Title
  VII (as amended by the PDA), the ADA, CADA, the PWFA, or any other law. In fact, as detailed
  below, Frontier treated Ms. Roby, all pregnant flight attendants and those flight attendants
  wishing to express breast milk upon their return to work lawfully; In compliance with the
  collectively bargained agreement governing relevant terms and conditions of a Frontier flight
  attendant's employment; under its standard practices; and, most importantly, consistent with
  how it accommodates all flight attendants (both male and female) who are similar in their
  ability to work or not work.

          Ms. Roby's Charge demands that Frontier treat her, pregnant flight attendants, and
  those flight attendants seeking to express breast milk upon their return to work more favorably
  than all other flight attendants and as required by federal law. For example, Ms. Roby takes
  issue with the fact that her leave of absence in connection with her pregnancy and the birth of
  her child was unpaid. But under the terms of the collective bargaining agreement Frontier
  entered into with the flight attendants' union-of which Ms. Roby is a member-all medical
  leaves of absence are unpaid. Moreover, it is indisputable that lltle VII (as amended by the
  PDA), the FMLA, and the ADA do not require a leave of absence to be paid. Thus, were Mr.
  Roby paid for her medical leave related to her pregnancy, Frontier would be treating her .ID.Q[g
  favorably than all other flight attendants operating under the collective bargaining agreement
  on leaves of absences.

          Likewise, Ms. Roby contends that Frontier's dependability policy is discriminatory against
  ·pregnant flight attendants and flight attendants who take medical leave after giving birth.
   However, the dependability policy is applied equally to all flight attendants, whether pregnant or
   not, and thus it is not discriminatory. Frontier's dependability policy fully complies with federal

  2
    Since CADA claims ( inclusive of the PWFA, which amended CADA) are analyzed under the same
  framework as lltle VII and ADA claims, please allow the analysis in this position statement to also serve
  as a legal analysis of CADA pregnancy and disability discrimination claims. St. Croix v. Univ. of Colo.
  Health Scis., ar.,  166 P.3d 230, 236 (Colo.   a.  App. 2007) (citing Colo. Civil Rights Comm'n v. Big 0
  Tires, Inc., 940 P.2d 397, 399 (Colo. 1997) (stating Colorado courts "look to federal cases for guidance in
  applying" the CADA).
   3
    This position statement is based on Frontier's understanding of Ms. Roby's allegations to the best of its
  knowledge and recollection as of the date of this document. Frontier expressly reserves the right to
  amend, supplement, or correct this position statement, if necessary. In addition, this position statement
  and the accompanying exhibits, which contain confidential personnel, medical and business information,
  are subject to the exceptions to the disclosure requirements of the Freedom of Information Act ("FOIA"),
  5 U.S.C. § 552(b)(7). All information provided herein, including this position statement, is provided solely
  in cooperation with the EEOC's fact-finding efforts. Frontier reserves all objections to the admissibility at
  any hearing, trial, or other proceeding of any of the information or documents provided to the EEOC.




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  and Colorado state law in all respects. Again, if Ms. Roby were to be excused from its
   requirements, then Frontier would be treating her more favorably than all other flight
  attendants who are similar in their ability to work or not work.

          Ms. Roby further contends that the fact she was not offered a temporary reassignment
  to light duty as an accommodation for her pregnancy or desire to express breast milk upon her
  return to work is evidence of discrimination. More specifically, Ms. Roby argues that she should
  have been offered the opportunity to be temporarily reassigned to a job at Frontier's corporate
  headquarters or a ground position at the airport. Charge at ,i,i 14, SS(b). This argument falls
  flat because Frontier does not provide temporary light duty assignments at its corporate
  headquarters or at the airport as an accommodation to any flight attendant for a medical
  condition. Moreover, despite Ms. Roby unfounded allegations, Frontier has no obligation under
  the CBA or any other law or policy to provide this accommodation to flight attendants (male or
  female) who cannot fly due to: (a) an on-the-job injury; (b) a non-work related injury; or, (c)
  any other medical condition or disability. Put another way, Frontier treated Ms. Roby the same
  as all other flight attendants who are similar in their ability to work or not work. See Wade v.
  Brennan, 647 F. App'x 412, 417 (5th Cir. 2016) (denying Title VII claim where complainant
  "failed to show [temporary reassignment position] was an existing position, so reassignment
  there would necessarily require [employer] to create a new position for her, which is not a
  reasonable accommodation'').

           Ms. Roby also takes issue with the fact that Frontier informed her she may not express
  breast milk in the aircraft lavatory during flight. Charge at ,i 44. However, it is beyond
  question that a flight attendant leaving her duties for a material period of time during flight-to
  breastfeed or for any other reason-creates a safety risk and compromises the welfare of
  passengers and crew members. For this reason, Frontier has not provided any flight attendant
  with the accommodation to stop working while on a flight for an extended period of time due to
  any medical condition or disability. Not only does Frontier have a legitimate, non-discriminatory
  reason for its decision to deny Ms. Roby the opportunity to compromise flight safety, but she
  cannot demonstrate that Frontier provided this accommodation to other flight attendants similar
  in their ability or inability to work for an entire flight.

          In summary, Frontier believes that this position statement and the evidence submitted
  herewith demonstrate that it has acted lawfully at all times. Accordingly, it respectfully requests
  that the EEOC issue a no probable cause finding with respect to Ms. Roby's Charge.

   II.   FACTUAL BACKGROUND

         A.      General Information Relating to Ms. Roby's Employment

         In 2004, Ms. Roby began her employment with Frontier as a flight attendant, a position
  she continues to hold as of the date of this position statement. As a Flight Attendant, Ms. Roby
  is "essential to maintaining the well-being, safety, security and comfort of [Frontier's]
  passengers onboard [its] aircraft," and she must "follow established FAA and Frontier guidelines
  in providing for the comfort and safety of passengers and respond to inflight emergencies
  and/or security concerns . . . ." Exhibit A (Flight Attendant Job Description). A flight
  attendant's job description's emphasis on safety is consistent with the fact that, while Frontier




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  prides itself on being an ultra-low cost carrier, the company views its primary mission as
  ensuring the safety of its customers and employees. Thus, while seiving more than 40 cities in
  the United States, Mexico, and Jamaica on over 275 daily flights, Frontier never loses sight that
  its principal responsibility is to ensure that passengers and employees are safely delivered to
  their destination.

           Upon her acceptance of employment as a Flight Attendant, Ms. Roby voluntarily joined
  the Association of Flight Attendants-CWA AFL-CIO C'AFA''), the union that represents Frontier
  flight attendants and is responsible for promoting the interests of its members. See Charge at
  ,i 8. Importantly, AFA and Frontier negotiated the Frontier Airlines Flight Attendant Contract
  (''CBA''), which sets forth the terms of employment and working conditions for Frontier flight
  attendants. The CBA specifically addresses, among other things, seniority, scheduling, staffing
  adjustments, leaves of absence, and medical standards. Exhibit B (relevant excerpts of the
  CBA). Accordingly, its provisions are material to an assessment of Ms. Roby's allegations.

           In her Charge, Ms. Roby contends she was discriminated against in violation of Title VII
  (as amended by the PDA) and the ADA (and, by extension, the CADA and the PWFA) in
  connection with her pregnancy in 2015 and return to work following the birth of her child .
  Critically, after Ms. Roby had her child on December 1, 2015, in accordance with the terms of
  the CBA, she took eighteen weeks of medical leave, i.e., up to and including April 9, 2016. See
  Charge at ,i 25. She returned to work on April 10, 2016, as a flight attendant and worked for
  approximately eight months. Ms. Roby then chose to take advantage of a company approved
  leave of absence (''COLA'') from January 2017 through March 6, 2017. Since March 7, 2017, Ms.
  Roby has each month requested additional medical leave time, an accommodation which
  Frontier has each month granted. Charge at 11 26, 32-35, 47. Thus, as of the date of this
  position statement, Ms. Roby remains employed by Frontier.

          B.      Ms. Roby's Allegations with Respect to Discrimination During Her
                  Pregnancy Are All Time-Barred

          In order to maintain a claim under Title VII (as amended by the PDA), the CADA, and/or
  the PWFA, a plaintiff must file a charge of discrimination with the EEOC (or Colorado Civil Rights
  Division, as applicable) within 300 days of the alleged unlawful employment practice. See 42
  U.S.C. § 2000e-5(e)(l). (Title VII, requiring charge be filed "within three hundred days after
  the alleged unlawful employment practice occurred''); 42 U.S.C. § 12117(a) (ADA, adopting
  "powers, remedies, and procedures" of§ 2000e-5); see Davidson v. America Online, Inc., 337
  F.3d 1179, 1183 (10th Cir. 2003) C'litJe VII [and] the ADA require[] an individual to file a timely
  administrative claim within 300 days'')." Ms. Roby filed her Charge on May 16, 2017, rendering
  any claim based on events transpiring on or before July 20, 2016 (300 days prior) untimely as a


  " The time limits for filing charges under the CADA and the PWFA, which require charges be filed within
  six months, are even shorter. See Colo. Rev. Stat. Ann. § 24-34-403 (West) C'Any charge alleging a
  violation of this part • . . shall be filed with the commission . . . within six months after the alleged
  discriminatory or unfair employment practice occurred, and if not so filed, it shall be barred.'') (emphasis
  added). In any event, the PWFA did not become effective until August 10, 2016, rendering any conduct
  before that inactionable with respect to the PWFA. See Colo. Rev. Stat. Ann.§ 24-34-402.3 (West).




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   matter of law. Id. Accordingly, Ms. Roby's allegations regarding any purported discrimination
   during her pregnancy, including points accrued under Frontier's dependability policy, are time-
   barred.5

           More specifically, in her Charge, Ms. Roby takes issue with the fact that in September
   and October of 2015, when she was about 30-weeks pregnant, she missed scheduled trips and
   accrued 2.5 points under Frontier's dependability policy. See Charge at 1 24. Ms. Roby accrued
   these points nearly 10 months before the 300-day deadline for Ms. Roby to challenge an
   alleged unlawful employment practice. In addition, Ms. Roby challenges Frontier's policy of
   "requiring immediate notification of pregnancy upon confirmation of the pregnancy by a
   doctor," Charge at ,i SS(e), but this purported notification occurred long before the July 20,
   2016 deadline and is thus barred. See Charge at ,i 23 ("I disclosed my pregnancy to Frontier
   around May 2015 ....'').6

           Therefore, there can be no doubt that any allegations that occurred before the July 20,
   2016 cut-off are time-barred. See, e.g., Nat1 R.R. Passenger Corp. v. Morgan, 536 U.S. 101,
   117 (2002) (finding that repeated occurrences of the same discriminatory employment action,
   like the failure to provide an accommodation, can be challenged only if "an act contributing to
   the claim occurs within the [charge] filing period''); 42 U.S.C. § 2000e-S(e)(l).

           C.     Response to Ms. Roby's Allegations with Respect to Her Pregnancy and
                  Post-Pregnancy

          In her Charge, with respect to her pregnancy and post-pregnancy, Ms. Roby takes issue
   with the fact that when her pregnancy rendered her unable to fly, she was required to take an
   unpaid leave of absence, rather than be: (a) reassigned to a temporary light duty position until
   the birth of her child; or, (b) paid for her time away from work. Each of these claims is
   unavailing under the law.

                   1.     All Medical Leaves of Absence Provided to Flight Attendants Are
                          Unpaid

         As an initial matter, the terms and conditions of the leaves of Jbsence policies about
   which Ms. Roby complains are set forth in the CBA. They were collectively bargained for by
   AFA and on behalf of Ms. Roby, who voluntarily agreed to be a part of the union. Though the

   5
     Likewise, Ms. Roby's allegations regarding any discrimination under the CADA and the PWFA that
   occurred before November 16, 2016, six months before she filed her charge, are time-barred. See Colo.
   Rev. Stat. Ann. § 24-34403 (West).
   6
     Even were a challenge to this notification requirement not time-barred, many courts hold that non-
   pregnancy is a valid bona fide occupational qualification in a safety context, such as here for flight
   attendants. E.g., Int1 Union, United Auto., Aerospace & Agric. Implement Workef.5' of Am., UAW v.
   Johnson Controls, Inc., 499 U.S. 187, 204 (1991) (recognizing non-pregnancy may be BFOQ under a
   "safety exception''); Richards v. City of Topeka, 173 F.3d 1247, 1252 (10th Cir. 1999) ('Under the PDA,
   the City can raise a BFOQ as an affirmative defense," citing 42 U.S.C. § 2000e-2(e)(1) (allowing, under
   Title VII, an employer to discriminate where a BFOQ "is reasonably necessary to the normal operation of
   [a defendant's] particular business or enterprise'')).




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   Charge consistently refers to the leaves of absence policies (ar:id other policies) to which Ms.
   Roby is subject to as "Frontier's policies," e.g., Charge at ,i,i 1, 50, 52 (referring to a number of
   policies covered under the CBA as "Frontier's policies''), this fails to inform the EEOC that Ms.
   Roby's interests were represented by AFA and accounted for in the determination of the scope
   of these policies. Moreover, "[i]t is well-established that Title VII does not require an employer
   to violate the terms of a collective bargaining agreement," so to the extent Ms. Roby asks
   Frontier to act in ways contrary to the CBA, these requests must fail. EEOC v. Arestone Fibers &
   Textiles Co., 515 F.3d 307, 317 (4th Cir. 2008); see Trans World Airlines, Inc. v. Hardison, 432
   U.S. 63, 79 (1977) (holding that "the duty to accommodate [does not] require[] [an employer]
   to take steps inconsistent with [an] otherwise valid [collective bargaining] agreement'').

           That aside, Ms. Roby takes issue with the fact that she was not provided a paid leave of
   absence. Charge at ,i,i 23, 58(b). But the CBA does not provide for a paid leave of absence for
   flight attendants unable to fly due to any type of medical condition. Under the CBA, Frontier
   provides flight attendants with the following types of medical leave:

                     (a)     Family Medical Leave: governed "under the Family Medical Leave Act,"
                             which does not provide for paid leave, id. at 12(E)(l);

                     (b)     Maternity Leave: "Sick leave must be used, and vacation days may be
                             used, during the maternity leave; otherwise, the leave is without pay," id.
                             at 12(F)(3) (emphasis added); and,

                     ( c)    Medical Leave: "A Flight Attendant may request an unpaid leave of
                             absence for his/her own illness or injury when he/she cannot return to
                             work after exhausting FMLA leave or if he/she is not eligible for FMLA,"
                             id. at 12(G)(6) (emphasis added).

          Nowhere in the CBA does it provide that a flight attendant shall be paid in connection
   with any of. the foregoing leaves of absence, other than to the extent the flight attendant
   wishes to be paid from accrued sick leave or vacation time. As for Ms. Roby, her leave was
   handled exactly as provided by the CBA. See Charge at ,i 23 ( recognizing that some of Ms.
   Roby's maternity leave was paid because it was "covered by accrued paid sick leave, and
   coverage from optional short term disability Insurance''). Having bargained for this benefit in
   the CBA, Ms. Roby cannot now complain that the very same policies discriminate against her.
   See Hardison, 432 U.S. at 79.

          Accordingly, the fact that Frontier does not pay pregnant flight attendants on a leave of
   absence in connection with their pregnancy or birth of a child cannot be deemed discriminatory
   where, as here, the company does not pay any flight attendant (male or'female) on a leave of
   absence for non-pregnancy-related medical conditions. 7 See Young v. UPS, 135 S. Ct. 1338,
   1343-44 (2015). This renders any assertion that Frontier must pay Ms. Roby for her time away
   from work for pregnancy-related medical conditions contrary to the mandates of Title VII (as
   amended by the PDA). Id. at 1343 ( only requiring an employer to treat "women affected by

   7
       Frontier does pay workers' compensation claims, as required by the CBA and the law.




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  pregnancy . . . the same for ·all employment-related purposes • . . as other persons not so
  affected but similar in their ability or inability to work'') (quoting 42 U.S.C. § 2000e(k))
  ( emphasis added).

                 2.      Pregnancy and Lactation Are Not Disabilities CQvered Under the
                         ADA

        Next, Ms. Roby's ADA (and disability-related-ODA) claims must fail because neither
  pregnancy nor lactation is a disability protected under the ADA or the CADA.

           It is well-established that pregnancy is not a disability under the ADA. E.g., Genovese v.
  Harford Health & Fitness Club, Inc., No. WMN-13-217, 2013 WL 2490270, at *5 (D. Md. June 7,
  2013) (collecting authorities and noting that "[w]ith near unanimity, federal courts have held
  that pregnancy [alone] is not a 'disability' under the ADA'') (citations and internal quotations
  omitted); Richards, 173 F.3d at 1250 (affirming that "pregnancy d[oes] not qualify as a
  disability under the ADA''); Sutton v. United Air Lines, Inc., 130 F.3d 893, 899 (10th Cir. 1997)
  (holding that "impairment [within the meaning of the ADA] does not include ... pregnancy"
  where a pilot claimed disability discrimination on the basis of pregnancy).

          Lactation is likewise not a disability under the ADA. See Mayer v. Prof1 Ambulance, LLC,
  211 F. Supp. 3d 408, 420 (D.R.I. 2016) (in a case involving an employer's denial of lactation
  breaks, concluding that normal medical conditions related to "post-pregnancy do not qualify as
  a disability," and noting the lack of any "any cases post-2008 amendment [to the ADA] holding
  that normal lactation is a disability''); Martinez v. N.B.C., Inc., 49 F. Supp. 2d 305, 308 (S.D.N.Y.
  1999) (pregnancy and related medical conditions are not "disabilities" for purposes of the
  Americans with Disabilities Act, and tlie employer did not need to accommodate the plaintiff's
  desire to use a breast pump in the workplace).

         Because pregnancy and post-pregnancy conditions such as lactation are not covered
  under the ADA, to the extent Ms. Roby's Charge asserts a violation of the ADA, her claims are
  without merit.

                 3.      The Dependability Policy Is Not Discriminatory

          Next, Ms. Roby alleges that Frontier's dependability policy itself is discriminatory. See
  Exhibit C (Employee Handbook) at Art. 12. Even if her claims based on her treatment under the
  dependability policy were not time-barred-which they are-her claims regarding the policy
  nevertheless are unfounded for multiple reasons.

          First, as discussed above, neither pregnancy nor the need to express milk for lactation
  purposes is considered a "disability" under the ADA. Thus, to the extent that Ms. Roby claims
  that it was a violation of the ADA for Frontier to assign her dependability points for her sick
  days during her pregnancy, Charge at ,i,i 24, 55(d), this claim must fail.

         Second, the dependability policy is applied equally to all similarly situated employees,
  and Ms. Roby does not claim othe1wise. Thus, the dependability policy is not discriminatory
  against pregnant women under litle VII (as amended by the, PDA). See Manning v. Swedish




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   Med. Ctr., No. ClS-0949 (JLR} 2016 WL 6216364, at *8 (W.D. Wash. Sept. 30, 2016} (denying
  Title VII discrimination claim where "[t]here is no evidence . .. to support that [employer]
  treated [claimant] differently from other employees" under the "Dependability Policy''); Stout v.
   Baxter Healthcare Corp., 282 F.3d 856, 860 (5th Cir. 2002) (absentee policy that is applied
   equally to "pregnant or post-partum employees" and "non-pregnant employees" is permitted).

          Third, to the extent that Ms. Roby argues that the dependability policy is discriminatory
   because points "remained on [her] record for an extended rolling period as long as [she]
   remain[s] on unpaid leave," Charge at ,i 24, the policy is entirely non-discriminatory in that it
   expressly includes all leaves of absence, including "Military, Medical, Personal, Workers' Comp,
   FMLA, STD, etc." See Exhibit C (Employee Handbook) at 12.05.1.3. Thus, the policy in no way
   discriminates against pregnant or post-pregnant women; it applies equally to all employees
   regardless of the type of leave taken.

                  4.     Expression of Breast Milk During Flight Is a Safety Hazard

            Moreover, as an experienced flight attendant, Ms. Roby must know that pumping during
   flight in the aircraft galley ( or, for that matter, the lavatory)-the main accommodation sought
   by Ms. Roby, see Charge ,i,i 26, 28, 42, SS(a)-is not a viable option given the safety issues
   that inevitably arise in the performance of a flight attendant's duties. Taking extended breaks
   during a flight necessarily would place the welfare of Frontier's passengers as well as Ms.
   Roby's colleagues flying on the aircraft at risk. Indeed, airlines are for that very reason
   exempted from the provisions of the Fair Labor Standards Act requiring break time. See
   Thibodeaux v. Exec. Jet Int1, Inc., 328 F.3d 742, 754 (5th Cir. 2003) (confirming that "the FLSA
   exempts the company's flight attendants from its overtime requirements''); 29 U.S.C.A.
   § 213(b)(3) (West).

            It is worth noting that Ms. Roby admits to expressing milk during flights for over eight
   months before she inquired whether she was permitted to express milk during a flight. Charge
   at ,i 27 (" From April to December 2016, I attempted to pump . .• during flights''), ,i 33 (noting
   that Ms. Roby, who returned to work in April 2016, did not ask to express milk during flight until
   December 26, 2016). To be clear, Frontier has never expressly permitted female flight
   attendants to pump during flight, in the aircraft lavatory, galley, or otherwise. If and when it
   has come to Human Resources' attention, the company has consistently informed female flight
   attendants that compromising flight safety in such a manner is prohibited. It is shocking that a
   flight attendant with Ms. Roby's experience and tenure would believe that pumping during flight
   in the aircraft lavatory would be a viable option given the safety issues that would inevitably
   arise.

           As one example of the safety issues at play, on an Airbus 319 airplane, in addition to the
   two pilots, there are three flight attendants and approximately 150 passengers in flight. If a
   flight attendant is relieved of the performance of her duties for an extended period- to pump or
   otherwise-the other two flight attendants must deviate from their regular course of duty,
   which, in the event of a security incident, would allow for the passengers to more significantly
   outnumber the remaining crewmembers. Indeed, a flight attendant's essential job duties
   include a number of safety-related 'functions that would be rendered impossible or impracticable




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  if a flight attendant were permitted to pump while onboard an aircraft:, including "conduct[ing]
   emergency evacuation of cabin if necessary," "conduct[ing] preflight safety check of cabin
  emergency equipment," "ensur[ing] cabin safety and security during all phases of flight,
  including boarding and deplaning," and "provid[ing] emergency medical assistance.'' See Exhibit
  A (Flight Attendant Job Description).
          Accordingly, Frontier flight attendants are not permitted to pump during flight for the
  legitimate, non-discriminatory reason that doing so risks flight safety, something Frontier Is not
  willing to compromise. Young, 135 S. Ct. at 1343-44 (finding that if an employee can articulate
  a prlma facle case of pregnancy discrimination, which Frontier does not concede, an employer
  successfully meets its burden upon a showing of legitimate, non-discriminatory reasons for its
  decision to not grant the accommodation requested).

                 5.      Frontier Has Made Available Places to Express Breast Milk At All
                         Locations, Including Outposts

           Next, any contention that Frontier has not made adequate space available for nursing
   flight attendants to express breast milk is inaccurate and must fail. See Charge at ,i 18.
   Rather, Frontier provides adequate facilities at Denver International Airport ("DIA'') and other
   outposts for Ms. Roby to express breast milk before and after arriving at her gate.

           Ms. Roby alleges that when she returned to work in April 2016, she used a breast pump
  to express milk "in the family bathroom at [DIA], " which Ms. Roby says is "unsanitary." Charge
  at ,i,i 26, 31. But Ms. Roby neglects to mention that at all relevant times since Ms. Roby's
  return to work in April 2016, Frontier has designated a room for flight attendants to express
  breast milk in Concourse A, which is in close proximity to the gates where Frontier planes
  depart and arrive (as a general matter, all of Frontier's planes depart from and arrive at
  Concourse A.        Indeed, Ms. Roby admits she never even inquired about pumping
  accommodations at DIA until December 26, 2016, more than eight months after she returned to
  work and mere days before she went on a leave of absence; Charge at ,i 33. Thus, even were
  her allegation that Frontier did not provide a lactation room correct (it is not), Ms. Roby's failure
  to utilize this accommodation was due to her own inaction in failing to timely inquire about
  location of the lactation room.

          Ms. Roby also takes issue with the fact that the rooms designated at airport outstations
  "are in most cases located too far from departure/arrival gates to permit flight attendants
  sufficient time to access them, express milk, and return to the gate." Charge at 1 18.
  However, Frontier has made arrangements at its outposts to provide for lactation rooms, and
                                           ' admits. Charge at ,i 41 (Frontier "provided a list of
  has provided that list to Ms. Roby, as she
  lactation rooms at Frontier's outstat1ons''). It is noteworthy that seruring space in these
  outpost airports is not the same as an employer simply setting aside a location in a store or




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  office complex. Frontier does not own the real estate in an airport and is beholden to locations
  that are available for use by a third party entity over whom the company has no control.8

                   6.      Ms. Roby's Claim that Frontier Did Not Offer Her Any
                           Accommodations Are False

           Ms. Roby suggests in her Charge that Frontier did not offer her any accommodations at
  all in connection with her expression of breast milk. Eg., Charge at ,i,i 3, 33, 47. Not so.

        First, as detailed above, Frontier approved each of Ms. Roby's requests for leave of
  absence after the birth of her child.

          Second, while Frontier is unwilling to compromise flight safety, it does provide nursing
  mothers with the opportunity to work a reduced schedule, which is a special accommodation
  that is not available to other flight attendants. Specifically, the CBA requires that "[a]t the
  completion of each Bid Period each Flight Attendant must accumulate a minimum of 60 credit
  hours." See Exhibit B (CBA) at Art. 5 § L(l). However, Frontier allows nursing mother flight
  attendants the accommodation of dropping below 60 hours per month without having to restore
  those hours, and only having to meet a minimum of 45 hours. This allows women returning to
  work and wanting to breastfeed the opportunity to work fewer hours, be on the schedule for
  fewer days, and bid for flights in a manner that allows them to be at home with their child more
  often. During the relevant time period, each time a nursing flight attendant has made a request
  to work a reduced schedule, Frontier has granted the accommodation requested by the flight
  attendant.

           Ms. Roby was offered this ' accommodation but has instead opted for her preferred
   accommodation of remaining on .rviedical leave-itself, of course, an accommodation provided
   by Frontier. See Exhibit D (e-mair'from Ms. Roby) (rejecting Frontier's proposed "on the job
   accommodation proposed below-dropping to 45 credit hours''). Thus, Ms. Roby has rejected
   perfectly reasonable and legitimate accommodations offered by Frontier. Barber ex rel. Barber
   v. Colorado, Dep't of Revenue, No. CN.A. 05-CV-00807RE, 2008 WL 207691, at *1 (D. Colo.
   Jan. 24, 2008) (''[P]laintiffs' argument is that they were not afforded the particular
   accommodation they requested. This is not the law. Defendants' duty is to offer a reasonable
   accommodation, not plaintiffs' preferred accommodation."), affd, 562 F.3d 1222 (10th Cir.
   2009).      Indeed, Ms. Roby plainly acknowledges that Frontier provided reasonable
   accommodations: after giving birth, she returned to work as a flight attendant for over eight



   8
     In any event, Frontier's provision of lactation locations-either at DIA or at any other airport- is beyond
   the scope of the EEOC's investigation, because (1) the EEOC does not have jurisdiction to investigate
   WANMA; (2) even if it did have jurisdiction, WANMA has no extraterritorial application, so outstations in
   airports outside of Colorado are irrelevant; and (3) under Title VII (as amended by the PDA) and the
   ADA, Ms. Roby has not alleged that any similarly-situated individual (male or female) has been given
   preferential accommodations in terms of locations to be used to accommodate a medical condition. See
   Peerless Inc. Co. v. Gari<, 487 P.2d 574, 575 (Colo. App. 1971) (holding it Is "well settled that a statute
   cannot be presumed to have any extraterritorial effect" if it lacks a provision that permits its
   extraterritorial application).




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   months, before "reach[ing] out to Frontier to find out what other accommodations were
   available." Charge at, 33 (emphasis added).
  III.       LEGAL ANALYSIS

            In her Charge, Ms. Roby contends she was discriminated against based on her sex in
   violation of Title VII (as amended by the PDA), the ADA, the CADA, and the PWFA. Since she
   does not offer direct evidence of discrimination to support these claims, her allegations of
   discrimination must be analyzed under the McDonnell Douglas burden-shifting framework. A
   plaintiff alleging that the denial of an accommodation constituted disparate treatment under the
   PDA establishes a prima facie case by showing that: (1) she is a member of a protected class;
   (2) she sought an accommodation and the employer did not accommodate her; and, (3) the
   employer did accommodate others similar in their ability or inability to work. Young, 135 S. Ct.
   at 1354. If a plaintiff can make this showing, then the "employer may then seek to justify its
   refusal to accommodate the plaintiff by relying on legitimate, non-discriminatory reasons for
   denying her accommodation." Id. "If the employer offers an apparently legitimate, non-
   discriminatory reason for its actions," the burden then sifts back to the plaintiff to "show that
   that employer's proffered reasons are in fact pretextual." Id.

          For the reasons set forth above, with respect to her timely claims of discrimination, Ms.
   Roby cannot meet her prima facie case because she cannot demonstrate that she sought an
   accommodation that Frontier did not grant to her, but provided others similar in their ability to
   work or not work. For example,

         •   Ms. Roby complains that she was not afforded the accommodation of a paid leave of
             absence. Frontier does not provide a paid leave of absence to flight attendants unable
             to fly due to any type of medical condition. See Section 11.C.1.

         •   Ms. Roby complains that the dependability policy is discriminatory, but the dependability
             policy applies equally to all Frontier flight attendants. See Section II.C.3.

         •   Ms. Roby also takes Issue with the fact that Frontier did not permit her to express milk
             during a flight. But permitting flight attendants to express milk during a flight is a safety
             hazard, and Ms. Roby cannot establish that Frontier provided such an accommodation to
             any other flight attendants similar in their inability to work. See Section 11.C.4.

         •   Ms. Roby complains that Frontier did not accommodate her desire to express milk. But
             Frontier offered a number of reasonable accommodations, and-frontier is not legally
             obligated to provide Ms. Roby with her "preferred" accommodation. See Section II.C.6.

           Accordingly, Ms. Roby's discrimination claim fails as a matter of law at the outset, as she
   cannot even establish her prima facie case. Indeed, Frontier's decision to adhere to the
   provisions of the CBA and to treat Ms. Roby the same as all other flight attendants in their
   ability or inability to work is evidence that its business decisions were legitimate and non-
   discriminatory. Nor has Ms. Roby presented any evidence that Frontier's legitimate decisions
   were pretextual.




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          In summary, Ms. Roby's allegations are either untimely as a matter of law or without
   legal merit.

   III.   CONCLUSION

           For the reasons detailed above, Ms. Roby has not been subject to any form of
   discrimination. Rather, Frontier has treated her fairly and lawfully at all times. Accordingly, the
   company respectfully requests that Ms. Roby's Charge be dismissed with a finding of "no
   probable cause." Please do not hesitate to contact me if you require any further information.

   Sincerely,

     tr.'~ v,~\.. ~
   Erin A. Webber

   EAW/ dpg

   Attachments




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  Littler
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                                                                             Erin A. Webber
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   VIA ELECTRONIC SUBMISSION                                                 ewebber@littler.com

   Justin Moore
   Federal Investigator
   U.S. Equal Employment Opportunity Commission
   Denver Field Office
   303 East 17th Avenue
   Suite 410
   Denver, CO 80203

   Re:           Respondent's Position Statement
                 Stacy Rewitzer v. Frontier Airlines, Inc.
                 EEOC Charge No. 541-2017-01430

   Dear Mr. Moore:

            I am writing on behalf of Respondent Frontier Airlines, Inc. (''Frontier'') in response to
   the Charge of Discrimination filed by Stacy Rewitzer (nee Schiller) on or about May 16, 2017.
   In her Charge, Ms. Rewitzer alleges to have suffered discrimination based on "pregnancy-
   related disabilities," sex, pregnancy, and "a condition related to [her] pregnancy and
   childbirth-specifically, lactation," in violation of litle VII of the Civil Rights Act of 1964 ("Title
   VII''), as amended by the Pregnancy Discrimination Act ("PDA''), the Americans with Disabilities
   Act ("ADA''), the Colorado Antidiscriminatlon Act (''CADA''), and the Colorado Pregnant Workers
   Fairness Act ('PWFA''). 1 Ms. Rewitzer further alleges that Frontier violated the Colorado
   Workplace Accommodations for Nursing Mothers Act ("WANMA'') by not providing adequate
   break time and/or space for expressing breast milk.

          At the outset, as Ms. Rewitzer acknowledges in her Charge, see Charge at 1 55 n.1, the
   Equal Employment Opportunity Commission (''EEOC'') does not have jurisdiction over WANMA
   claims. Accordingly, Frontier's response addresses only Ms. Rewitzer's discrimination-based
   claims under Title VII (as amended by the PDA), the ADA, CADA, and the PWFA.2 To the


   1
     On her EEOC Form 5, Ms. Rewitzer additionally checked the box for "Retaliation" where asked to
   identify the basis of her Charge (in addition to "Sex" and " Disability"). Ms. Rewitzer makes no mention of
   retaliation In the statement of harm attached to the Form 5, however, and does not address any claim of
   retaliation substantively. Frontier for that reason has not Included a discussion of retaliation In this
   position statement.
   2
      Since CADA claims (inclusive of the PWFA, which amended CADA) are analyzed under the same
   framework as Title VII and ADA claims, please allow the analysis in this position statement to also serve
   as a legal analysis of CADA pregnancy and disability discrimination claims. St. Croix v. Uni v. of Colo.
   Health Sds., Ctr., 166 P.3d 230, 236 (Colo. Ct. App. 2007) (citing Colo. Ovit Rights Comm'n v. Big 0



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  extent the EEOC believes it has jurisdiction to investigate the allegations referenced in the
  Charge regarding WANMA, Frontier respectfully requests the opportunity to supplement this
  position statement to address such allegations.3

      I.   INTRODUCTION

           Frontier denies any allegation that it discriminated against Ms. Rewitzer in violation of
  Title VII, as amended by the PDA, the ADA, the CADA, the PWFA, or any other law. In fact, as
  detailed below, Frontier treated Ms. Rewitzer, all pregnant flight attendants and those flight
  attendants wishing to express breast milk upon their return to work lawfully; in compliance with
  the collectively bargained agreement governing relevant terms and conditions of a Frontier
  flight attendant's employment; under its standard practices; and, most importantly, consistent
  with how it accommodates all flight attendants (both male and female) who are similar in their
  ability to work or not work.

          Ms. Rewitzer's Charge demands that Frontier treat her, pregnant flight attendants, and
  those flight attendants seeking to express breast milk upon their return to work more favorably
  than all other flight attendants and as required by federal law. For example, Ms. Rewitzer takes
  Issue with the fact that her leave of absence in connection with her pregnancy and the birth of
  her child was unpaid. But under the terms of the collective bargaining agreement Frontier
  entered into with the flight attendants' unio~f which Ms. Rewitzer is a member- all medical
  leaves of absence are unpaid. Moreover, it is indisputable that Title VII (as amended by the
  PDA), the FMLA, and the ADA do not require a leave of absence to be paid. Thus, were Ms.
  Rewitzer paid for her medical leave related to her pregnancy, Frontier would be treating her
  more favorably than all other flight attendants operating under the collective bargaining
  agreement on leaves of absence.

          Likewise, Ms. Rewitzer contends that Frontier's dependability policy is discriminatory
  against pregnant flight attendants and flight attendants who take medical leave after giving
  birth. However, the dependability policy is applied equally to all flight attendants, whether
  pregnant or not, and thus it is not discriminatory. Frontier's dependability policy fully complies
  with federal and Colorado state law in all respects. Again, if Ms. Rewitzer were to be excused
  from its requirements, then Frontier would be treating her more favorably than all other flight
  attendants who are similar In their ability to work or not work.




  Tires, Inc., 940 P.2d 397, 399 (Colo. 1997) (stating Colorado courts "look to federal cases for guidance
  on applying" the CADA).
  3
    This position statement is based on Frontier's understanding of Ms. Rewitzer's allegations to the best of
  its knowledge and recollection as of the date of this document. Frontier expressly reserves the right to
  amend, supplement, or correct this position statement, if necessary. In addition, this position statement
  and the accompanying exhibits, which contain confidential personnel, medical and business information,
  are subject to the exceptions to the disclosure requirements of the Freedom of Information Act ("FOIA"),
  5 U.S.C. § 552(b)(7). All information provided herein, including this position statement, is provided solely
  in cooperation with the EEOC's fact-finding efforts. Frontier reserves all objections to the admissibility at
  any hearing, trial, or other proceeding of any of the information or documents provided to the EEOC.




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          Ms. Rewitzer further contends that the fact she was not offered a temporary
  reassignment to light duty as an accommodation for her pregnancy or desire to express breast
  milk upon her return to work is evidence of discrimination. More specifically, Ms. Rewitzer
  argues that she should have been offered the opportunity to be temporarily reassigned to a job
  at Frontier's corporate headquarters or a ground position at the airport. Charge 11 36, 38.
  This argument falls flat because Frontier does not provide temporary light duty assignments at
  its corporate headquarters or at the airport as an accommodation to any flight attendant for a
  medical condition . Moreover, despite Ms. Rewltzer's unfounded allegations, Frontier has no
  obligation under the CBA or any other law or policy to provide this accommodation to flight
  attendants (male or female) who cannot fly due to: (a) an on-the-job injury; (b) a non-work
  related injury; or (c) any other medical condition or disability. Put another way, Frontier treated
  Ms. Rewitzer the same as all other flight attendants who are similar in their ability to work or
  not work.

           Ms. Rewitzer also takes issue with the fact that Frontier informed her she may not
  express breast milk in the galley during flight. Charge at ,i 39. However, it is beyond question
  that a flight attendant leaving her duties for a material period of time during flight-to
  breastfeed or for any other reason-creates a safety risk and compromises the welfare of
  passengers and crew members. For this reason, Frontier has not provided any flight attendant
  with the accommodation to stop working while on a flight for an extended period of time due to
  any medical condition or disability. Not only does Frontier have a legitimate, non-discriminatory
  reason for its decision to deny Ms. Rewitzer the opportunity to compromise flight safety, but
  she cannot demonstrate that Frontier provided this accommodation to other flight attendants
  similar in their ability or inability to work for an entire flight.

          In summary, Frontier believes that this position statement and the evidence submitted
  herewith demonstrate that it has acted lawfully at all times. Accordingly, it respectfully requests
  that the EEOC issue a no probable cause finding with respect to Ms. Rewitzer's Charge.

   II.   FACTUALBACKGROUND

         A.      General Information Relating to Ms. Rewitzer's Employment

          In or about May 22, 2006, Ms. Rewitzer began her employment with Frontier as a flight
  attendant, a position she continues to hold as of the date of this position statement. As a Flight
  Attendant, Ms. Rewitzer is "essential to maintaining the well-being, safety, security and comfort
  of [Frontier's] passengers onboard [its] aircraft," and she must "follow established FAA and
  Frontier guidelines in providing for the comfort and safety of passengers and respond to inflight
  emergencies and/or security concerns ...." Exhibit A (Flight Attendant Job Description). A
  flight attendant's job description's emphasis on safety is consistent with the fact that, while
  Frontier prides itself on being an ultra-low cost carrier, the company views its primary mission
  as ensuring the safety of its customers and employees. Thus, while serving more than 40 cities
  in the United States, Mexico, and Jamaica on over 275 daily flights, Frontier never loses sight
  that its principal responsibility is to ensure that passengers and employees are safely delivered
  to their destination.

         Upon her acceptance of employment as a Flight Attendant, Ms. Rewitzer voluntarily
  joined the Association of Flight Attendants-CWA AFL-CIO C'AFA''), the union that represents




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  Frontier flight attendants and is responsible for promoting the interests of its members. See
  Charge at ,i 6. Importantly, AFA and Frontier negotiated the Frontier Airlines Flight Attendant
  Contract (''CSA''), which sets forth the terms of employment and working conditions for Frontier
  flight attendants. The CBA specifically addresses, among other things, seniority, scheduling,
  staffing adjustments, leaves of absence and medical standards. Exhibit B (Relevant Provisions
  of the CBA). Accordingly, its provisions are material to an assessment of Ms. Rewitzer's
  allegations.

          In her Charge, Ms. Rewitzer contends she was discriminated against in violation of Title
  VII (as amended by the PDA) and the ADA (and, by extension, the CADA and the PWFA) in
  connection with her pregnancy in 2015-16 and anticipated return to work following the birth of
  her child. Critically, after Ms. Rewitzer had her child on May 17, 2016, in accordance with the
  terms of the CBA, she took twelve weeks of medical leave, i.e., up to and including August 9,
  2016. Id. at § 12(F). Since then, Ms. Rewitzer has each month requested additional medical
  leave time. Indeed, when Ms. Rewitzer's twelve weeks of medical leave was about to end, she
  "ask[ed] Frontier to extend [her] Leave as long as possible" because she " plan[ned] to
  breastfeed up to a year." Exhibit C (e-mail dated August 1, 2016) (emphasis added). Each
  month, Frontier has granted Ms. Rewitzer's requests for extended medical leave in accordance
  with her request to extend her leave as long as possible. As of the date of this position
  statement, Ms. Rewitzer remains employed by Frontier, on an approved leave.                ·

          B.      Ms. Rewitzer's Allegations with Respect to Discrimination During Her
                  Pregnancy Are All Time-Barred

           In order to maintain a claim under Title vn (as amended by the PDA), the CADA, and/or
   the PWFA, a plaintiff must file a charge of discrimination with the EEOC (or Colorado Civil Rights
   Division, as applicable) within 300 days of the alleged unlawful employment practice. See 42
   U.S.C. § 2000e-5(e)(1) (Title VII, requiring charge be filed "within three hundred days after the
   alleged unlawful employment practice occurred"); 42 U.S.C. § 12117(a) (ADA, adopting
   "powers, remedies, and procedures" of§ 2000e-5); see Davidson v. America Online, Inc., 337
 · F.3d 1179, 1183 (10th Cir. 2003) (''Title VII [and] the ADA require[] an individual to file a timely
                                             4
   administrative claim within 300 days").       Ms. Rewitzer filed her Charge on May 16, 2017,
   rendering any claim based on events transpiring on or before July 20, 2016 (300 days prior)
   untimely as a matter of law. Accordingly, Ms. Rewitzer's allegations regarding any purported
   discrimination during her pregnancy, including points accrued under Frontier's dependability
   policy in January of 2016, are time-barred. 5



  4
    The time limits for filing charges under the CADA and the PWFA, which require charges be filed within
  six months, are even shorter. See Colo. Rev. Stat. Ann. § 24-34-403 (West) ("Any charge alleging a
  violation of this part . . . shall be filed with the commission . • • within six months after the alleged
  discriminatory or unfair employment practice occurred, and if not so filed, it shall be barred.") (emphasis
  added). In any event, the PWFA did not become effective until August 10, 2016, rendering any conduct
  before that inactionable with respect to the PWFA. See Colo. Rev. Stat. Ann. § 24-34-402.3 (West).
  5
    Likewise, Ms. Rewitzer's allegations regarding any discrimination under the CADA and the PWFA that
  occurred before November 16, 2016, six months before she filed her charge, are time-barred. See Colo.
  Rev. Stat. Ann.§ 24-34-403 (West).




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          More specifically, in her Charge, Ms. Rewitzer takes Issue with the fact that in 2016,
  when she was 28 weeks pregnant, she missed scheduled trips on January 2-6 and 10-14, 2016
  and accrued three points under Frontier's dependability policy. Charge at ,i 23. Ms. Rewitzer
  accrued these points nearly six months before the 300-day deadline for Ms. Rewitzer to
  challenge an alleged unlawful employment practice. In addition, Ms. Rewitzer alleges that in
  February 2016, she "suffered from extreme anxiety" and "emotional and psychological harm"
  "during [her] pregnancy," purportedly due to Frontier's policies and practices, for which she
  holds Frontier responsible. Id. ,i 51. Again, though, these purported events occurred long
  before the July 20, 2016 deadline and are thus barred.6

          Therefore, there can be no doubt that any allegations that occurred before the July 20,
  2016 cut-off are time-barred. See, e.g., Nat1 R.R. Passenger Corp. v. Morgan, 536 U.S. 101,
  117 (2002) (finding that repeated occurrences of the same discriminatory employment action,
  like the failure to provide an accommodation, can be challenged only if "an act contributing to
  the claim occurs within the [charge] filing period''); 42 U.S.C. § 2000e-S(e}(1).

          C.      Response to Ms. Rewitzer's Allegations with Respect to Her Pregnancy
                  and Post-Pregnancy

          In her Charge, with respect to her pregnancy and post-pregnancy, Ms. Rewitzer takes
  issue with the fact that when her pregnancy rendered her unable to fly, she was required to
  take an unpaid leave of absence, rather than be: (a) reassigned to a temporary light duty
  position until the birth of her child; or, (b) paid for her time away from work. These claims are
  unavailing under the law.

                  1,      All Medical Leaves of Absence Provided to Flight Attendants Are
                          Unpaid

          As an initial matter, the terms and conditions of the leaves of absence policies about
  which Ms. Rewitzer complains are set forth in the CBA. They were collectively bargained for by
  AFA and on behalf of Ms. Rewitzer, who voluntarily agreed to be a part of the union. Though
  the Charge consistently refers to the leaves of absence policies (and other policies) to which Ms.
  Rewitzer is subject to as "Frontier's policies," e.g., Charge 11 8-12, 47, 48, 50, 51, 53, 55
  (referring to a number of policies covered under the CBA as "Frontier's policies''), this fails to
  inform the EEOC that Ms. Rewitzer's interests were represented by AFA and accounted for in
  the determination of the scope of these policies. Moreover, "[i]t is well-established that Title
  VII does not require an employer to violate the terms of a collective bargaining agreement," so
  to the extent Ms. Rewitzer asks Frontier to act in ways contrary to the CBA, these requests

  6
    To the extent Ms. Rewitzer challenges Frontier's policy "of requiring immediate notification of pregnancy
  upon confirmation of the pregnancy by a doctor, " Charge at ,i SS(e), this claim is plainly time-barred. But
  even were this a live dalm, courts have held that non-pregnancy is a valid bona fide occupational
  qualification In a safety context, such as here for flight attendants. E.g., Int'/ Union, United Auto.,
  Aerospace & Agric. Implement Worke,s of Am., UAW v. Johnson Controls, Inc., 499 U.S. 187, 204 ( 1991)
  (recognizing non-pregnancy may be BFOQ under a "safety exception"); Richards v. City of Topeka, 173
  F.3d 1247, 1252 (10th Cir. 1999) (" Under the PDA, the City can raise a BFOQ as an affirmative defense,"
  citing 42 U.S.C. § 2000~2(e)(l) (allowing, under Title VII, an employer to discriminate where a BFOQ " is
  reasonably necessary to the normal operation of [a defendant's] particular business or enterprise'')).




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  must fail. EEOC v. Firestone Rbers & Textiles Co., 515 F.3d 307, 317 (4th Cir. 2008); see Trans
  World Airlines, Inc. v. Hardison, 432 U.S. 63, 79 (1977) (holding that "the duty to accommodate
  [does not] require[] [an employer] to take steps Inconsistent with [an] otherwise valid
  [ collective bargaining] agreement'').

         That aside, Ms. Rewitzer takes issue with the fact that she was not provided a paid
  leave of absence. Charge 1111 48, 55(c). But the CBA does not provide for a paid leave of
  absence for flight attendants unable to fly due to .any type of medical condition. Under the
  CBA, Frontier provides flight attendants with the following types of medical leave:

                    (a)     Family Medical Leave: governed "under the Family Medical Leave Act,"
                            which does not provide for paid leave, id. at 12(E)(1);

                    (b)     Maternity Leave: "Sick leave must be used, and vacation days may be
                            used, during the maternity leave; otherwise, the leave is without pay," id.
                            at 12(F)(3) (emphasis added); and,

                    (c)     Medical Leave: "A Flight Attendant may request an unpaid leave of
                            absence for his/her own illness or injury when he/ she cannot return to
                            work after exhausting FMLA leave or if he/she is not eligible for FMLA,"
                            id. at 12(G)(6) (emphasis added).

          Nowhere in the CBA does it provide that a flight attendant shall be paid in connection
  with any of the foregoing leaves of absence, other than to the extent the flight attendant
  wishes to be paid from accrued sick leave or vacation time. As for Ms. Rewitzer, her leave was
  handled exactly as provided by the CBA. See Charge at 1 34 ( recognizing that some of Ms.
  Rewitzer's maternity leave was paid because it was "covered by accrued paid vacation leave
  and coverage from optional short term disability insurance''). Having bargained for this benefit
  in the CBA, Ms. Rewitzer cannot now complain that the very same policies discriminate against
  her. See Hardison, 432 U.S. at 79.

         Accordingly, the fact that Frontier does not pay pregnant flight attendants on a leave of
  absence in connection with their pregnancy or birth of a child cannot be deemed discriminatory
  where, as here, the company does not pay any flight attendant (male or female) on a leave of
  absence for non-pregnancy-related medical conditions. 7 See Young v. UPS, 135 S. Ct. 1338,
  1343-44 (2015). This renders any assertion that Frontier must pay Ms. Rewitzer for her time
  away from work for pregnancy-related medical conditions contrary to the mandates of Title VII
  as amended by the PDA. Id. at 1343 ( only requiring an employer to treat "women affected by
  pregnancy . . . the same for all employment-related purposes • . • as other persons not so
  affected but similar in their ability or inability to work") (quoting 42 U.S.C. § 2000e(k))
  ( emphasis added).




  7
      Frontier does not pay workers' compensation daims, as required under the CBA and the law.




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                 2.      Pregnancy and Lactation Are Not Disabilities Covered Under the
                         ADA

        Next, Ms. Rewitzer's ADA (and disability-related-CADA) claims must fail because neither
  pregnancy nor lactation is a disability protected under the ADA or the CADA.

         It is well-established that pregnancy is not a disability under the ADA. E.g., Genovese v.
  Harford Health & Fitness Club, Inc., No. WMN-13-217, 2013 WL 2490270, at *5 (D. Md. June 7,
  2013) (collecting authorities and noting that "[w]ith near unanimity, federal courts have held
  that .pregnancy [alone] is not a 'disability' under the ADA'') (citations and internal quotations
  omitted); Richards, 173 F.3d at 1250 (affirming that " pregnancy d[oes] not qualify as a
  disability under the ADA''); Sutton v. United Air Unes, Inc., 130 F.3d 893, 899 (10th Cir. 1997)
  (holding that "impairment [within the meaning of the ADA] does not include ... pregnancy"
  where a pilot claimed disability discrimination on the basis of pregnancy).

          Lactation is likewise not a disability under the ADA. See Mayer v. Prof'/ Ambulance, LLC,
  211 F. Supp. 3d 408, 420 (D.R.I. 2016) (in a case involving an employer's denial of lactation
  breaks, concluding that normal medical conditions related to "post-pregnancy do not qualify as
  a disability," and noting the lack of any "any cases post-2008 amendment [to the ADA] holding
  that normal lactation is a disability''); Martinez v. N.B.C Inc., 49 F. Supp. 2d 305, 308 (S.D.N.Y.
  1999) (pregnancy and related medical conditions are not "disabilities" for purposes of the
  Americans with Disabilities Act, and the employer did not need to accommodate the plaintiff's
  desire to use a breast pump in the workplace).

          Because pregnancy and post-pregnancy conditions such as lactation are not covered
  under the ADA, to the extent Ms. Rewitzer's Charge asserts a violation of the ADA, her claims
  are without merit.

                 3.     The Dependability Policy Is Not Discriminatory

          Next, Ms. Rewitzer alleges that Frontier's dependability policy itself is discriminatory.
  See Exhibit D (Employee Handbook) at Art. 12. Even if her claims based on her treatment
  under the dependability policy were not time-barred-which they are-her claims regarding the
  policy nevertheless are unfounded for multiple reasons.

          First, as discussed above, neither pregnancy nor the need to express milk for lactation
  purposes is considered a "disability" under the ADA. Thus, to the extent that Ms. Rewitzer
  claims that it was a violation of the ADA for Frontier to deny her "request that 'dependability'
  points related to pregnancy complications be recharacterized," her claim must fail. Charge at
  1 SS(d).
         Second, the dependability policy is applied equally to all similarly situated employees,
  and Ms. Rewitzer does not claim otherwise. Thus, the dependability policy is not discriminatory
  against pregnant women under litle VII (as amended by the PDA). See Manning v. Swedish
   Med. Ctr., No. ClS-0949 (JLR) 2016 WL 6216364, at * 8 (W.D. Wash. Sept. 30, 2016) (denying
  l1tle VII discrimination claim where "[t]here is no evidence . . . to support that [employer]
  treated [claimant] differently from other employees" under the " Dependability Policy''); Stout v.




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  Baxter Healthcare Corp., 282 F.3d 856, 860 (5th Cir. 2002) (absentee policy that is applied
  equally to " pregnant or post-partum employees" and "non-pregnant employees" is permitted).

          Third, Ms. Rewitzer does not dispute that she, in fact, "missed [her] scheduled trips on
  January 2-6 and January 10-14," and thus "accrued three points under the dependability policy,
  resulting in [Ms. Rewitzer] having a total of 7.5 dependability points." Charge at 1 23. Plainly,
  then, Ms. Rewitzer acknowledges that the majority of her points-4.5 of the 7.5 points she
  accrued-had nothing to do with her pregnancy. See Exhibit E (performance counseling record)
  (showing Ms. Rewitzer had called in sick with inadequate notice on February 23, 2015, months
  before she became pregnant); Exhibit F (Attendance Warning, dated April 13, 2015) (showing
  Ms. Rewitzer had accrued 7 .5 points under the policy due to a number of incidents of calling in
  sick and tardiness).

          Moreover, Ms. Rewitzer concedes that " Frontier approved some medical leave for a few
  pregnancy-related sick day absences, " Charge at ,i 22 ( emphasis added), and Frontier has
  continued to approve her post-pregnancy-related leave of absence without any impact on her
  points under the dependability policy. This is all entirely consistent with the dependability
  policy, which provides that "some reasons for absence are appropriately excluded from being
  counted towards corrective action. Absences for approved leaves shall not be counted,
  provided proper documentation is produced and approved in advance of the event, or if
  unforeseeable, within the required time frame after the event." See Exhibit D (Employee
  Handbook) at Art. 12.05 p. 1. There is no inference to be made that Frontier discriminated
  against Ms. Rewitzer on the basis of her pregnancy when, by her own concession, Frontier
  approved her pregnancy-related leave requests, without assessment of attendance points,
  when she provided the proper documentation. Thus, if an absent employee can provide the
  "proper documentation" under the policy-as Ms. Rewitzer did for the multiple pregnancy-
  related medical leaves that she concedes Frontier approved-then no dependability points
  would be accrued.

          Fourth, to the extent that Ms. Rewitzer argues that the dependability policy is
  discriminatory because "the points will remain on [her] record for as long as [she] remain[s] on
  unpaid leave," Charge at 1 33, the policy is entirely non-discriminatory in that it expressly
  includes a// leaves of absence, including "Military, Medical, Personal, Workers' Comp, FMLA,
  STD, etc." See Exhibit D (Employee Handbook), at Art. 12.05.1.3. Thus, the policy in no way
  discriminates against pregnant or post-pregnant women; it applies equally to all employees
  regardless of the type of leave taken .

                 4.     Frontier Does Not Provide the Temporary Light Duty Assignment
                        that Ms. Rewitzer Sought as an Accommodation to Flight
                        Attendants, Regardless of the Basis for the Accommodation
                        Request

         In her Charge, Ms. Rewitzer also takes issue with t he fact that Frontier declined to
  assign her to a temporary light duty position to accommodate her stated need to express breast
  milk during the first year following her child's birth. Charge ,i,i 3, 36, 45, SO. Ms. Rewitzer's
  claim here fails on numerous grounds.




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         First, the CBA does not require, and Frontier's policies and practices do not provide for,
   temporary light duty assignments ( either at Frontier's corporate office or at any airport) for any
   flight attendant (male or female) unable to fly due to: (a) an on-the-job injury; (b) a non-work
  related injury; or (c) any other medical condition or disability. Ms. Rewitzer is simply wrong
  when she claims that Frontier "maintains a policy under which it provides for ... 'light/modified
  duty' to individuals who are injured on-the-job." Charge at ,i 12 (citing CBA Art. 12(H){2)).
  Rather, Article 12, Section H(2) of the CBA only provides that " [t]he first three days of OJI may
  be covered by sick days, or the Flight Attendant may immediately be assigned light/modified
  duty," id. (emphasis added)-not that Frontier is required to provide these accommodations.
  By its own terms, the CBA does not require reassignment to light duty, and, in fact, Frontier's
  policy is not to grant light/modified duty to any flight attendant unable to fly due to a medical
  condition, regardless of the nature of the medical condition.

          Second, in any event, Ms. Rewitzer's argument is unfounded that she was "caused . . .
  financial harm" because Frontier did not offer " temporary job reassignment for pregnant ...
  flight attendants." Charge at ,i 50. By her own admission, Ms. Rewitzer did not even seek a
  reassignment until August 23, 2016-months after her son was born. See Charge at 1 36.
  Thus, as Ms. Rewitzer never asked for any job reassignment during her pregnancy, Frontier
  certainly could not have discriminated against her for n~t providing this accommodation.

          Given the foregoing, Ms. Rewitzer appears to demand that the EEOC insist she be
  treated more favorably than other flight attendants similar in their ability or inability to work.
  There is no support for that demand in the relevant law, including the EEOC's guidance
  interpreting the same. See Adams v. Potter, 193 F. App'x 440, 445 (6th Cir. 2006)
  ("accommodations are not reasonable if they would usurp the legitimate rights of other
  employees in a collective bargaining agreement'') ( citation and internal quotation omitted).

         According to the EEOC's Enforcement Guidance on Pregnancy Discrimination and
  Related Issues, in enacting the PDA:

                  Congress sought to make clear that 'pregnant women • who are
                  able to work must be permitted to work on the same conditions as
                  other employees; and, when they are not able to work for medical
                  reasons, they must be accorded the same rights, leave privileges
                  and other benefits, as other workers who are disabled from
                  working.' The PDA requires [only] that pregnant employees be
                  treated the same as non-pregnant employees who are similar in
                  their ability or inability to work.

  Enforcement Guidance: Pregnancy Discrimination and Related Issues, 2015 WL 4162723, at *2
  (EEOC Notice No. 915.003) (June 25, 2015) (emphasis added).

           Further, in Young, the United States Supreme Court held that to succeed on a claim that
  the denial of an accommodation constitutes disparate treatment under the PDA, the plaintiff
  must show, among other things, "that she sought [an] accommodation, that the employer did
  not accommodate her, and that the employer did accommodate others 'similar in their ability or
  inability to work."' 135 S. Ct. at 1354 (emphasis added). Here, Ms. Rewitzer cannot establish
  that she was denied an accommodation provided ·to other flight attendants and accordingly,




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  cannot set forth a prima facie case of discrimination. See Wade v. Brennan, 647 F. App'x 412,
  417 (5th Cir. 2016) (denying litle VII claim where complainant "failed to show [temporary
   reassignment position] was an existing position, so reassignment there would necessarily
  require [employer] to create a new position for her, which is not a reasonable
  accommodation'').

                  s.     Expression of Breast Milk During Flight Is a Safety Hazard

          Moreover, as an experienced flight attendant, Ms. Rewitzer must know that pumping
  during flight in the aircraft galley (or, for that matter, the lavatory) is not a viable option given
  the safety issues that inevitably arise in the performance of a flight attendant's duties. Taking
  extended breaks during a flight necessarily would place the welfare of Frontier's passengers as
  well as Ms. Rewitzer's colleagues flying on the aircraft at risk. Indeed, airlines are for that very
  reason exempted from the provisions of the Fair Labor Standards Act requiring break time. See
   Thibodeaux v. Exec. Jet Int7, Inc., 328 F.3d 742, 754 (5th Cir. 2003) (confirming that "the FLSA
  exempts the company's flight attendants from its overtime requirements"); 29 U.S.C.A. §
  213(b)(3) (West).

           As one example of the safety issues at play, on an Airbus 319 airplane, in addition to the
  two pilots, there are three flight attendants and approximately 150 passengers in flight. If a
  flight attendant is relieved of the performance of her duties for an extended period- to pump or
  otherwise-the other two flight attendants must deviate from their regular course of duty,
  which, in the event of a security incident, would allow for the passengers to more significantly
  outnumber the remaining crewmembers. Indeed, a flight attendant's essential job duties
  include a number of safety-related functions that would be rendered impossible or impracticable
  if a flight attendant were permitted to pump while onboard an aircraft, including "conduct[ing]
  emergency evacuation of cabin if necessary," "conduct[ing] preflight safety check of cabin
  emergency equipment," "ensur[ing] cabin safety and security during all phases of flight,
  including boarding and deplaning," and "provid[ing] emergency medical assistance." See
  Exhibit A (Flight Attendant Job Description).

            Accordingly, Frontier flight attendants are not permitted to pump during flight for the
   legitimate, non-discriminatory reason that doing so risks flight safety, something Frontier is not
   willing to compromise. Young, 135 S. Ct. at 1343-44 (finding that if an employee can articulate
   a prima facie case of pregnancy discrimination, which Frontier does not concede, an employer
   successfully meets its burden upon a showing of legitimate, non-discriminatory reasons for its
   decision to not grant the accommodation requested).

                  6.     Ms. Rewitzer's Claims that Frontier Did Not Offer Her Any
                         Aa:ommodations Are False

         Lastly, Ms. Rewitzer suggests in her Charge that Frontier did not offer her any
   accommodations at all in connection with her expression of breast milk. E.g., Charge 11 3, 37,
   52. Not so.

         First, as detailed above, Frontier approved each of Ms. Rewitzer's requests for leave of
   absence after the birth of her child.




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        Second, while Frontier is unwilling to compromise flight safety, it does provide nursing
  mothers with the opportunity to work a reduced schedule, which is a special accommodation
  that is not available to other flight attendants. Specifically, the CBA requires that "[a]t the
  completion of each Bid Period each Flight Attendant must accumulate a minimum of 60 credit
  hours." See Exhibit B (CBA) at Art. 5 § L(l). However, Frontier allows nursing mother flight
  attendants the accommodation of dropping below 60 hours per month without having to restore
  those hours, and only having to meet a minimum of 45 hours. This allows women returning to
  work and wanting to breastfeed the opportunity to work fewer hours, be on the schedule for
  fewer days, and bid for flights in a manner that allows them to be at home with their child more
  often. During the relevant time period, each time a nursing flight attendant has made a request
  to work a reduced schedule, Frontier has granted the accommodation requested by the flight
  attendant.

          Ms. Rewitzer was offered this accommodation but has instead opted for her preferred
  accommodation of remaining on medical leave-itself, of course, an accommodation provided
  by Frontier. See Exhibit G (July 27, 2017 e-mail) (rejecting "[t]he proposed reduced schedule
  of 45 hours per month"). Thus, Ms. Rewitzer has rejected perfectly reasonable and legitimate
  accommodations offered by Frontier. Barber ex rel. Barber v. Colorado, Dep't of Revenue, No.
  CN.A. 05-CV-00807RE, 2008 WL 207691, at *1 (D. Colo. Jan. 24, 2008) (''[P]laintiffs' argument
  is that they were not afforded the particular accommodation they requested. This is not the
  law. Defendants' duty is to offer a reasonable accommodation, not plaintiffs' preferred
  accommodation."), affd, 562 F.3d 1222 (10th Cir. 2009).

  llI.       LEGAL ANALYSIS

           In her Charge, Ms. Rewitzer contends she was discriminated against based on her sex in
  violation of Title VII (as amended by the PDA), the ADA, the CADA, and the PWFA. Since she
  does not offer direct evidence of discrimination to support these claims, her allegations of
  discrimination must be analyzed under the McDonnell Douglas burden-shifting framework. A
  plaintiff alleging that the denial of an accommodation constituted disparate treatment under the
  PDA establishes a prima facie case by showing that: (1) she· is a member of a protected class;
  (2) she sought an accommodation and the employer did not accommodate her; and, (3) the
  employer did accommodate others similar in their ability or inability to work. Young, 135 S. Ct.
  at 1354. If a plaintiff can make this showing, then the "employer may then seek to justify its
  refusal to accommodate the plaintiff by relying on legitimate, non-discriminatory reasons for
  denying her accommodation." Id. "If the employer offers an apparently legitimate, non-
  discriminatory reason for its actions," the burden then sifts back to the plaintiff to "show that
  that employer's proffered reasons are in fact pretextual." Id.

         For the reasons set forth above, with respect to her timely claims of discrimination, Ms.
  Rewitzer cannot meet her prima facie case because she cannot demonstrate that she sought an
  accommodation that Frontier did not grant to her, but provided others similar in their ability to
  work or not work. For example,

         •   Ms. Rewitzer complains that she was not afforded the accommodation of a paid leave of
             absence. Frontier does not provide a paid leave of absence to flight attendants unable
             to fly due to any type of medical condition. See Section II.C.1.




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     •   Ms. Rewitzer complains that the dependability policy is discriminatory, but the
         dependability policy applies equally to all Frontier flight attendants. See Section II.C.3.

     •   Ms. Rewitzer also takes issue with the fact that Frontier failed to provide her with a
         reassignment to a temporary light duty position at Frontier's corporate office or at the
         Denver airport to accommodate her inability to fly. Frontier does not provide temporary
         light duty assignments as an accommodation to any flight attendant on the basis of a
         medical condition, regardless of the nature of that medical condition ( e.g., on the job
         injury, off the job injury, any medical condition or disability). See Section II.C.4.

     •   Ms. Rewitzer takes issue with the fact that Frontier has not excused essential functions
         of her flight attendant position as an accommodation to allow her to express breast milk
         during flights.     Ms. Rewitzer cannot establish that Frontier provided such an
         accommodation to any other flight attendant similar in their ability or inability to work.
         See Section II.C.S.

     •   Ms. Rewitzer complains that Frontier did not accommodate her desire to express milk.
         But Frontier offered a number of reasonable accommodations, and Frontier is not legally
         obligated to provide Ms. Rewitzer with her " preferred" accommodation. See Section
         II.C.6.

          Accordingly, Ms. Rewitzer's discrimination claim fails as a matter of law at the outset, as
  she cannot even establish her prima facie case. Indeed, Frontier's decision to adhere to the
  provisions of the CBA and to treat Ms. Rewitzer the same as all other flight attendants in their
  ability or inability to work is evidence that its business decisions were legitimate and non-
  discriminatory. Nor has Ms. Rewitzer presented any evidence that Frontier's legitimate
  decisions were pretextual.

         In summary, Ms. Rewitzer's allegations are either untimely as a matter of law or without
  legal merit.

   IV.   CONCLUSION

          For the reasons detailed above, Ms. Rewitzer has not been subject to any form of
  discrimination. Rather, Frontier has treated her fairly and lawfully at all times. Accordingly, the
  company respectfully requests that Ms. Rewitzer's Charge be dismissed with a finding of "no
  probable cause." Please do not hesitate to contact me if you require any further information.

  Sincerely,




  EAW/ dpg

  Enclosures




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   December 8, 2017                                                            ewebber@littler.com

   VIA ELECTRONIC SUBMISSION

   Justin Moore
   Federal Investigator
   U.S. Equal Employment Opportunity Commission
   Denver Field Office
   303 East 17th Avenue
   Suite 410
   Denver, CO 80203

   Re:     Respondent's Position Statement
           Renee Schwartzkopf v. Frontier Airlines, Inc.
           EEOC Charge No. 541-2018-00055

   Dear Mr. Moore:

           I am writing on behalf of Respondent Frontier Airlines, Inc. ("Frontier'') in response to
   the Charge of Discrimination filed by Renee Schwartzkopf on or about October 5, 2017. In her
   Charge, Ms. Schwartzkopf alleges to have suffered discrimination based on "sex, pregnancy,
   childbirth. . .disability," and "pregnancy-related disability" and a "condition related to my
   pregnancy and childbirth - specifically, lactation" in violation of Title VII of the Civil Rights Act
   of 1964 C'Title VII''), as amended by the Pregnancy Discrimination Act C'PDA''), the Americans
   with Disabilities Act ("ADA''), the Colorado Antidiscrimination Act ("CADA''), and the Colorado
   Pregnant Workers Fairness Act ("PWFA''). 1 Ms. Schwartzkopf further alleges that Frontier
   violated the Colorado Workplace Accommodations for Nursing Mothers Act C'WANMA'') by not
   providing adequate break time and/or space for expressing breast milk.

           At the outset, as Ms. Schwartzkopf acknowledges in her Charge, see Charge at 1 36 n.1,
   the Equal Employment Opportunity Commission C'EEOC'') does not have jurisdiction over
   WANMA claims. Accordingly, Frontier's response addresses only Ms. Schwartzkopfs
   discrimination-based claims under Title VII (as amended by the PDA), the ADA, CADA, and the



   1
     On her EEOC Form 5, Ms. Schwartzkopf additionally checked the box for "Retaliation" where asked to
   identify the basis of her Charge (in addition to "Sex" and "Disability"). Ms. Schwartzkopf makes no
   mention of retaliation in the statement of harm attached to the Form 5, however, and does not address
   any claim of retaliation substantively. Frontier for that reason has not included a discussion of retaliation
   in this position statement.




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   PWFA. 2 To the extent the EEOC believes it has jurisdiction to investigate the allegations
   referenced in the Charge regarding WANMA, Frontier respectfully requests the opportunity to
   supplement this position statement to address such allegations. 3

       I.   INTRODUCTION

            Frontier denies any allegation that it discriminated against Ms. Schwartzkopf in violation
   of Title VII, as amended by the PDA, the ADA, the CADA, the PWFA, or any other law. In fact,
   as detailed below, Frontier treated Ms. Schwartzkopf, all pregnant flight attendants, and those
   flight attendants wishing to express breast milk upon their return to work lawfully; in
   compliance with applicable law; with the collectively bargained agreement governing relevant
   terms and conditions of a Frontier flight attendant's employment; under its standard practices;
   and, most importantly, consistent with how it accommodates all flight attendants (both male
   and female) who are similar in their ability to work or not work.

           Ms. Schwartzkopf's Charge demands that Frontier treat pregnant flight attendants, and
   those flight attendants seeking to express breast milk upon their return to work more favorably
   than all other flight attendants and as required by federal law. For example, Ms. Schwartzkopf
   seeks paid leave as one accommodation for flight attendants who are pregnant or
   breastfeeding. Charge at 11 36(c). But under the terms of the collective bargaining agreement
   Frontier entered into with the flight attendants' union-of which Ms. Schwartzkopf is a
   member-all medical leaves of absence are unpaid. Moreover, Title VII as amended by the
   PDA, the FMLA, and the ADA does not require a leave of absence to be paid. Thus, were
   Frontier to pay flight attendants for medical leave related to their pregnancy (beyond use of
   accrued paid leave), Frontier would be treating them more favorably than all other flight
   attendants operating under the collective bargaining agreement on leaves of absence.

          Likewise, Ms. Schwartzkopf contends that Frontier's dependability policy is discriminatory
   against pregnant flight attendants and flight attendants who take medical leave after giving
   birth. Id. at ,i 36(d). However, the dependability policy is applied equally to all flight
   attendants, whether pregnant or not, and thus it is not discriminatory. Frontier's dependability

   2
      Since CADA claims (inclusive of the PWFA, which amended CADA) are analyzed under the same
   framework as Title VII and ADA claims, please allow the analysis in this position statement to also serve
   as a legal analysis of CADA pregnancy and disability discrimination claims. St. Croix v. Univ. of Colo.
   Health Scis./ Ctr., 166 P.3d 230, 236 (Colo. Ct. App. 2007) (citing Colo. Civil Rights Comm'n v. Big O
   Tires, Inc., 940 P.2d 397, 399 (Colo. 1997) (stating Colorado courts " look to federal cases for guidance
   on applying" the CADA).
   3
     This position statement is based on Frontier's understanding of Ms. Schwartzkopfs allegations to the
   best of its knowledge and recollection as of the date of this document. Frontier expressly reserves the
   right to amend, supplement, or correct this position statement, if necessary. In addit ion, this position
   statement and the accompanying exhibits, which contain confidential personnel, medical and business
   information, are subject to the exceptions to the disclosure requirements of the Freedom of Information
   Act ("FOIA"), 5 U.S.C. § 552(b)(7). All information provided herein, including this posit ion statement, is
   provided solely in cooperation with the EEOC's fact-finding efforts. Frontier reserves all objections to the
   admissibility at any hearing, trial, or other proceeding of any of the information or documents provided to
   the EEOC.




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   policy fully complies with federal and Colorado state law in all respects. Again, if Ms.
   Schwartzkopf were to be excused from its requirements, then Frontier would be treating her
   more favorably than all other flight attendants who are similar in their ability to work or not
   work.

            Ms. Schwartzkopf further contends t hat the fact that she was not offered a temporary
   reassignment to "light or modified duty" as an accommodation for her pregnancy or desire to
   express breast milk upon her return to work is evidence of discrimination - but without alleging
   in her Charge that she ever requested a temporary reassignment. 4 Charge ,i,i 36(b)-(c). This
   argument falls flat because Frontier does not provide temporary light duty assignments at as an
   accommodation to any flight attendant for a medical condition. Moreover, despite Ms.
   Schwartzkopf's unfounded allegations, Frontier has no obligation under the CBA or any other
   law or policy to provide this accommodation to flight attendants (male or female) who cannot
   fly due to: ( a) an on-the-job injury; (b) a non-work related injury; or ( c) any other medical
   condition or disability. Put another way, Frontier treats Ms. Schwartzkopf the same as all other
   flight attendants who are similar in their ability to work or not work.

            Ms. Schwartzkopf also takes issue with the fact that Frontier has allegedly informed
   other flight attendants they could not express breast milk in the galley during flight. Charge at
   1111 14, 36(f)-(g), (i). However, it is beyond question that a flight attendant leaving her duties
   for a material period of time during flight-to breastfeed or for any other reason-creates a
   safety risk and compromises the welfare of passengers and crew members. For this reason,
   Frontier has not provided any flight attendant with the accommodation to stop working while on
   a flight for an extended period of time due to any medical condition or disability. Not only does
   Frontier have a legitimate, non-discriminatory reason for its safety decisions in this regard, but
   Ms. Schwartzkopf cannot demonstrate that Frontier provided this accommodation to other flight
   attendants similar in their ability or inability to work for an entire flight.

           In summary, Frontier believes that this position statement and the evidence submitted
   herewith demonstrate that it has acted lawfully at all times. Accordingly, it respectfully requests
   that the EEOC issue a no probable cause finding with respect to Ms. Schwartzkopf's Charge.




   4
     Notably, Ms. Schwartzkopf admits that she did not in fact request any accommodations after her return
   to flight duties, other than her successful bid for reduced hours. Charge at ,i,i 25-27. Instead, she bases
   her Charge on assumptions regarding what her allegations are based on her apparent third-hand beliefs
   relating to what Frontier might or might not have granted in terms accommodations. With respect to her
   Charge allegations, then, it is unlikely that she has standing to bring claims for failure to provide such
   accommodations.
   Although Ms. Schwartzkopf claims t hat "Frontier never informed me one way or the other what I was
   supposed to do when I needed to express breast milk.. ," (Charge at ,i 28) it is not the employer's
   responsibility to anticipate an employee's needs and affirmatively offer an accommodation when the
   employee has not requested one. See, e.g. Koessel v. Sublette Cty. Sheriff's Dep't, 717 F.3d 736, 745
   (10th Cir. 2013). Nevertheless, In the interest of completeness, Frontier will address the merits of Ms.
   Schwartzkopf's claims, infra. See Davolt v. Webb, 194 F.3d 1116, 1133 (10th Cir. 1999).




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   II.    FACTUAL BACKGROUND

          A.      General Information Relating to Ms. Schwartzkopf's Employment

            In or about March, 2006, Ms. Schwartzkopf began her employment with Frontier as a
   flight attendant, a position she continues to hold as of the date of this position statement. As a
   Flight Attendant, Ms. Schwartzkopf is "essential to maintaining the well-being, safety, security
   and comfort of [Frontier's] passengers onboard [its] aircraft," and she must "follow established
   FAA and Frontier guidelines in providing for the comfort and safety of passengers and respond
   to inflight emergencies and/or security concerns . . . . " Exhibit A (Flight Attendant Job
   Description). A flight attendant's job description's emphasis on safety is consistent with the fact
   that, while Frontier prides itself on being an ultra-low cost carrier, the company views its
   primary mission as ensuring the safety of its customers and employees. Thus, while serving
   more than 40 cities in the United States, Mexico, and the Caribbean on over 275 daily flights,
   Frontier never loses sight that its principal responsibility is to ensure that passengers and
   employees are safely delivered to their destination.

           Upon her acceptance of employment as a Flight Attendant, Ms. Schwartzkopf voluntarily
   joined the Association of Flight Attendants-CWA AFL-CIO f'AFA''), the union that represents
   Frontier flight attendants and is responsible for promoting the interests of its members. See
   Charge at ,i 7. Importantly, AFA and Frontier negotiated the Frontier Airlines Flight Attendant
 · Contract f'CBA''), which sets forth the terms of employment and working conditions for Frontier
   flight attendants. The CBA specifically addresses, among other things, seniority, scheduling,
   staffing adjustments, leaves of absence and medical standards. Exhibit B (Relevant Provisions
   of the CBA). Accordingly, its provisions are material to an assessment of Ms. Schwartzkopf's
   allegations.

           In her Charge, Ms. Schwartzkopf contends she was discriminated against in violation of
   Title VII (as amended by the PDA) and the ADA (and, by extension, the CADA and the PWFA) in
   connection with her pregnancy in 2016-17 and return to work following the birth of her child.
   After Ms. Schwartzkopf had her child on January 30; 2017, in accordance with the terms of the
   CBA, she took nearly twelve weeks of medical leave, i.e., up to and including April 21, 2017.
   Id. at§ 12(F); Charge at ,i 23. In May 2017, Ms. Schwartzkopf bid for and was awarded a Job
   Share (part time hours) according to Frontier policies, and returned to a regular schedule in July
   2017. Charge at ,i 27.

          B.      Ms. Schwartzkopf's Allegations with Respect to Discrimination During
                  Her Pregnancy Are Partly Time-Barred

           I n order to maintain a claim under Title VII (as amended by the PDA), the CADA, and/or
   the PWFA, a plaintiff must file a charge of discrimination with the EEOC ( or Colorado Civil Rights
   Division, as applicable) within 300 days of the alleged unlawful employment practice. See 42
   U.S.C. § 2000e-5(e)(1) (Title VII, requiring charge be filed "within three hundred days after the
   alleged unlawful employment practice occurred''); 42 U.S.C. § 12117(a) (ADA, adopting
   "powers, remedies, and procedures" of§ 2000e-5); see Davidson v. America Online, Inc., 337




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   F.3d 1179, 1183 (10th Cir. 2003) ("Title VII [and] the ADA require[] an individual to file a timely
   administrative claim within 300 days''). 5 Ms. Schwartzkopf filed her Charge on October 5, 2017,
   rendering any claim based on events transpiring before December 9, 2016 (300 days prior)
   untimely as a matter of law. Ms. Schwartzkopf alleges she became pregnant in May 2016 and
   gave birth to her child on January 30, 2017. Charge at ~~ 21-22. Accordingly, Ms.
   Schwartzkopf's allegations regarding any purported discrimination that occurred during
   approximately the first six months of her pregnancy, up until December 9, 2016, are
   untimely. 6• 7

           There can be no doubt that any allegations that occurred before December 9, 2016,
   including those relating to notification of pregnancy, and accommodations during pregnancy up
   to the final two months of the gestation period, are time-barred, and should be dismissed. See,
   e.g., Nat'/ R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 117 (2002) (finding that repeated
   occurrences of the same discriminatory employment action, like the failure to provide an
   accommodation, can be challenged only if "an act contributing to the claim occurs within the
   [charge] filing period''); 42 U.S.C. § 2000e-S(e)(l). 8

           C.      Response to Ms. Schwartzkopf's Allegations with Respect to Her
                   Pregnancy and Post-Pregnancy

          In her Charge, with respect to pregnancy and post-pregnancy, Ms. Schwartzkopf takes
   issue with the fact that Frontier does not provide "workplace accommodations related to
   pregnancy and breastfeeding," including "paid leave, temporary job assignments, schedule
   modifications, medically necessary breaks, or private, sanitary, and accessible facilities to
   express breast milk." Charge at ~ 36(c). She also takes issue with Frontier's dependability


   5
     The time limits for filing charges under the CADA and the PWFA, which require charges be filed within
   six months, are even shorter. See Colo. Rev. Stat. Ann. § 24-34-403 (West) ("Any charge alleging a
   violation of this part . . . shall be filed with the commission . . . within six months after the alleged
   discriminatory or unfair employment practice occurred, and if not so filed, it shall be barred.").
   6
     Likewise, Ms. Schwartzkopf's allegations regarding any discrimination under the CADA and the PWFA
   that occurred before April 5, 2017, six months before she filed her charge, are time-barred. See Colo.
   Rev. Stat. Ann. § 24-34-403.
   7
     To the extent Ms. Schwartzkopf challenges Frontier's policy "of requiring immediate notification of
   pregnancy upon confirmation of the pregnancy by a doctor," Charge at ,i,i 9, 36(c), this claim is plainly
   time-barred. But even were this a live claim, courts have held that non-pregnancy is a valid bona fide
   occupational qualification in a safety context, such as here for flight attendants. Eg., Int'/ Union, United
   Auto., Aerospace & Agric. Implement Workers of Am., UAW v. Johnson Controls, Inc., 499 U.S. 187, 204
   (1991) (recognizing a BFOQ based on safety); Richards v. City of Topeka, 173 F.3d 1247, 1252 (10th Cir.
   1999) ('Under the PDA, the City can raise a BFOQ as an affirmative defense," citing 42 U.S.C. § 2000e-
   2(e)( 1)).
   8
     On the face of the Charge, the injunctive claims also appear to be moot. Ms. Schwartzkopf alleges that
   it is important to her that her child be fed breast milk "during the first six months of his life." Charge at
   ,i 18. Since the child was born on January 30, 2017, the referenced period of time encompasses January
   30, 2017 to July 31, 2017.




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   policy as it applies points to pregnancy-related sick days, and the policy requiring immediate
   notification of pregnancy. Id. at 11,i 36(d)-(e). These claims are unavailing under the law.

                 1.      Pregnancy and Lactation Are Not Disabilities Covered Under the
                         ADA

           Next, Ms. Schwartzkopfs ADA (and disability-related-CADA) claims must fail because
   neither pregnancy nor lactation is a disability protected under the ADA or the CADA.

          It is well-established that pregnancy is not a disability under the ADA. E.g., Genovese v.
   Harford Health & Fitness Club/ Inc., No. WMN-13-217, 2013 WL 2490270, at *S (D. Md. June 7,
  2013) (collecting authorities and noting that "[w]ith near unanimity, federal courts have held
  that pregnancy [alone] is not a 'disability' under the ADA'') (citations and internal quotations
  omitted); Richards, 173 F.3d at 1250 (affirming that "pregnancy d[oes] not qualify as a
  disability under the ADA''); Sutton v. United Air Lines, Inc., 130 F.3d 893, 899 (10th Cir. 1997)
  (holding that "impairment [within the meaning of the ADA] does not include ... pregnancy"
  where a pilot claimed disability discrimination on the basis of pregnancy).

           Lactation is likewise not a disability under the ADA. See Mayer v. Prof'l Ambulance, LLC,
  211 F. Supp. 3d 408, 420 (D.R.I. 2016) (in a case involving an employer's denial of lactation
  breaks, concluding that normal medical conditions related to "post-pregnancy do not qualify as
  a disability," and noting the lack of any "any cases post-2008 amendment [to the ADA] holding
  that normal lactation is a disability''); Martinez v. N.B.C Inc., 49 F. Supp. 2d 305, 308 (S.D.N.Y.
  1999) (pregnancy and related medical conditions are not "disabilities" for purposes of the
  Americans with Disabilities Act, and the employer did not need to accommodate the plaintiff's
  desire to use a breast pump in the workplace). Ms. Schwartzkopf seems to agree, as she
  claims that at the time she was lactating, she "did not have a disability under the ADA." Charge
  at 11 24.

           Because pregnancy and post-pregnancy conditions such as lactation are not covered
  under the ADA, to the extent Ms. Schwartzkopf's Charge asserts a violation-of the ADA, Charge
  at 1111 13, 36, 38, her claims are without merit.

                  2.     All Medical Leaves of Absence Provided to Flight Attendants Are
                         Unpaid

         The terms and conditions of the leaves of absence policies about which Ms.
  Schwartzkopf complains are set forth in the CBA. They were collectively bargained for by AFA
  and on behalf of Ms. Schwartzkopf, who voluntarily agreed to be a part of the union. Though
  the Charge consistently refers to the leaves of absence policies (and other policies) to which Ms.
  Schwartzkopf is subject to as "Frontier's policies," e.g., Charge 11111, 33, 34, 36, 38 (referring to
  a number of policies covered under the CBA as "Frontier's policies''), this fails to inform the
  EEOC that Ms. Schwartzkopf's interests were represented by AFA and accounted for in the
  determination of the scope of these policies. Moreover, "[i]t is well-established that Title VII
  does not require an employer to violate the terms of a collective bargaining agreement," so to
  the extent Ms. Schwartzkopf asks Frontier to act in ways contrary to the CBA, these requests
  must fail. EEOC v. Firestone Fibers & Textiles Co., 515 F.3d 307, 317 (4th Cir. 2008); see Trans
  World Airlines, Inc. v. Hardison, 432 U.S. 63, 79 (1977) (holding that "the duty to accommodate



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   [does not] require[] [an employer] to take steps inconsistent with [an] otherwise valid
   [ collective bargaining] agreement'').

          That aside, Ms. Schwartzkopf cites "paid leave" as one of the accommodations Frontier
   allegedly could provide pregnant and breastfeeding flight attendants. Charge ,i 36(c). But t he
   CBA does not provide for a paid leave of absence for flight attendants unable to fly due to any
   type of medical condition. Under the CBA, Frontier provides flight attendants with the following
   types of medical leave:

                 (a)     Family Medical Leave: governed " under the Family Medical Leave Act,"
                         which does not provide for paid leave, id. at 12(E)(1);

                 (b)     Maternity Leave: "Sick leave must be used, and vacation days may be
                         used, during the maternity leave; otherwise, the leave is without pay," id.
                         at 12(F)(3) (emphasis added); and,

                 (c)     Medical Leave: " A Flight Attendant may request an unpaid leave of
                         absence for his/ her own illness or inj ury when he/she cannot return to
                         work after exhausting FMLA leave or if he/she is not eligible for FMLA,"
                         id. at 12(G)(6) (emphasis added).

          Nowhere in the CBA does it provide that a flight attendant shall be paid in connection
   with any of the foregoing leaves of absence, other than to the extent the flight attendant
   wishes to be paid from accrued sick leave or vacation time. As for Ms. Schwartzkopf, her leave
   was handled exactly as provided by the CBA. See Charge at ,i 21 (recognizing that some of Ms.
   Schwartzkopfs maternity leave was paid because it was "covered by accrued paid vacation'').
   Having bargained for this benefit in the CBA, Ms. Schwartzkopf cannot now complain that the
   very same policies discriminate against her. See Hardison, 432 U.S. at 79.

           Accordingly, the fact that Frontier does not pay flight attendants on a leave of absence
   in connection with their pregnancy or birth of a child cannot be deemed discriminatory where,
   as here, the company does not pay any flight attendant (male or female) on a leave of absence
   for non-pregnancy-related medical conditions. See Young v. UPS, 135 S. Ct. 1338, 1343-44
   (2015).

                 3.      The Dependability Policy Is Not Discriminatory

           Ms. Schwartzkopf further alleges that Frontier's dependability policy itself is
   discriminatory. Charge at ,i 36(d); See Exhibit C (Employee Handbook) at Art. 12. This claim is
   unfounded for multiple reasons.

           First, as discussed above, neither pregnancy nor the need to express milk for lactation
   purposes is considered a "disability" under the ADA. Thus, to the extent that Ms. Schwartzkopf
   claims that it was a violation of the ADA for Frontier to apply dependability points to pregnancy-
   related sick days, her claim must fail. Charge at ,i 36(d).

        Second, the dependability policy is applied equally to all similarly situated employees,
   and Ms. Schwartzkopf does not claim otherwise. Thus, the dependability policy is not




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   discriminatory against pregnant women under Title VII (as amended by the PDA). See Manning
   v. Swedish Med. Ctr., No. ClS-0949 (JLR) 2016 WL 6216364, at *8 (W.D. Wash. Sept. 30,
   2016) (denying Title VII discrimination claim where "[t]here is no evidence •. . to support t hat
   [employer] treated [claimant] differently from other employees" under the " Dependability
   Policy''); Stout v. Baxter Healthcare Corp., 282 F.3d 856, 860 (5th Cir. 2002) (absentee policy
   that is applied equally to "pregnant or post-partum employees" and "non-pregnant employees"
   is permitted).

            Third, to the extent t hat Ms. Schwartzkopf argues that the dependability policy is
   discriminatory because pregnancy-related leaves of absence "freeze the twelve-month clock for
   purposes of permitting points to 'roll off,"' Charge at 1 10, the policy is entirely non-
   discriminatory in that it expressly includes fill leaves of absence, including "Military, Medical,
   Personal, Workers' Comp, FMLA, STD, etc." See Exhibit C (Employee Handbook), at Art.
   12.05.1.3. Thus, the policy in no way discriminates against pregnant or post-pregnant women;
   it applies equally to all employees regardless of the type of leave taken.

                  4.     Frontier Does Not Provide the Temporary Light Duty Assignment
                         as an Accommodation to Flight Attendants, Regardless of the
                         Basis for the Accommodation Request

           In her Charge, Ms. Schwartzkopf takes issue with the fact that Frontier does not assign
   flight attendants to a temporary light duty position to accommodate their stated need to
   express breast milk. Charge 11 13, 36(b)-(c), 38(d). Ms. Schwartzkopf's claim here also fails.

           As an initial matter, the CBA does not require, and Frontier's policies and practices do
   not provide for, temporary light duty assignments ( either at Frontier's corporate office or at any
   airport) for any flight attendant (male or female) unable to fly due to: (a) an on-the-job injury;
   (b) a non-work related injury; or (c) any other medical condition or disability. Ms. Schwartzkopf
   is simply wrong when she claims that Frontier provides "'light/modified duty' to individuals who
   are injured on the job . .. ." Charge at 1 13 (citing CBA Art. 12(H)(2)). Rather, Article 12,
   Section H(2) of the CBA only provides that "[t]he first three days of OJI may be covered by sick
   days, or the Flight Attendant may immediately be assigned light/modified duty," id. (emphasis
   added)-not that Frontier is required to provide these accommodations. By its own terms, the
   CBA does not require reassignment to light duty, and, in fact, Frontier's policy is not to grant
   light/modified duty to any flight attendant unable to fly due to a medical condition, regardless
   of the nature of the medical condition.

           Ms. Schwartzkopf appears to demand t hat the EEOC treat pregnant flight attendants
   and flight attendants seeking to express breast milk more favorably than other flight attendants
   similar in their ability or inability to work. There is no support for that demand in the relevant
   law, including the EEOC's guidance interpreting the same. See Adams v. Potter, 193 F. App'x
   440, 445 (6th Cir. 2006) C'accommodations are not reasonable if they would usurp the
   legitimate rights of other employees in a collective bargaining agreement'') (citation and internal
   quotation omitted).

          According to the EEOC's Enforcement Guidance on Pregnancy Discrimination and
   Related Issues, in enacting the PDA:




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                  Congress sought to make clear that 'pregnant women who are
                  able to work must be permitted to work on the same conditions as
                  other employees; and, when they are not able to work for medical
                  reasons, they must be accorded the same rights, leave privileges
                  and other benefits, as other workers who are disabled from
                  working.' The PDA requires [only] that pregnant employees be
                  treated the same as non-pregnant employees who are similar in
                  their ability or inability to work.

   Enforcement Guidance: Pregnancy Discrimination and Related Issues, 2015 WL 4162723, at *2
   (EEOC Notice No. 915.003) (June 25, 2015) (emphasis added).

            Further, in Young, the United States Supreme Court held that to succeed on a claim that
   the denial of an accommodation constitutes disparate treatment under the PDA, the plaintiff
   must show, among other things, "that she sought [an] accommodation, that the employer did
   not accommodate her, and that the employer did accommodate others 'similar in their ability or
   inability to work. 111 135 S. Ct. at 1354. Here, as discussed, Ms. Schwartzkopf cannot establish
   that she was denied an accommodation at all. However even if she had been denied a
   temporary duty assignment, she cannot show such an accommodation has been provided to
   other flight attendants. Accordingly, she cannot set forth a prima facie case of discrimination.
   See Wade v. Brennan, 647 F. App'x 412, 417 (5th Cir. 2016) (denying Title VII claim where
   complainant "failed to show [temporary reassignment position] was an existing position, so
   reassignment there would necessarily require [ employer] to create a new position for her,
   which is not a reasonable accommodation'}

                  S.      Expression of Breast Milk During Flight Is a Safety Hazard

            As an experienced flight attendant, Ms. Schwartzkopf must know that expressing breast
    express milk during flight in the aircraft galley or the lavatory is not a viable option given the
    safety issues that inevitably arise in the performance of a flight attendant's duties. Taking
  · extended breaks during a flight necessarily would place the welfare of Frontier's passengers as
    well as Ms. Schwartzkopf's colleagues flying on the aircraft at risk. Indeed, airlines are for that
    very reason exempted from the provisions of the Fair Labor Standards Act requiring break time.
    See Thibodeaux v. Exec. Jet Jnt7, Inc., 328 F.3d 742, 754 (5th Cir. 2003) (confirming that "the
    FLSA exempts the company's flight attendants from its overtime requirements"); 29 U.S.C.A. §
    213(b)(3) (West).

            As one example of the safety issues at play, on an Airbus 319 airplane, in addition to the
   two pilots, there are three flight attendants and approximately 150 passengers in flight. If a
   flight attendant is relieved of the performance of her duties for an extended period-to express
   breastmilk or otherwise-the other two flight attendants must deviate from their regular course
   of duty, which, in the event of a security incident, would allow for the passengers to more
   significantly outnumber the remaining crewmembers. Indeed, a flight attendant's essential job
   duties include a number of safety-related functions that would be rendered impossible or
   impracticable if a flight attendant were permitted to express breast milk while onboard an
   aircraft, including "conduct[ing] emergency evacuation of cabin if necessary," "conduct[ing]
   preflight safety check of cabin emergency equipment," "ensur[ing] cabin safety and security




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  during all phases of flight, including boarding and deplaning," and "provid[ing] emergency
  medical assistance." See Exhibit A (Flight Attendant Job Description).

           Accordingly, Frontier flight attendants are not permitted to express breast milk during
  flight for the legitimate, non-discriminatory reason that doing so risks flight safety, something
  Frontier is not willing to compromise. Young, 135 S. Ct. at 1343-44 (finding that if an employee
  can articulate a prima facie case of pregnancy discrimination, which Frontier does not concede,
  an employer successfully meets its burden upon a showing of legitimate, non-discriminatory
  reasons for its decision to not grant the accommodation requested).

                 6.     Ms. Schwartzkopf's Claims that Frontier Did Not Offer Her Any
                        Accommodations Are False

         Lastly, Ms. Schwartzkopf suggests in her Charge that Frontier did not offer her any
  accommodations at all in connection with her expression of breast milk, which is contradicted
  by her own admission that she went on a reduced schedule while lactating.

         While Frontier is unwilling to compromise flight safety, it does provide flight attendants
  who are breastfeeding their newborn child with the opportunity to work a reduced schedule,
  which is a special accommodation that is not available to other flight attendants. Specifically,
  the CBA requires that "[a]t the completion of each Bid Period each Flight Attendant must
  accumulate a minimum of 60 credit hours." See Exhibit B (CBA) at Art. 5 § L(l). However,
  Frontier allows flight attendants who are lactating the accommodation of dropping below 60
  hours per month without having to restore those hours, and only having to meet a minimum of
  45 hours. This allows lactating women returning to work the opportunity to work fewer hours,
  be on the schedule for fewer days, and bid for flights in a manner that allows them to be at
  home with their child more often. During the relevant time period, each time a flight attendant
  has made a request to work a reduced schedule to accommodate breastfeeding, Frontier has
  granted the accommodation requested by the flight attendant. Indeed, by her own admission,
  Ms. Schwartzkopf requested and was granted this accommodation. Charge at ,i 27. This was
  the only accommodation she requested relating to her flight duties. Id. at ,i 26.

  III.   LEGAL ANALYSIS

           In her Charge, Ms. Schwartzkopf contends she was discriminated against based on her
  sex in violation of Title VII (as amended by the PDA), the ADA, the CADA, and the PWFA. Since
  she does not offer direct evidence of discrimination to support these claims, her allegations of
  discrimination must be analyzed under the McDonnell Douglas burden-shifting framework. A
  plaintiff alleging that the denial of an accommodation constituted disparate treatment under the
  PDA establishes a prima facie case by showing that: (1) she is a member of a protected class;
  (2) she sought an accommodation and the employer did not accommodate her; and, (3) the
  employer did accommodate others similar in their ability or inability to work. Young, 135 S. Ct.
  at 1354. If a plaintiff can make this showing, then the "employer may then seek to justify its
  refusal to accommodate the plaintiff by relying on legitimate, non-discriminatory reasons for
  denying her accommodation." Id. "If the employer offers an apparently legitimate, non-
  discriminatory reason for its actions," the burden then shifts back to the plaintiff to "show that
  that employer's proffered reasons are in fact pretextual." Id.




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            For the reasons set forth above, with respect to her timely claims of discrimination, Ms.
   Schwartzkopf cannot meet her prima facie case because she cannot demonstrate that she
   sought an accommodation that Frontier did not grant to her, but provided others similar in their
   ability to work or not work. Indeed, by her own admission, Frontier approved her one and only
   request for accommodation relating to her flight duties: it approved her request to work
   reduced hours during May and June, 2017. Charge at ,i 27. As to the other potential
   accommodations referenced by Ms. Schwartzkopf, she cannot show that Frontier provides such
   accommodations to any other flight attendant; in fact, it does not.

          Accordingly, Ms. Schwartzkopf's discrimination claim fails as a matter of law at the
  outset, as she cannot even establish her prima fade case. What's more, Ms. Schwartzkopf
  herself was never denied a request for accommodation. As to the potential accommodations
  Ms. Schwartzkopf alleges Frontier denies to other flight attendants, Frontier's decision to adhere
  to the provisions of the CBA and to treat all flight attendants similar in their ability or inability to
  work the same is evidence that its business decisions are legitimate and non-discriminatory.

          In summary, Ms. Schwartzkopf's allegations are without legal merit.

   IV.    CONCLUSION

          For the reasons detailed above, Ms. Schwartzkopf has not been subject to any form of
  discrimination. Rather, Frontier has treated her fairly and lawfully at all times. Accordingly, the
  company respectfully requests that Ms. Schwartzkopf's Charge be dismissed with a finding of
  "no probable cause." Please do not hesitate to contact me if you require any further
  information.

   Sincerely,

   s/Erin A. Webber
   Erin A. Webber

   EAW/dpg

   Enclosures




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   December 8, 2017                                                          ewebber@littler.com

   VIA ELECTRONIC SUBMISSION

   Justin Moore
   Federal Investigator
   U.S. Equal Employment Opportunity Commission
   Denver Field Office
   303 East 17th Avenue
   Suite 410
   Denver, CO 80203

   Re:     Respondent's Position Statement
           Melissa Hodgkins v. Frontier Airlines, Inc.
           EEOC Charge No. 541-2018-00056

   Dear Mr. Moore:

           I am writing on behalf of Respondent Frontier Airlines, Inc. ("Frontier'') in response to
   the Charge of Discrimination filed by Melissa Hodgkins on or about October 5, 2017. In her
   Charge, Ms. Hodgkins alleges to have suffered discrimination based on "sex, pregnancy,
   childbirth ...disability," "pregnancy-related disability," and a "condition related to my pregnancy
   and childbirth - specifically, lactation" in violation of Title VII of the Civil Rights Act of 1964
   ("Title VII''), as amended by the Pregnancy Discrimination Act (''PDA''), the Americans with
   Disabilities Act (''ADA''), the Colorado Antidiscrimination Act (''CADA"), and the Colorado
   Pregnant Workers Fairness Act (''PWFA''). 1 Ms. Hodgkins further alleges that Frontier violated
   the Colorado Workplace Accommodations for Nursing Mothers Act ("WANMA'') by not providing
   adequate break time and/or space for expressing breast milk.

          At the outset, as Ms. Hodgkins acknowledges in her Charge, see Charge at 11 36 n.1, the
   Equal Employment Opportunity Commission (''EEOC'') does not have jurisdiction over WANMA
   claims. Accordingly, Frontier's response addresses only Ms. Hodgkins' discrimination-based
   claims under Title VII ( as amended by the PDA), the ADA, CADA, and the PWFA. 2 To the

   1
     On her EEOC Form 5, Ms. Hodgkins additionally checked the box for "Retaliation" where asked to
   identify the basis of her Charge (in addition to "Sex" and "Disability"). Ms. Hodgkins makes no mention
   of retaliation in the statement of harm attached to the Form 5, however, and does not address any claim
   of retaliation substantively. Frontier for that reason has not included a discussion of retaliation in this
   position statement.
   2
     Since CADA claims (inclusive of the PWFA, which amended CADA) are analyzed under the same
   framework as Title VII and ADA claims, please allow the analysis in this position statement to also serve
   as a legal analysis of CADA pregnancy and disability discrimination claims. St. Croix v. Univ. of Colo.




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   extent the EEOC believes it has jurisdiction to investigate the allegations referenced in the
   Charge regarding WANMA, Frontier respectfully requests the opportunity to supplement this
   position statement to address such allegations. 3

       I.   INTRODUCTION

           Frontier denies any allegation that it discriminated against Ms. Hodgkins in violation of
   Title VII, as amended by the PDA, the ADA, the CADA, the PWFA, or any other law. In fact, as
   detailed below, Frontier treated Ms. Hodgkins, all pregnant flight attendants, and those flight
   attendants wishing to express breast milk upon their return to work lawfully; in compliance with
   applicable law; in compliance with the collectively bargained agreement governing relevant
   terms and conditions of a Frontier flight attendant's employment; in accordance with its
   standard practices; and, most importantly, consistently with how it accommodates all flight
   attendants (both male and female) who are similar in their ability to work or not work.

            Ms. Hodgkins' Charge demands that Frontier treat pregnant flight attendants and those
   flight attendants seeking to express breast milk upon their return to work more favorably than
   all other flight attendants and as required by federal and state law. For example, Ms. Hodgkins
   seeks paid leave as one accommodation for flight attendants who are pregnant or lactating.
   Charge at 1 36(c). · But under the terms of the collective bargaining agreement Frontier entered
   into with the flight attendants' union- of which Ms. Hodgkins is a member-all medical leaves of
   absence are unpaid. Moreover, Title VII as amended by the PDA, the Family and Medical Leave
   Act (FMLA), and the ADA do not require a leave of absence to be paid, nor does any Colorado
   state law. Thus, were Frontier to pay flight attendants for medical leave related to their
   pregnancy (beyond use of accrued paid leave), Frontier would be treating them more favorably
   than all other flight attendants operating under the collective bargaining agreement on leaves
   of absence.

           Likewise, Ms. Hodgkins contends that Frontier's dependability policy is discriminatory
   against pregnant flight attendants and flight attendants who take medical leave after giving
   birth. Id. at 1 36(d). However, the dependability policy is applied equally to all flight
   attendants, whether pregnant or not, and thus it is not discriminatory. Frontier's dependability
   policy fully complies with federal and Colorado state law in all respects. Again, if Ms. Hodgkins
   were to be excused from its requirements, then Frontier would be treat ing her more favorably
   than all other flight attendants who are similar in their ability to work or not work.


   Health Scis., Ctr., 166 P.3d 230, 236 (Colo. Ct. App. 2007) (citing Colo. Civil Rights Comm'n v. Big 0
   Tires, Inc., 940 P.2d 397, 399 (Colo. 1997) (stating Colorado courts " look to federal cases for guidance
   on applying" the CADA).
   3
     This position statement is based on Frontier's understanding of Ms. Hodgkins' allegations to the best of
   its knowledge and recollection as of the date of this document. Frontier expressly reserves the right to
   amend, supplement, or correct this position statement, if necessary. In addition, this position statement
   and t he accompanying exhibits, which contain confidential personnel, medical and business information,
   are subject to the exceptions to t he disclosure requirements of the Freedom of Information Act ("FOIA"),
   5 U.S.C. § 552(b)(7). All information provided herein, including this position statement, is provided solely
   in cooperation with the EEOC's fact-finding efforts. Frontier reserves all objections to the admissibility at
   any hearing, trial, or other proceeding of any of t he information or documents provided to the EEOC.




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          Ms. Hodgkins further contends that the fact that she was not offered a temporary
   reassignment to "light or modified duty" as an accommodation for her pregnancy or desire to
   express breast milk upon her return to work is evidence of discrimination - but without alleging
   in her Charge that she ever requested a temporary reassignment. 4 Charge ,i,i 36(b)-(c). In
   any event, this argument falls flat because Frontier does not provide temporary light duty
   assignments as an accommodation to any flight attendant for a medical condition. Moreover,
   despite Ms. Hodgkins' unfounded allegations, Frontier has no obligation under the CBA or any
   other law or policy to provide this accommodation to flight attendants (male or female) who
   cannot fly due to: (a) an on-the-job injury; (b) a non-work related injury; or (c) any other
   medical condition or disability. Put another way, Frontier treats Ms. Hodgkins the same as all
   other flight attendants who are similar in their ability to work or not work.

            Ms. Hodgkins also takes issue with the fact that Frontier has allegedly informed other
   flight attendants they could not express breast milk in the galley during flight. Charge at ,i 16.
   Ms. Hodgkins' focus on lactation is premature on its face and not ripe for review, as she is
   currently still pregnant. However, as to the merits of this allegation, it is beyond question that
   a flight attendant leaving her duties for a material period of time during flight-to express
   breast milk or for any other reason-creates a safety risk and compromises the welfare of
   passengers and crew members. For this reason, Frontier has not provided any flight attendant
   with the accommodation to stop working while on a flight for an extended period of time due to
   any medical condition or disability. Not only does Frontier have a legitimate, non-discriminatory
   reason for its safety decisions in this regard, but Ms. Hodgkins cannot demonstrate that Frontier
   provided this accommodation to other flight attendants similar in their ability or inability to work
   for an entire flight.

           In summary, Frontier believes that this position statement and the evidence submitted
   herewith demonstrate that it has acted lawfully at all times. Accordingly, it respectfully requests
   that the EEOC issue a no probable cause finding with respect to Ms. Hodgkins' Charge.

       II.   FACTUAL BACKGROUND

             A.   General Information Relating to Ms. Hodgkins' Employment

          In or about May 2007, Ms. Hodgkins began her employment with Frontier as a flight
   attendant, a position she continues to hold as of the date of this position statement. As a Flight
   Attendant, Ms. Hodgkins is "essential to maintaining the well-being, safety, security and comfort
   of [Frontier's] passengers onboard [its] aircraft," and she must "follow established FAA and
   Frontier guidelines in providing for the comfort and safety of passengers and respond to inflight

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     Notably, Ms. Hodgkins admits that she did not in fact, as of the date of her Charge, request any
   accommodations relating to her pregnancy or impending return to work, other than her request for
   fourteen weeks of extended leave beyond FMLA leave. Charge at ,i,i 25, 29. Instead, she bases her
   Charge on assumptions regarding what Frontier might or might not have granted in terms of
   accommodations. With respect to her Charge allegations, then, it is unlikely that she has standing to
   bring claims for failure to provide such accommodations. Nevertheless, in the interest of completeness,
   Frontier will address the merits of Ms. Hodgkins' claims in full.




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   emergencies and/or security concerns .... " Exhibit A (Flight Attendant Job Description). A
   flight attendant's job description's emphasis on safety is consistent with the fact that, while
   Frontier prides itself on being an ultra-low cost carrier, the company views its primary mission
   as ensuring the safety of its customers and employees. Thus, while serving more than 40 cities
   in the United States, Mexico, and the Caribbean on over 275 daily flights, Frontier never loses
   sight that its principal responsibility is to ensure that passengers and employees are safely
   delivered to their destination.

           Upon her acceptance of employment as a Flight Attendant, Ms. Hodgkins voluntarily
   joined the Association of Flight Attendants-CWA AFL-CIO ('AFA'1, the union that represents
   Frontier flight attendants and is responsible for promoting the interests of its members. See
   Charge at 1 7. Importantly, AFA and Frontier negotiated the Frontier Airlines Flight Attendant
   Contract (''CBA'1, which sets forth the terms of employment and working conditions for Frontier
   flight attendants. The CBA specifically addresses, among other things, seniority, scheduling,
   staffing adjustments, leaves of absence and medical standards. Exhibit B (Relevant Provisions
   of the CBA). Accordingly, its provisions are material to an assessment of Ms. Hodgkins'
   allegations.

            In her Charge, Ms. Hodgkins contends she was discriminated against in violation of Title
   VII (as amended by the PDA) and the ADA (and, by extension, the CADA and the PWFA) in
   connection with her pregnancy in 2017. Although not yet ripe for review, Ms. Hodgkins also
   complains of Frontier's practices as they relate to flight attendants who are lactating. As of the
   filing of her charge on October 5, 2017, Ms. Hodgkins was scheduled for a Cesarean Section on
   December 14, 2017, to be followed by medical leave through January 31, 2018, which would
   represent the remaining FMLA leave Ms. Hodgkins had available to her at the time. Id. at §
   12(F); Charge at 1 4.

          B.      Response to Ms. Hodgkins' Allegations with Respect to Her Pregnancy
                  and Post-Pregnancy

          In her Charge, with respect to pregnancy and post-pregnancy, Ms. Hodgkins takes issue
   with the fact that Frontier does not provide "workplace accommodations related to pregnancy
   and breastfeeding," including "paid leave, temporary job assignments, schedule modifications,
   medically necessary breaks, or private, sanitary, and accessible facilities to express breast milk."
   Charge at 1 36(c). She also takes issue with Frontier's dependability policy concerning
   attendance, and Frontier's policy requiring immediate notification of pregnancy.          Id. at 11
   36(d)-(e). These claims are unavailing under the law.

                  1.      Pregnancy and Lactation Are Not Disabilities Covered Under the
                          ADA

         Ms. Hodgkins' ADA (and disability-related-CADA) claims must fail because neither
   pregnancy nor lactation is a disability protected under the ADA or the CADA.

          It is well-established that pregnancy is not a disability under the ADA. Eg., Genovese v.
   Harford Health & Fitness Club, Inc., No. WMN-13-217, 2013 WL 2490270, at *5 (D. Md. June 7,
   2013) (collecting authorities and noting that "[w]ith near unanimity, federal courts have held
   that pregnancy [alone] is not a 'disability' under the ADA") (citations and internal quotations



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   omitted); Richards, 173 F.3d at 1250 (affirming that "pregnancy d[oes] not qualify as a
   disability under the ADA''); Sutton v. United Air Lines, Inc., 130 F.3d 893, 899 (10th Cir. 1997)
   (holding that "impairment [within the meaning of the ADA] does not include . .. pregnancy"
   where a pilot claimed disability discrimination on the basis of pregnancy).

           Lactation is likewise not a disability under the ADA. See Mayer v. Prof7 Ambulance, LLC,
   211 F. Supp. 3d 408, 420 (D.R.!. 2016) (in a case involving an employer's denial of lactation
   breaks, concluding that normal medical conditions related to "post-pregnancy do not qualify as
   a disability," and noting the lack of any " any cases post-2008 amendment [to the ADA] holding
   that normal lactation is a disability''); Martinez v. N.B.C Inc., 49 F. Supp. 2d 305, 308 (S.D.N.Y.
   1999) (pregnancy and related medical conditions are not "disabilities" for purposes of the
   Americans with Disabilities Act, and the employer did not need to accommodate the plaintiff's
   desire to use a breast pump in the workplace).

            Because pregnancy and post-pregnancy conditions such as lactation are not covered
   under the ADA, to the extent Ms. Hodgkins' Charge asserts a violation of the ADA, Charge at
   ,i,i 36, 39, her claims are without merit.

                  2.      All Medical Leaves of Absence Provided to Flight Attendants Are
                          Unpaid

           The terms and conditions of the leaves of absence policies about which Ms. Hodgkins
   complains are set forth in the CBA. They were collectively bargained for by AFA and on behalf
   of Ms. Hodgkins, who voluntarily agreed to be a part of the union. Though the Charge
   consistently refers to the leaves of absence policies (and other policies) to which Ms. Hodgkins
   is subject to as "Frontier's policies," e.g., Charge ,i,i 1, 34, 36, 38, 39 (referring to a number of
   policies covered under the CBA as " Frontier's policies''), this fails to inform the EEOC that Ms.
   Hodgkins' interests were represented by AFA and accounted for in the determination of the
   scope of these policies. Moreover, "[i]t is well-established that Title VII does not require an
   employer to violate the terms of a collective bargaining agreement," so to the extent Ms.
   Hodgkins asks Frontier to act in ways contrary to the CBA, these requests must fail. EEOC v.
   Firestone Rbers & Textiles Co., 515 F.3d 307, 317 (4th Cir. 2008); see Trans World Airlines,
   Inc. v. Hardison, 432 U.S. 63, 79 (1977) (holding that "the duty to accommodate [does not]
   require[] [an employer] to take steps inconsistent with [an] otherwise valid [collective
   bargaining] agreement'').

          That aside, Ms. Hodgkins cites "paid leave" as one of the accommodations Frontier
   allegedly could provide pregnant and lactating flight attendants. Charge ,i 36(c). But the CBA
   does not provide for a paid leave of absence for flight attendants unable to fly due to any type
   of medical condition. Under the CBA, Frontier provides flight attendants with the following
   types of medical leave:




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                  (a)     Family Medical Leave: governed "under the Family Medical Leave Act,"
                          which does not provide for paid leave, id. at 12(E)(l);

                  (b)     Maternity Leave: "Sick leave must be used, and vacation days may be
                          used, during the maternity leave; otherwise, the leave is without pay," id.
                          at 12(F)(3) (emphasis added); and,

                  (c)     Medical Leave: "A Flight Attendant may request an unpaid leave of
                          absence for his/ her own illness or injury when he/ she cannot return to
                          work after exhausting FMLA leave or if he/she is not eligible for FMLA,"
                          id. at 12(G)(6) (emphasis added).

          Nowhere in the CBA does it provide that a flight attendant shall be paid in connection
   with any of the foregoing leaves of absence, other than to the extent the flight attendant
   wishes to be paid from accrued sick leave or vacation time. As for Ms. Hodgkins, her leave is
   being handled exactly as provided by the CBA. Having bargained for this benefit in the CBA,
   Ms. Hodgkins cannot now complain that the very same policies discriminate against her. See
   Hardison, 432 U.S. at 79.

           Accordingly, the fact that Frontier does not pay flight attendants on a leave in
   connection with their pregnancy or birth of a child cannot be deemed discriminatory where, as
   here, the company does not pay any flight attendant (male or female) on a leave of absence for
   non-pregnancy-related medical conditions. See Young v. UPS, 135 S. Ct. 1338, 1343-44
   (2015).

                  3.      The Dependability Policy Is Not Discriminatory

           Ms. Hodgkins further alleges that Frontier's dependability policy itself is discriminatory.
   Charge at 1 36(d); See Exhibit C (Employee Handbook) at Art. 12. This claim is unfounded for
   multiple reasons.

           First, as discussed above, neither pregnancy nor the need to express milk for lactation
   purposes is considered a " disability" under the ADA. Thus, to the extent that Ms. Hodgkins
   claims that Frontier's application of its dependability policy was a violation of the ADA, her claim
   must fail. Charge at 1 36(d).

           Second, the dependability policy is applied equally to all similarly situated employees,
   and Ms. Hodgkins does not claim otherwise. Thus, the dependability policy is not discriminatory
   against pregnant women under Title VII (as amended by the PDA). See Manning v. Swedish
   Med. Ctr., No. ClS-0949 (JLR) 2016 WL 6216364, at * 8 (W.D. Wash. Sept. 30, 2016) (denying
   Title VII discrimination claim where "[ t]here is no evidence . . . to support that [employer]
   treated [claimant] differently from other employees" under the "Dependability Policy"); Stout v.
   Baxter Healthcare Corp., 282 F.3d 856, 860 (5th Cir. 2002) (absentee policy that is applied
   equally to "pregnant or post-partum employees" and "non-pregnant employees" is perm itted).

          Third, to the extent that Ms. Hodgkins argues that the dependability policy is
   discriminatory because pregnancy-related leaves of absence "freeze the twelve-month clock for
   purposes of permitting points to 'roll off,"' Charge at 1 12, the policy is entirely non-




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  discriminatory in that it expressly includes ID! leaves of absence, including "Military, Medical,
  Personal, Workers' Comp, FMLA, STD, etc." See Exhibit C (Employee Handbook), at Art.
  12.05.1.3. Thus, the policy in no way discriminates against pregnant or post-pregnant women;
  it applies equally to all employees regardless of the type of leave taken.

                  4.     Frontier Does Not Provide Temporary Light Duty Assignments as
                         an Accommodation to Flight Attendants, Regardless of the Basis
                         for the Accommodation Request

          In her Charge, Ms. Hodgkins takes issue with the fact that Frontier does not assign flight
   attendants to a temporary light duty position to accommodate their stated need to express
   breast milk. Charge 11 15, 34, 36(b)-(c), 38(d). Ms. Hodgkins' claim here also fails.

           As an initial matter, the CBA does not require, and Frontier's policies and practices do
   not provide for, temporary light duty assignments (either at Frontier's corporate office or at any
   airport) for any flight attendant (male or female) unable to fly due to: (a) an on-the-job injury;
   (b) a non-work related injury; or (c) any other medical condition or disability. Ms. Hodgkins is
   simply wrong when she claims that Frontier provides "'light/modified duty' to individuals who
   are injured on the job . ..."     Charge at 11 13 (citing CBA Art. 12(H)(2)). Rather, Article 12,
   Section H(2) of the CBA only provides that "[t]he first three days of OJI may be covered by sick
   days, or the Flight Attendant may immediately be assigned light/modified duty," id. (emphasis
   added)-not that Frontier is required to provide these accommodations. By its own terms, the
   CBA does not require reassignment to light duty, and, in fact, Frontier's policy is not to grant
   light/modified duty to any flight attendant unable to fly due to a medical condition, regardless
   of the nature of the medical condition.

           Ms. Hodgkins appears to demand that the EEOC treat pregnant flight attendants and
   flight attendants seeking to express breast milk more favorably than other flight attendants
   similar in their ability or inability to work. There is no support for that demand in the relevant
   law, including the EEOC's guidance interpreting the same. See Adams v. Potter, 193 F. App'x
   440, 445 (6th Cir. 2006) ("accommodations are not reasonable if they would usurp the
   legitimate rights of other employees in a collective bargaining agreement") ( citation and internal
   quotation omitted).

          According to the EEOC's Enforcement Guidance on Pregnancy Discrimination and
   Related Issues, in enacting the PDA:

                  Congress sought to make clear that 'pregnant women who are
                  able to work must be permitted to work on the same conditions as
                  other employees; and, when they are not able to work for medical
                  reasons, they must be accorded the same rights, leave privileges
                  and other benefits, as other workers who are disabled from
                  working.' The PDA requires [only] that pregnant employees be
                  treated the same as non-pregnant employees who are similar in
                  their ability or inability to work.

   Enforcement Guidance: Pregnancy Discrimination and Related Issues, 2015 WL 4162723, at *2
   (EEOC Notice No. 915.003) (June 25, 2015) (emphasis added).



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          Further, in Young, the United States Supreme Court held that to succeed on a claim that
   the denial of an accommodation constitutes disparate treatment under the PDA, the plaintiff
   must show, among other things, "that she sought [an] accommodation, that the employer did
   not accommodate her, and that the employer did accommodate others 'similar in their ability or
   inability to work."' 135 S. Ct. at 1354. Here, as discussed, Ms. Hodgkins cannot establish that
   she was denied an accommodation at all. However even if she had been denied a temporary
   light duty assignment, she cannot show such an accommodation has been provided to other
   flight attendants. Accordingly, she cannot set forth a prima facie case of discrimination. See
   Wade v. Brennan, 647 F. App'x 412, 417 (5th Cir. 2016) (denying Title VII claim where
   complainant "failed to show [temporary reassignment position] was an existing posit ion, so
   reassignment there would necessarily require [ employer] to create a new position for her,
   which is not a reasonable accommodation'').

                  5.     Expression of Breast Milk During Flight Is a Safety Hazard

           As an experienced flight attendant, Ms. Hodgkins must know that expressing breast milk
   during flight in the aircraft galley or the lavatory is not a viable option given the safety issues
   that inevitably arise in the performance of a flight attendant's duties. Taking extended breaks
   during a flight necessarily would place the welfare of Frontier's passengers as well as Ms.
   Hodgkins' colleagues flying on the aircraft at risk. Indeed, airlines are for that very reason
   exempted from the provisions of the Fair Labor Standards Act requiring break time. See
   Thibodeaux v. Exec. Jet Int7, Inc., 328 F.3d 742, 754 (5th Cir. 2003) (confirming that "the FLSA
   exempts the company's flight attendants from its overtime requirements''); 29 U.S.C.A. §
   213(b )(3) (West).

            As one example of the safety issues at play, on an Airbus 319 airplane, in addition to the
   two pilots, there are three flight attendants and approximately 150 passengers in flight. If a
   flight attendant is relieved of the performance of her duties for an extended period- to express
   breastmilk or otherwise-the other two flight attendants must deviate from their regular course
   of duty, which, in the event of a security incident, would allow for the passengers to more
   significantly outnumber the remaining crewmembers. Indeed, a flight attendant's essential job
   duties include a number of safety-related functions that would be rendered impossible or
   impracticable if a flight attendant were permitted to express breast milk while onboard an
   aircraft, including "conduct[ing] emergency evacuation of cabin if necessary," "conduct[ing]
   preflight safety check of cabin emergency equipment," "ensur[ing] cabin safety and security
   during all phases of flight, including boarding and deplaning," and "provid[ing] emergency
   medical assistance. " See Exhibit A (Flight Attendant Job Description).

            Accordingly, Frontier flight attendants are not permitted to express breast milk during
   flight for the legitimate, non-discriminatory reason that doing so risks flight safety, something
   Frontier is not willing to compromise. Young, 135 S. Ct. at 1343-44 (finding that if an employee
   can articulate a pr/ma facie case of pregnancy discrimination, which Frontier does not concede,
   an employer successfully meets its burden upon a showing of legitimate, non-discriminatory
   reasons for its decision to not grant the accommodation requested).




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  III.    LEGAL ANALYSIS

          In her Charge, Ms. Hodgkins contends she was discriminated against based on her sex
   in violation of Title VII (as amended by the PDA), the ADA, the CADA, and the PWFA. Since she
   does not offer direct evidence of discrimination to support these claims, her allegations of
   discrimination must be analyzed under the McDonnell Douglas burden-shifting framework. A
   plaintiff alleging that the denial of an accommodation constituted disparate t reatment under the
   PDA establishes a prima facie case by showing that: ( 1) she is a member of a protected class;
   (2) she sought an accommodation and the employer did not accommodate her; and, (3) the
   employer did accommodate others similar in their ability or inability to work. Young, 135 S. Ct.
   at 1354. If a plaintiff can make this showing, then the "employer may then seek to justify its
   refusal to accommodate the plaintiff by relying on legitimate, non-discriminatory reasons for
   denying her accommodation." Id. "If the employer offers an apparently legitimate, non-
   discriminatory reason for its actions," the burden then shifts back to the plaintiff to "show that
   that employer's proffered reasons are in fact pretextual." Id.

           For the reasons set forth above, with respect to her claims of discrimination, Ms.
   Hodgkins cannot meet her prima facie case because she cannot demonstrate that she sought
   an accommodation that Frontier did not grant to her, but provided others similar in their ability
   to work or not work. With respect to leave, Ms. Hodgkins acknowledges that Frontier granted
   her 10 weeks of her remaining FMLA leave, through January 31, 2018. Charge at 1 29. She
   asserts, however, that Frontier somehow implicitly denied her medical provider's request for
   additional leave. Id. Not so. Ms. Hodgkins may apply for additional Medical Leave under the
   terms of the CBA, and will be granted such leave in accordance with the CBA with the proper
   medical certification that she has a pregnancy-related need for the leave.

          Accordingly, Ms. Hodgkins' discrimination claim fails as a matter of law at the outset, as
   she cannot even establish her prima facie case. What's more, Frontier's decision to adhere to
   the provisions of the CBA and to treat all flight attendants in their ability or inability to work the
   same is evidence that its business decisions were legitimate and non-discriminatory.

          In summary, Ms. Hodgkins' allegations are without legal merit.

   IV.    CONCLUSION

           For the reasons detailed above, Ms. Hodgkins has not been subj ect to any form of
   discrimination. Rather, Frontier has treated her fairly and lawfully at all times. Accordingly, the
   company respectfully requests that Ms. Hodgkins' Charge be dismissed with a finding of "no
   probable cause." Please do not hesitate to contact me if you require any further information.

   Sincerely,

   s/Erin A. Webber
   Erin A. Webber

   EAW/ dpg

   Enclosures




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  VIA ELECTRONIC SUBMISSION

  Justin Moore
  Federal Investigator
  U.S. Equal Employment Opportunity Commission
  Denver Field Office
  303 East 17th Avenue
  Suite 410
  Denver, CO 80203

  Re:        Respondent’s Position Statement
             Heather Crowe v. Frontier Airlines, Inc.
             EEOC Charge No. 541-2018-02436


  Dear Mr. Moore:

         Please accept the following letter and the attachments hereto as the Position Statement
  of Respondent Frontier Airlines, Inc. (“Frontier” or the “Company”) in response to the above-
  referenced Charge of Discrimination (“Charge”) filed by Heather Crowe on or about June 15,
  2018.1 We are providing this information to the Equal Employment Opportunity Commission


  1
    This Position Statement is based on Frontier’s understanding of Ms. Crowe’s allegations to the best of its
  knowledge and recollection as of the date of this document. The information and supporting
  documentation contained herein are based upon Frontier’s understanding of the facts and the information
  reviewed thus far. Frontier expressly reserves the right to amend, supplement, or correct this position
  statement, if necessary. Although there has not been an opportunity for formal discovery or a complete
  formal investigation, this response is submitted for the purpose of aiding the Commission in its
  investigation, and facilitating the informal resolution of these matters. This response, while believed to
  be accurate, does not constitute an affidavit or a binding statement of Frontier’s legal position, nor is it
  intended to be used as evidence of any kind in any administrative or court proceeding in connection with
  the allegations. Frontier reserves all objections to the admissibility at any hearing, trial, or other
  proceeding of any of the information or documents provided to the EEOC. All information provided
  herein, including this Position Statement, is provided solely in cooperation with the EEOC’s fact-finding
  efforts. Since additional facts likely would be uncovered through discovery or following a full
  investigation, Frontier in no way waives its right to present new or additional information at a later date,
  for substance or clarification. Moreover, by responding to this Charge, Frontier does not waive, and
  hereby preserves, any and all substantive and procedural defenses that may exist to the Charge and
  Ms. Crowe’s allegations. In addition, this position statement and the accompanying exhibits, which
  contain confidential personnel, medical and business information, are subject to the exceptions to the


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              FOR SETTLEMENT PURPOSES ONLY PURSUANT TO CRE 408 / FRE 408

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  (“EEOC” or the “Commission”) in accordance with F.R.E. 408 and C.R.E. 408 to assist the
  Commission in effecting a dismissal of the Charge, and it should not be considered for any other
  purpose. Also, Frontier provides this response based on the information currently available to
  it, and reserves the right to revise, withdraw, or add to this response in the future.

          In her Charge, Ms. Crowe alleges to have suffered discrimination based on “pregnancy,”
  “pregnancy-related disabilities,” her “sex,” and “a condition related to [her] pregnancy and
  childbirth – specifically, lactation” in violation of Title VII of the Civil Rights Act of 1964
  (“Title VII”), the Americans with Disabilities Act (“ADA”),2 the Colorado Antidiscrimination Act
  (“CADA”), and the Colorado Pregnant Workers Fairness Act (“PWFA”).3 Ms. Crowe further
  alleges that Frontier violated the Colorado Workplace Accommodations for Nursing Mothers Act
  (“WANMA”) by not providing adequate break time and/or space for expressing breast milk.

          At the outset, Ms. Crowe acknowledges in her Charge that the EEOC does not have
  jurisdiction over WANMA claims. See Charge at n.1. Accordingly, Frontier’s response addresses
  only Ms. Crowe’s discrimination-based claims under Title VII (as amended by the PDA), the
  ADA, CADA, and the PWFA.4 To the extent the EEOC believes it has jurisdiction to investigate
  the allegations referenced in the Charge regarding WANMA, Frontier respectfully requests the
  opportunity to supplement this position statement to address such allegations.

      I.   INTRODUCTION

          Frontier denies any allegation that it discriminated against Ms. Crowe in violation of
  Title VII, as amended by the PDA, the ADA, the CADA, the PWFA, or any other law. In fact, as
  detailed below, Frontier treated Ms. Crowe, all pregnant flight attendants, and those flight

  disclosure requirements of the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552(b)(7). Frontier also
  requests that any efforts to contact its current managers be directed through its counsel.
  2
    While Ms. Crowe references the ADA, and discusses “pregnancy-related disabilities” in the statement of
  harm attached to her EEOC Form 5, Ms. Crowe did not allege that she suffered disability discrimination
  on her EEOC Form 5. Nonetheless, as demonstrated in this Position Statement, any claim for disability
  discrimination would necessarily fail.
  3
    On her EEOC Form 5, Ms. Crowe additionally checked the box for “Retaliation” where asked to identify
  the basis of her Charge (in addition to “Sex”). Ms. Crowe makes no mention of retaliation in the
  statement of harm attached to the Form 5, however, and does not address any claim of retaliation
  substantively. Frontier for that reason has not included a discussion of retaliation in this Position
  Statement.
  4
    Since CADA claims (inclusive of the PWFA, which amended CADA) are analyzed under the same
  framework as Title VII and ADA claims, please allow the analysis in this position statement to also serve
  as a legal analysis of CADA pregnancy and disability discrimination claims. St. Croix v. Univ. of Colo.
  Health Scis., Ctr., 166 P.3d 230, 236 (Colo. Ct. App. 2007) (citing Colo. Civil Rights Comm’n v. Big O
  Tires, Inc., 940 P.2d 397, 399 (Colo. 1997) (stating Colorado courts “look to federal cases for guidance
  on applying” the CADA).




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  attendants wishing to express breast milk upon their return to work lawfully; in compliance with
  the collectively bargained agreement governing relevant terms and conditions of a Frontier
  flight attendant’s employment; in accordance with its standard practices; and, most importantly,
  consistent with how it accommodates all flight attendants (both male and female) who are
  similar in their ability to work or not work.

          Ms. Crowe’s Charge demands that Frontier treat her, pregnant flight attendants, and
  those flight attendants seeking to express breast milk upon their return to work more favorably
  than all other flight attendants and as required by federal and state law. For example,
  Ms. Crowe takes issue with the fact that her leave of absence in connection with her pregnancy
  and the birth of her child was unpaid. But under the terms of the collective bargaining
  agreement Frontier entered into with the flight attendants’ union—of which Ms. Crowe is a
  member—all medical leaves of absence are unpaid. Moreover, it is indisputable that Title VII
  (as amended by the PDA), the FMLA, and the ADA do not require a leave of absence to be paid,
  nor does any Colorado state law. Thus, were Ms. Crowe paid for her medical leave related to
  her pregnancy, Frontier would be treating her more favorably than all other flight attendants
  operating under the collective bargaining agreement on leaves of absence.

          Likewise, Ms. Crowe contends that Frontier’s dependability policy is discriminatory
  against pregnant flight attendants and flight attendants who take medical leave after giving
  birth. However, the dependability policy is applied equally to all flight attendants, whether
  pregnant or not, and thus it is not discriminatory. Frontier’s dependability policy fully complies
  with federal and Colorado state law in all respects. Again, if Ms. Crowe were to be excused
  from its requirements, then Frontier would be treating her more favorably than all other flight
  attendants who are similar in their ability to work or not work.

          Ms. Crowe further contends that the fact she was not offered a temporary reassignment
  to “light or modified duty” as an accommodation for her pregnancy or desire to express breast
  milk upon her return to work is evidence of discrimination – but without alleging in her Charge
  that she ever requested a temporary reassignment.5 See Charge at ¶ 40. Ms. Crowe states
  that she would like to have the option to seek a temporarily ground position. See id. at ¶ 43.
  This argument falls flat because Frontier does not provide temporary light duty assignments at
  the airport as an accommodation to any flight attendant for a medical condition. Moreover,
  Frontier has no obligation under the CBA or any other law or policy to provide this
  accommodation to flight attendants (male or female) who cannot fly due to: (a) an on-the-job

  5
    Notably, Ms. Crowe admits that she did not in fact, as of the date of her Charge, request any
  accommodations relating to her pregnancy or impending return to work, other than her request for
  extended leave beyond FMLA leave, which was approved. Instead, she bases her Charge on assumptions
  regarding what Frontier might or might not have granted in terms of accommodations. With respect to
  her Charge allegations, then, it is unlikely that she has standing to bring claims for failure to provide such
  accommodations. Nevertheless, in the interest of completeness, Frontier will address the merits of
  Ms. Crowe’s claims in full.




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  injury; (b) a non-work related injury; or (c) any other medical condition or disability. Put
  another way, Frontier treats Ms. Crowe the same as all other flight attendants who are similar
  in their ability to work or not work.

           Ms. Crowe also takes issue with the fact that Frontier has allegedly informed other flight
  attendants they could not express breast milk in the lavatory during flight. Charge at ¶ 10.
  Expressing breast milk in the airplane lavatory during flight is not an approved accommodation.6
  Frontier does not permit flight attendants to express breast milk during flight. It is beyond
  question that a flight attendant leaving her duties for a material period of time during flight—to
  breastfeed or for any other reason—creates a safety risk and compromises the welfare of
  passengers and crew members. For this reason, Frontier has not provided any flight attendant
  with the accommodation to stop working while on a flight for an extended period of time due to
  any medical condition or disability. Not only does Frontier have a legitimate, non-discriminatory
  reason for its decision to deny Ms. Crowe the opportunity to compromise flight safety, but she
  cannot demonstrate that Frontier provided this accommodation to other flight attendants similar
  in their ability or inability to work for an entire flight.

          In summary, Frontier believes that this Position Statement and the evidence submitted
  herewith demonstrate that it has acted lawfully at all times. Accordingly, it respectfully requests
  that the EEOC issue a no probable cause finding with respect to Ms. Crowe’s Charge.

      II.   FACTUAL BACKGROUND

            A.     General Information Relating to Ms. Crowe’s Employment

          In or about June, 2002, Ms. Crowe began her employment with Frontier as a flight
  attendant, a position she continues to hold as of the date of this Position Statement. As a Flight
  Attendant, Ms. Crowe is “essential to maintaining the well-being, safety, security and comfort of
  [Frontier’s] passengers onboard [its] aircraft,” and she must “follow established FAA and
  Frontier guidelines in providing for the comfort and safety of passengers and respond to inflight

  6
    Ms. Crowe claims that “Frontier never informed [her] of any policy regarding pumping in flight” and that
  Frontier “never provided [her] a list of approved locations to express milk or offered [her] any other
  accommodations.” Charge at ¶ 19. However, it is not the employer’s responsibility to anticipate an
  employee’s needs and affirmatively offer an accommodation when the employee has not requested one.
  See, e.g. Koessel v. Sublette Cty. Sheriff's Dep't, 717 F.3d 736, 745 (10th Cir. 2013). Not taking
  extended breaks and being available during flight is an essential function of a flight attendant’s job.
  Flight attendants hold safety sensitive positions. The law does not permit flight attendants to unilaterally
  alter an essential function of their jobs without obtaining approval from Frontier. Barber ex rel. Barber v.
  Colorado, Dep't of Revenue, No. CIV.A. 05-CV-00807RE, 2008 WL 207691, at *1 (D. Colo. Jan. 24, 2008)
  (“[P]laintiffs’ argument is that they were not afforded the particular accommodation they requested. This
  is not the law. Defendants’ duty is to offer a reasonable accommodation, not plaintiffs’ preferred
  accommodation.”), aff’d, 562 F.3d 1222 (10th Cir. 2009); see Adair v. City of Muskogee, 823 F.3d 1297,
  1311 (10th Cir. 2016).




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  emergencies and/or security concerns . . . .” Exhibit A (Flight Attendant Job Description). A
  flight attendant’s job description’s emphasis on safety is consistent with the fact that, while
  Frontier prides itself on being an ultra-low cost carrier, the Company views its primary mission
  as ensuring the safety of its customers and employees. Thus, while serving nearly 100 cities in
  the United States, Mexico, Canada, and the Dominican Republic on over 300 daily flights,
  Frontier never loses sight that its principal responsibility is to ensure that passengers and
  employees are safely delivered to their destination.

          Upon her acceptance of employment as a Flight Attendant, Ms. Crowe voluntarily joined
  the Association of Flight Attendants-CWA AFL-CIO (“AFA”), the union that represents Frontier
  flight attendants and is responsible for promoting the interests of its members. Importantly,
  AFA and Frontier negotiated the Frontier Airlines Flight Attendant Contract (“CBA”), which sets
  forth the terms of employment and working conditions for Frontier flight attendants. The CBA
  specifically addresses, among other things, seniority, scheduling, staffing adjustments, leaves of
  absence and medical standards. Exhibit B (Relevant Provisions of the CBA). Accordingly, its
  provisions are material to an assessment of Ms. Crowe’s allegations.

          In her Charge, Ms. Crowe contends she was discriminated against in violation of
  Title VII (as amended by the PDA) and the ADA (and, by extension, the CADA and the PWFA) in
  connection with her first pregnancy in 2013 and her return to work following the birth of her
  child, her second pregnancy in 2015-16 and her return to work following the birth of her child,
  and her third pregnancy in 2017-18. Critically, after Ms. Crowe had first her child in 2013, in
  accordance with the terms of the CBA, she took 90 days of FMLA leave. Charge at ¶¶ 17-18.
  For her second pregnancy, Ms. Crowe utilized 10-15 days of FMLA leave during her pregnancy.
  Id. at ¶ 29. For the birth of her second child, who was born on May 6, 2016, Ms. Crowe took
  FMLA leave from April 11, 2016 to June 16, 2016 and Non-FMLA leave until August 31, 2016.
  Id. at ¶¶ 31, 32, 35. For the birth of her third child, Ms. Crowe is currently on FMLA leave. Id.
  at ¶ 42. As of the date of this Position Statement, Ms. Crowe remains employed by Frontier, on
  an approved leave.

         B.      Ms. Crowe’s Allegations with Respect to Her First and Second
                 Pregnancies and Subsequent Returns to Work Are Time-Barred

          In order to maintain a claim under Title VII (as amended by the PDA), the CADA, and/or
  the PWFA, a plaintiff must file a charge of discrimination with the EEOC (or Colorado Civil Rights
  Division, as applicable) within 300 days of the alleged unlawful employment practice. See
  42 U.S.C. § 2000e-5(e)(1) (Title VII, requiring charge be filed “within three hundred days after
  the alleged unlawful employment practice occurred”); 42 U.S.C. § 12117(a) (ADA, adopting
  “powers, remedies, and procedures” of § 2000e-5); see Davidson v. America Online, Inc.,
  337 F.3d 1179, 1183 (10th Cir. 2003) (“Title VII [and] the ADA require[] an individual to file a




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  timely administrative claim within 300 days”).7 Ms. Crowe filed her Charge on June 15, 2018,
  rendering any claim based on events transpiring on or before August 19, 2017 (300 days prior)
  untimely as a matter of law. Accordingly, Ms. Crowe’s allegations regarding any purported
  discrimination during her first or second pregnancy and related returns to work are time-
  barred.8 The only timely allegations are those related to events that allegedly occurred after
  August 19, 2017 – i.e., Ms. Crowe’s third pregnancy and related leave of absence.

          C.      Response to Ms. Crowe’s Allegations with Respect to Her Pregnancy
                  and Post-Pregnancy

         In her Charge, with respect to her third pregnancy and post-pregnancy, Ms. Crowe takes
  issue with the fact that Frontier does not provide “workplace accommodations related to
  pregnancy and breastfeeding,” including “paid leave, temporary job assignments, schedule
  modifications, medically necessary breaks, or private, sanitary, and accessible facilities to
  express breast milk.” Charge at ¶ 46(c). She also takes issue with Frontier’s dependability
  policy concerning attendance, and Frontier’s policy requiring immediate notification of
  pregnancy. Id. at ¶¶ 36(d)-(e). These claims are unavailing under the law.

                  1.      Pregnancy and Lactation Are Not Disabilities Covered Under the
                          ADA

          Any ADA (and disability-related-CADA) claims brought by Ms. Crowe will fail because
  neither pregnancy nor lactation is a disability protected under the ADA or the CADA.

         It is well-established that pregnancy is not a disability under the ADA. E.g., Genovese v.
  Harford Health & Fitness Club, Inc., No. WMN-13-217, 2013 WL 2490270, at *5 (D. Md. June 7,
  2013) (collecting authorities and noting that “[w]ith near unanimity, federal courts have held
  that pregnancy [alone] is not a ‘disability’ under the ADA”) (citations and internal quotations
  omitted); Richards, 173 F.3d at 1250 (affirming that “pregnancy d[oes] not qualify as a
  disability under the ADA”); Sutton v. United Air Lines, Inc., 130 F.3d 893, 899 (10th Cir. 1997)
  (holding that “impairment [within the meaning of the ADA] does not include . . . pregnancy”
  where a pilot claimed disability discrimination on the basis of pregnancy).


  7
    The time limits for filing charges under the CADA and the PWFA, which require charges be filed within
  six months, are even shorter. See Colo. Rev. Stat. Ann. § 24-34-403 (West) (“Any charge alleging a
  violation of this part . . . shall be filed with the commission . . . within six months after the alleged
  discriminatory or unfair employment practice occurred, and if not so filed, it shall be barred.”) (emphasis
  added). In any event, the PWFA did not become effective until August 10, 2016, rendering any conduct
  before that inactionable with respect to the PWFA. See Colo. Rev. Stat. Ann. § 24-34-402.3 (West).
  8
    Likewise, Ms. Crowe’s allegations regarding any discrimination under the CADA and the PWFA that
  occurred before December 15, 2017, six months before she filed her charge, are time-barred. See Colo.
  Rev. Stat. Ann. § 24-34-403 (West).




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          Lactation is likewise not a disability under the ADA. See Mayer v. Prof’l Ambulance, LLC,
  211 F. Supp. 3d 408, 420 (D.R.I. 2016) (in a case involving an employer’s denial of lactation
  breaks, concluding that normal medical conditions related to “post-pregnancy do not qualify as
  a disability,” and noting the lack of any “any cases post-2008 amendment [to the ADA] holding
  that normal lactation is a disability”); Martinez v. N.B.C. Inc., 49 F. Supp. 2d 305, 308 (S.D.N.Y.
  1999) (pregnancy and related medical conditions are not “disabilities” for purposes of the
  Americans with Disabilities Act, and the employer did not need to accommodate the plaintiff’s
  desire to use a breast pump in the workplace).

         Because pregnancy and post-pregnancy conditions such as lactation are not covered
  under the ADA, to the extent Ms. Crowe’s Charge asserts a violation of the ADA, her claims are
  without merit.

                 2.      All Medical Leaves of Absence Provided to Flight Attendants Are
                         Unpaid

          The terms and conditions of the leaves of absence policies about which Ms. Crowe
  complains are set forth in the CBA. They were collectively bargained for by AFA and on behalf
  of Ms. Crowe, who voluntarily agreed to be a part of the union. Though the Charge
  consistently refers to the leaves of absence policies (and other policies) to which Ms. Crowe is
  subject to as “Frontier’s policies,” e.g., Charge ¶¶ 5, 7, 46, 48 (referring to a number of policies
  covered under the CBA as “Frontier’s policies”), this fails to inform the EEOC that Ms. Crowe’s
  interests were represented by AFA and accounted for in the determination of the scope of these
  policies. Moreover, “[i]t is well-established that Title VII does not require an employer to
  violate the terms of a collective bargaining agreement,” so to the extent Ms. Crowe asks
  Frontier to act in ways contrary to the CBA, these requests must fail. EEOC v. Firestone Fibers
  & Textiles Co., 515 F.3d 307, 317 (4th Cir. 2008); see Trans World Airlines, Inc. v. Hardison,
  432 U.S. 63, 79 (1977) (holding that “the duty to accommodate [does not] require[] [an
  employer] to take steps inconsistent with [an] otherwise valid [collective bargaining]
  agreement”).

          That aside, Ms. Crowe cites “paid leave” as one of the accommodations Frontier
  allegedly could provide pregnant and lactating flight attendants. Charge ¶ 46(c). But the CBA
  does not provide for a paid leave of absence for flight attendants unable to fly due to any type
  of medical condition. Under the CBA, Frontier provides flight attendants with the following
  types of medical leave:




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                    (a)     Family Medical Leave: governed “under the Family Medical Leave Act,”
                            which does not provide for paid leave, id. at 12(E)(1);

                    (b)     Maternity Leave: “Sick leave must be used, and vacation days may be
                            used, during the maternity leave; otherwise, the leave is without pay,” id.
                            at 12(F)(3) (emphasis added); and,

                    (c)     Medical Leave: “A Flight Attendant may request an unpaid leave of
                            absence for his/her own illness or injury when he/she cannot return to
                            work after exhausting FMLA leave or if he/she is not eligible for FMLA,”
                            id. at 12(G)(6) (emphasis added).

         Nowhere in the CBA does it provide that a flight attendant shall be paid in connection
  with any of the foregoing leaves of absence, other than to the extent the flight attendant
  wishes to be paid from accrued sick leave or vacation time. As for Ms. Crowe, her leave was
  handled exactly as provided by the CBA. See Charge at ¶ 28 (recognizing that some of
  Ms. Crowe’s maternity leave was paid because it was “covered by accrued paid vacation”
  leave). Having bargained for this benefit in the CBA, Ms. Crowe cannot now complain that the
  very same policies discriminate against her. See Hardison, 432 U.S. at 79.

         Accordingly, the fact that Frontier does not pay pregnant flight attendants on a leave of
  absence in connection with their pregnancy or birth of a child cannot be deemed discriminatory
  where, as here, the Company does not pay any flight attendant (male or female) on a leave of
  absence for non-pregnancy-related medical conditions.9 See Young v. UPS, 135 S. Ct. 1338,
  1343-44 (2015). This renders any assertion that Frontier must pay Ms. Crowe for her time
  away from work for pregnancy-related medical conditions contrary to the mandates of Title VII
  as amended by the PDA. Id. at 1343 (only requiring an employer to treat “women affected by
  pregnancy . . . the same for all employment-related purposes . . . as other persons not so
  affected but similar in their ability or inability to work”) (quoting 42 U.S.C. § 2000e(k))
  (emphasis added).

                    3.      The Dependability Policy Is Not Discriminatory

         Next, Ms. Crowe alleges that Frontier’s dependability policy itself is discriminatory.
  Charge at ¶ 46(d); see Exhibit C (Employee Handbook) at Article 12. This claim is unfounded
  for multiple reasons.

          First, as discussed above, neither pregnancy nor the need to express milk for lactation
  purposes is considered a “disability” under the ADA. Thus, to the extent that Ms. Crowe claims
  that Frontier’s application of its dependability policy was a violation of the ADA, her claim must
  fail. Charge at ¶¶ 43, 46(d).

  9
      Frontier does not pay workers’ compensation claims, as required under the CBA and the law.




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          Second, the dependability policy is applied equally to all similarly situated employees,
  and Ms. Crowe does not claim otherwise. Any flight attendant unable to fly due to a sinus
  infection, regardless of the cause of the sinus infection, would be treated similarly in regards to
  dependability points. Thus, the dependability policy is not discriminatory against pregnant
  women under Title VII (as amended by the PDA). See Manning v. Swedish Med. Ctr., No. C15-
  0949 (JLR) 2016 WL 6216364, at *8 (W.D. Wash. Sept. 30, 2016) (denying Title VII
  discrimination claim where “[t]here is no evidence . . . to support that [employer] treated
  [claimant] differently from other employees” under the “Dependability Policy”); Stout v. Baxter
  Healthcare Corp., 282 F.3d 856, 860 (5th Cir. 2002) (absentee policy that is applied equally to
  “pregnant or post-partum employees” and “non-pregnant employees” is permitted).

         Third, to the extent that Ms. Crowe argues that the dependability policy is discriminatory
  because pregnancy-related leaves of absence “freeze the twelve-month clock for purposes of
  permitting points to ‘roll off,’” Charge at ¶ 6, the policy is entirely non-discriminatory in that it
  expressly includes all leaves of absence, including “Military, Medical, Personal, Workers’ Comp,
  FMLA, STD, etc.” See Exhibit C (Employee Handbook), at Article 12.05.1.3. Thus, the policy in
  no way discriminates against pregnant or post-pregnant women; it applies equally to all
  employees regardless of the type of leave taken.

                 4.      Frontier Does Not Provide Temporary Light Duty Assignments as
                         an Accommodation to Flight Attendants, Regardless of the Basis
                         for the Accommodation Request

         In her Charge, Ms. Crowe takes issue with the fact that Frontier does not assign flight
  attendants to a temporary light duty position to accommodate their stated need to express
  breast milk. Charge ¶¶ 9, 44, 45, 48. Ms. Crowe’s claim fails on numerous grounds.

           First, the CBA does not require, and Frontier’s policies and practices do not provide for,
  temporary light duty assignments (either at Frontier’s corporate office or at any airport) for any
  flight attendant (male or female) unable to fly due to: (a) an on-the-job injury; (b) a non-work
  related injury; or (c) any other medical condition or disability. Ms. Crowe is simply wrong when
  she claims that Frontier “maintains a policy under which it provides for . . . ‘light/modified duty’
  to individuals who are injured on-the-job.” Charge at ¶ 9 (citing CBA Art. 12(H)(2)). Rather,
  Article 12, Section H(2) of the CBA only provides that “[t]he first three days of OJI may be
  covered by sick days, or the Flight Attendant may immediately be assigned light/modified duty,”
  id. (emphasis added)—not that Frontier is required to provide these accommodations. By its
  own terms, the CBA does not require reassignment to light duty, and, in fact, Frontier’s policy is
  not to grant light/modified duty to any flight attendant unable to fly due to a medical condition,
  regardless of the nature of the medical condition.

          Second, in any event, Ms. Crowe’s argument is unfounded that she was “caused . . .
  financial harm” because Frontier did not offer “temporary job reassignment for reasons related
  to pregnancy or breast feeding.” Charge at ¶¶ 46, 47. By her own admission, Ms. Crowe has




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  not sought a reassignment. See Charge at ¶ 44. Thus, as Ms. Crowe never asked for any job
  reassignment during her pregnancy, Frontier certainly could not have discriminated against her
  for not providing this accommodation.

         Given the foregoing, Ms. Crowe appears to demand that the EEOC insist she be treated
  more favorably than other flight attendants similar in their ability or inability to work. There is
  no support for that demand in the relevant law, including the EEOC’s guidance interpreting the
  same. See Adams v. Potter, 193 F. App’x 440, 445 (6th Cir. 2006) (“accommodations are not
  reasonable if they would usurp the legitimate rights of other employees in a collective
  bargaining agreement”) (citation and internal quotation omitted).

         According to the EEOC’s Enforcement Guidance on Pregnancy Discrimination and
  Related Issues, in enacting the PDA:

                 Congress sought to make clear that ‘pregnant women who are
                 able to work must be permitted to work on the same conditions as
                 other employees; and, when they are not able to work for medical
                 reasons, they must be accorded the same rights, leave privileges
                 and other benefits, as other workers who are disabled from
                 working.’ The PDA requires [only] that pregnant employees be
                 treated the same as non-pregnant employees who are similar in
                 their ability or inability to work.

  Enforcement Guidance: Pregnancy Discrimination and Related Issues, 2015 WL 4162723, at *2
  (EEOC Notice No. 915.003) (June 25, 2015) (emphasis added).

           Further, in Young, the United States Supreme Court held that to succeed on a claim that
  the denial of an accommodation constitutes disparate treatment under the PDA, the plaintiff
  must show, among other things, “that she sought [an] accommodation, that the employer did
  not accommodate her, and that the employer did accommodate others ‘similar in their ability or
  inability to work.’” 135 S. Ct. at 1354 (emphasis added). Here, Ms. Crowe cannot establish
  that she was denied an accommodation provided to other flight attendants and accordingly,
  cannot set forth a prima facie case of discrimination. See Wade v. Brennan, 647 F. App’x 412,
  417 (5th Cir. 2016) (denying Title VII claim where complainant “failed to show [temporary
  reassignment position] was an existing position, so reassignment there would necessarily
  require [employer] to create a new position for her, which is not a reasonable
  accommodation”).

                 5.     Expression of Breast Milk During Flight Is a Safety Hazard

        Ms. Crowe acknowledges that on two separate instances, passengers had medical
  emergencies while she was in the lavatory expressing breastmilk. See Charge at ¶ 26. She
  must know that pumping during flight in the aircraft lavatory is not a viable option given the




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  safety issues that inevitably arise in the performance of a flight attendant’s duties. Taking
  extended breaks during a flight necessarily would place the welfare of Frontier’s passengers as
  well as Ms. Crowe’s colleagues flying on the aircraft at risk. Indeed, airlines are for that very
  reason exempted from the provisions of the Fair Labor Standards Act requiring break time. See
  Thibodeaux v. Exec. Jet Int’l, Inc., 328 F.3d 742, 754 (5th Cir. 2003) (confirming that “the FLSA
  exempts the company’s flight attendants from its overtime requirements”); 29 U.S.C.A. §
  213(b)(3) (West).

           As one example of the safety issues at play, on an Airbus 319 airplane, in addition to the
  two pilots, there are three flight attendants and approximately 150 passengers in flight. If a
  flight attendant is relieved of the performance of her duties for an extended period—to pump or
  otherwise—the other two flight attendants must deviate from their regular course of duty,
  which, in the event of a security incident, would allow for the passengers to more significantly
  outnumber the remaining crewmembers. Indeed, a flight attendant’s essential job duties
  include a number of safety-related functions that would be rendered impossible or impracticable
  if a flight attendant were permitted to pump while onboard an aircraft, including “conduct[ing]
  emergency evacuation of cabin if necessary,” “conduct[ing] preflight safety check of cabin
  emergency equipment,” “ensur[ing] cabin safety and security during all phases of flight,
  including boarding and deplaning,” and “provid[ing] emergency medical assistance.” See
  Exhibit A (Flight Attendant Job Description).

           Accordingly, Frontier flight attendants are not permitted to pump during flight for the
  legitimate, non-discriminatory reason that doing so risks flight safety, something Frontier is not
  willing to compromise. Young, 135 S. Ct. at 1343-44 (finding that if an employee can articulate
  a prima facie case of pregnancy discrimination, which Frontier does not concede, an employer
  successfully meets its burden upon a showing of legitimate, non-discriminatory reasons for its
  decision to not grant the accommodation requested).

                 6.     Ms. Crowe’s Claims that Frontier Did Not Offer Her Any
                        Accommodations Are False

        Lastly, Ms. Crowe suggests in her Charge that Frontier did not offer her any
  accommodations at all in connection with her expression of breast milk. This is not correct.

        First, as detailed above, Frontier approved each of Ms. Crowe’s requests for leave of
  absence after the births of her children.

          Second, while Frontier is unwilling to compromise flight safety, it does provide nursing
  mothers with the opportunity to work a reduced schedule, which is a special accommodation
  that is not available to other flight attendants. Specifically, the CBA requires that “[a]t the
  completion of each Bid Period each Flight Attendant must accumulate a minimum of 60 credit
  hours.” See Exhibit B (CBA) at Article 5 § L(1). However, Frontier allows nursing mother flight
  attendants the accommodation of dropping below 60 hours per month without having to restore




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  those hours, and only having to meet a minimum of 45 hours. This allows women returning to
  work and wanting to breastfeed the opportunity to work fewer hours, be on the schedule for
  fewer days, and bid for flights in a manner that allows them to be at home with their child more
  often. During the relevant time period, each time a nursing flight attendant has made a request
  to work a reduced schedule, Frontier has granted the accommodation requested by the flight
  attendant.

  III.   LEGAL ANALYSIS

           In her Charge, Ms. Crowe contends she was discriminated against based on her sex in
  violation of Title VII (as amended by the PDA), the ADA, the CADA, and the PWFA. Since she
  does not offer direct evidence of discrimination to support these claims, her allegations of
  discrimination must be analyzed under the McDonnell Douglas burden-shifting framework. A
  plaintiff alleging that the denial of an accommodation constituted disparate treatment under the
  PDA establishes a prima facie case by showing that: (1) she is a member of a protected class;
  (2) she sought an accommodation and the employer did not accommodate her; and, (3) the
  employer did accommodate others similar in their ability or inability to work. Young, 135 S. Ct.
  at 1354. If a plaintiff can make this showing, then the “employer may then seek to justify its
  refusal to accommodate the plaintiff by relying on legitimate, non-discriminatory reasons for
  denying her accommodation.” Id. “If the employer offers an apparently legitimate, non-
  discriminatory reason for its actions,” the burden then sifts back to the plaintiff to “show that
  that employer’s proffered reasons are in fact pretextual.” Id.

         For the reasons set forth above, with respect to her claims of discrimination, Ms. Crowe
  cannot meet her prima facie case because she cannot demonstrate that she sought an
  accommodation that Frontier did not grant to her, but provided others similar in their ability to
  work or not work. With respect to leave, Ms. Crowe acknowledges that Frontier granted her
  FMLA and non-FMLA leaves. For her current pregnancy, Ms. Crowe may apply for additional
  Medical Leave under the terms of the CBA, and will be granted such leave in accordance with
  the CBA with the proper medical certification that she has a pregnancy-related need for the
  leave.

      Accordingly, Ms. Crowe’s discrimination claim fails as a matter of law at the outset, as she
  cannot even establish her prima facie case. Indeed, Frontier’s decision to adhere to the
  provisions of the CBA and to treat Ms. Crowe the same as all other flight attendants in their
  ability or inability to work is evidence that its business decisions were legitimate and non-
  discriminatory. Ms. Crowe has not presented any evidence that Frontier’s legitimate decisions
  were pretextual.

         In summary, Ms. Crowe’s allegations are either untimely as a matter of law or without
  legal merit.




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    IV.      CONCLUSION

            For the reasons detailed above, Ms. Crowe has not been subject to any form of
    discrimination. Rather, Frontier has treated her fairly and lawfully at all times. Accordingly, the
    Company respectfully requests that Ms. Crowe's Charge be dismissed with a finding of "no
    probable cause." Please do not hesitate to contact me if you require any further information.


    Sincerely,


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                                                                          Littler Mendelson, P.C.
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                                                                          Danielle L. Kitson
                                                                          303.362.2872 direct
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  VIA ELECTRONIC SUBMISSION

  Todd Chavez
  Federal Investigator
  U.S. Equal Employment Opportunity Commission
  Denver Field Office
  303 East 17th Avenue
  Suite 410
  Denver, CO 80203

  Re:        Respondent’s Position Statement
             Trisha Hughes-Draughn v. Frontier Airlines, Inc.
             EEOC Charge No. 541-2018-02426


  Dear Mr. Chavez:

         Please accept the following letter and the attachments hereto as the Position Statement
  of Respondent Frontier Airlines, Inc. (“Frontier” or the “Company”) in response to the above-
  referenced Charge of Discrimination (“Charge”) filed by Trisha Hughes-Draughn on or about
  June 15, 2018.1 We are providing this information to the Equal Employment Opportunity


  1
    This Position Statement is based on Frontier’s understanding of Ms. Hughes-Draughn’s allegations to the
  best of its knowledge and recollection as of the date of this document. The information and supporting
  documentation contained herein are based upon Frontier’s understanding of the facts and the information
  reviewed thus far. Frontier expressly reserves the right to amend, supplement, or correct this Position
  Statement, if necessary. Although there has not been an opportunity for formal discovery or a complete
  formal investigation, this response is submitted for the purpose of aiding the Commission in its
  investigation, and facilitating the informal resolution of these matters. This response, while believed to
  be accurate, does not constitute an affidavit or a binding statement of Frontier’s legal position, nor is it
  intended to be used as evidence of any kind in any administrative or court proceeding in connection with
  the allegations. Frontier reserves all objections to the admissibility at any hearing, trial, or other
  proceeding of any of the information or documents provided to the EEOC. All information provided
  herein, including this Position Statement, is provided solely in cooperation with the EEOC’s fact-finding
  efforts. Since additional facts likely would be uncovered through discovery or following a full
  investigation, Frontier in no way waives its right to present new or additional information at a later date,
  for substance or clarification. Moreover, by responding to this Charge, Frontier does not waive, and
  hereby preserves, any and all substantive and procedural defenses that may exist to the Charge and
  Ms. Hughes-Draughn’s allegations. In addition, this Position Statement and the accompanying exhibits,
  which contain confidential personnel, medical and business information, are subject to the exceptions to


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  Commission (“EEOC” or the “Commission”) in accordance with F.R.E. 408 and C.R.E. 408 to
  assist the Commission in effecting a dismissal of the Charge, and it should not be considered for
  any other purpose. Also, Frontier provides this response based on the information currently
  available to it, and reserves the right to revise, withdraw, or add to this response in the future.

          In her Charge, Ms. Hughes-Draughn alleges to have suffered discrimination based on
  her “sex and because of a conditional related to [her] pregnancy (lactation)” in violation of
  Title VII of the Civil Rights Act of 1964 (“Title VII”), as amended by the Pregnancy
  Discrimination Act (“PDA”).2 Frontier also acknowledges that Ms. Hughes-Draughn contends
  the Company violated the Nevada Fair Employment Practices Act, the Colorado Fair
  Employment Practices Act, the Nevada Pregnant Workers Fairness Act (“NV-PWFA”), the
  Colorado Pregnant Workers Fairness Act (“CO-PWFA”), the Nevada law on the Rights of a
  Private Employee Who Is Mother of Child Under 1 Year of Age (“NV-Nursing Mothers Law”), and
  the Colorado Workplace Accommodations for Nursing Mothers Act (“WANMA”).

          At the outset, Ms. Hughes-Draughn acknowledges in her Charge that the EEOC does not
  have jurisdiction over WANMA and Nevada Nursing Mothers Law. See Charge at n.1.
  Accordingly, Frontier has refined its response to address Ms. Hughes-Draughn’s federal law
  claim under Title VII (as amended by the PDA), CADA, and the PWFA.3 To the extent the EEOC
  believes it has jurisdiction to investigate the state law allegations referenced in the Charge,
  particularly with respect to the WANMA, Frontier respectfully requests the opportunity to
  supplement this Position Statement to address these matters.

  I.     INTRODUCTION

          Frontier denies any allegation that it discriminated against Ms. Hughes-Draughn in
  violation of Title VII, as amended by the PDA, the CADA, the PWFA, or any other law. In fact,
  as detailed below, Frontier treated Ms. Hughes-Draughn, all pregnant pilots, and those pilots

  the disclosure requirements of the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552(b)(7). Frontier
  also requests that any efforts to contact its current managers be directed through its counsel.
  2
    On her EEOC Form 5, Ms. Hughes-Draughn additionally checked the box for “Retaliation” where asked
  to identify the basis of her Charge (in addition to “Sex”). Ms. Hughes-Draughn makes no mention of
  retaliation in the statement of harm attached to the Form 5, however, and does not address any claim of
  retaliation substantively. Frontier for that reason has not included a discussion of retaliation in this
  Position Statement.
  3
    In this Position Statement, CO-PWFA and NV-PWFA are collectively referred to as PWFA. Since
  Colorado Antidiscrimination Act (“CADA”) claims (inclusive of the PWFA, which amended CADA) are
  analyzed under the same framework as Title VII, please allow the analysis in this Position Statement to
  also serve as a legal analysis of the CADA pregnancy discrimination claim. St. Croix v. Univ. of Colo.
  Health Scis., Ctr., 166 P.3d 230, 236 (Colo. Ct. App. 2007) (citing Colo. Civil Rights Comm’n v. Big O
  Tires, Inc., 940 P.2d 397, 399 (Colo. 1997) (stating Colorado courts “look to federal cases for guidance
  on applying” the CADA).




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  wishing to express breast milk upon their return to work: lawfully; in compliance with the
  collectively bargained agreement governing relevant terms and conditions of a Frontier pilot’s
  employment; in accordance with its standard practices; and, most importantly, consistent with
  the manner in which it accommodates all pilots (both male and female) who are similar in their
  ability to work or not work.

          Indeed, upon close scrutiny of the Charge, it becomes clear that Ms. Hughes-Draughn
  demands that Frontier treat her, pregnant pilots, and those pilots seeking to express breast milk
  upon their return to flight more favorably than all other pilots and federal law. For example,
  Ms. Hughes-Draughn takes issue with the fact that her leaves of absence in connection with her
  pregnancies and the birth of her children were unpaid. Under the terms of the Frontier Airline
  Pilots Association’s (“FAPA”) Collective Bargaining Agreement (“CBA”), all medical leaves of
  absence are unpaid. Moreover, it is indisputable that Title VII, the Family and Medical Leave
  Act (“FMLA”), and Americans with Disabilities Act (“ADA”) do not require a leave of absence to
  be paid, nor does any Colorado or Nevada state law. Thus, were Ms. Hughes-Draughn paid for
  her medical leave related to her pregnancy, Frontier would be treating her more favorably than
  all other pilots operating under the collective bargaining agreement on leaves of absence.

          Similarly, Ms. Hughes-Draughn suggests that Frontier should not require pregnant pilots,
  or those pilots seeking to express breast milk, to submit medical certifications before extending
  their leaves of absence beyond the 120 day maternity leave provided for in the CBA. Frontier
  requires all pilots in need of a leave of absence to submit medical certification. Then length of
  maternity leave was a negotiated term in the CBA. Frontier accommodates pilots that need an
  extended leave of absence by approving such leaves upon submission of a medical certification.

          In her Charge, Ms. Hughes-Draughn further contends that the fact she was not offered
  a temporary reassignment to light duty as an accommodation for her pregnancy or desire to
  express breast milk upon her return to work is further evidence of discrimination. Ms. Hughes-
  Draughn suggests that she should have been offered the opportunity to be temporarily
  reassigned during her pregnancy and the time she desired to breastfeed. This argument falls
  flat because Frontier does not provide temporary light duty assignment at its corporate
  headquarters or at the airport as an accommodation to any pilot unable to fly for medical
  reasons. Any allegation that the Company has done so in the past has no basis in fact. To be
  clear, Frontier has no obligation under the CBA to provide this type of accommodation to pilots
  (male or female) who are unable to fly due to: (a) an on-the-job injury; (b) a non-work related
  injury; or, (c) any other medical condition or disability. Put another way, Frontier treated
  Ms. Hughes-Draughn the same as all other pilots.

         Ms. Hughes-Draughn also takes issue with the fact that she could be disciplined for
  expressing breast milk in the lavatory during flight. Charge at ¶ 28. Expressing breast milk in




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  the airplane lavatory during flight is not an approved accommodation.4 Frontier does not permit
  pilots to express breast milk during flight. It is beyond question that a pilot leaving his or her
  duties for a material period of time during flight—to breastfeed or for any other reason—creates
  a safety risk and compromises the welfare of passengers and crew members. For this reason,
  Frontier has not provided any pilot with the accommodation to stop working while on a flight for
  an extended period of time due to any medical condition or disability. Not only does Frontier
  have a legitimate, non-discriminatory reason for its decision to deny Ms. Hughes-Draughn the
  opportunity to compromise flight safety, but she cannot demonstrate that Frontier provided this
  accommodation to other pilots similar in their ability or inability to work for an entire flight.

         Finally, Ms. Hughes-Draughn’s allegations are further undermined by the fact that in
  early 2017, Frontier granted her the very accommodation she requested: an extended leave of
  absence until April 17, 2018, i.e., more than 16 months after the birth of her second child.

          In summary, Frontier believes that this Position Statement and the evidence submitted
  herewith demonstrate that it has acted lawfully at all times. Accordingly, it respectfully requests
  that the EEOC issue a no probable cause finding with respect to Ms. Hughes-Draughn’s Charge.

  II.     FACTUAL BACKGROUND

          A.      General Information Relating To Ms. Hughes-Draughn’s Employment

          On or about August 5, 2015, Ms. Hughes-Draughn began her employment with Frontier
  as a pilot in the position of First Officer, in which she remains as of the date of this Position
  Statement. As a First Officer, Ms. Hughes-Draughn is generally “responsible for ensuring safe
  and timely flight operations in accordance with all Company policies and Federal Aviation
  Regulations (FAR).” Exhibit A (First Officer Job Description). The job description’s emphasis on
  safety is consistent with the fact that while Frontier prides itself on being an ultra-low cost
  carrier, the Company views its primary mission to be ensuring the safety of its customers and

  4
    Ms. Hughes-Draughn claims that “Frontier never informed [her] of any policy or guidelines regarding
  pilots who need to express breast milk, and never warned [her] of any safety risks or precautions.
  Frontier never offered me any accommodations . . .” Charge at ¶ 30. However, it is not the employer’s
  responsibility to anticipate an employee’s needs and affirmatively offer an accommodation when the
  employee has not requested one. See, e.g. Koessel v. Sublette Cty. Sheriff's Dep't, 717 F.3d 736, 745
  (10th Cir. 2013). Not taking extended breaks and being available during flight is an essential function of
  a pilot’s job. Pilots hold safety sensitive positions. The law does not permit pilots to unilaterally alter an
  essential function of their jobs, without obtaining approval from Frontier, even if Frontier does not
  explicitly inform pilots that certain conduct is a violation of policy. Barber ex rel. Barber v. Colorado,
  Dep't of Revenue, No. CIV.A. 05-CV-00807RE, 2008 WL 207691, at *1 (D. Colo. Jan. 24, 2008)
  (“[P]laintiffs’ argument is that they were not afforded the particular accommodation they requested. This
  is not the law. Defendants’ duty is to offer a reasonable accommodation, not plaintiffs’ preferred
  accommodation.”), aff’d, 562 F.3d 1222 (10th Cir. 2009); see Adair v. City of Muskogee, 823 F.3d 1297,
  1311 (10th Cir. 2016).




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  employees. Thus, while serving nearly 100 cities in the United States, Mexico, Canada, and the
  Dominican Republic on over 300 daily flights, Frontier never loses sight that its principal
  responsibility is to ensure that passengers and employees are safely delivered to their
  destination.

          Upon her acceptance of employment as a First Officer, Ms. Hughes-Draughn voluntarily
  joined FAPA, the union that represents Frontier pilots and is responsible for promoting the
  interests of its members. Importantly, FAPA and Frontier negotiated a CBA, which is the
  contract that sets forth the terms of employment and working conditions for Frontier pilots.
  The CBA specifically addresses, among other things, seniority, scheduling, staffing adjustments,
  leaves of absence, and medical standards. Exhibit B (Relevant Provisions of FAPA CBA).
  Accordingly, its provisions are material to an assessment of Ms. Hughes-Draughn’s allegations.

         In her Charge, Ms. Hughes-Draughn contends she was discriminated against in
  connection with three separate, discrete time periods: (a) her desire to breastfeed her first child
  in 2015-17; (b) her pregnancy from approximately March to December 2016; and (c) her leave
  of absence following the birth of her second child from December 2016 to April 2018. Critically,
  after Ms. Hughes-Draughn had her second child on December 16, 2016, in accordance with the
  terms of the CBA, she was provided a 120 day leave of absence from the birth of her child, i.e.,
  up to and including April 15, 2017. Id. at §9.H.4. Before returning to work, Ms. Hughes-
  Draughn requested an extension of her leave until April 17, 2018 to allow her to breast feed her
  child. Charge ¶ 36. As of the date of this Position Statement, Ms. Hughes-Draughn remains
  employed by Frontier.

          B.      Ms. Hughes-Draughn’s Allegations With Respect To Her Breastfeeding
                  Her First Child, Her Pregnancy, And Her Maternity Leave Are Time
                  Barred

          In order to maintain a claim under Title VII (as amended by the PDA), the CADA, and/or
  the PWFA, a plaintiff must file a charge of discrimination with the EEOC (or Colorado Civil Rights
  Division, as applicable) within 300 days of the alleged unlawful employment practice. See
  42 U.S.C. § 2000e-5(e)(1) (Title VII, requiring charge be filed “within three hundred days after
  the alleged unlawful employment practice occurred”); see Davidson v. America Online, Inc.,
  337 F.3d 1179, 1183 (10th Cir. 2003) (“Title VII [and] the ADA require[] an individual to file a
  timely administrative claim within 300 days”).5 Ms. Hughes-Draughn filed her Charge on


  5
    The time limits for filing charges under the CADA and the PWFA, which require charges be filed within
  six months, are even shorter. See Colo. Rev. Stat. Ann. § 24-34-403 (West) (“Any charge alleging a
  violation of this part . . . shall be filed with the commission . . . within six months after the alleged
  discriminatory or unfair employment practice occurred, and if not so filed, it shall be barred.”) (emphasis
  added). In any event, the PWFA did not become effective until August 10, 2016, rendering any conduct
  before that inactionable with respect to the PWFA. See Colo. Rev. Stat. Ann. § 24-34-402.3 (West).




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  June 15, 2018, rendering any claim based on events transpiring on or before August 19, 2017
  (300 days prior) untimely as a matter of law.

         In her Charge, Ms. Hughes-Draughn raises issue related to breastfeeding her first child,
  her pregnancy with her second child, her maternity leave, and her extended leave of absence.
  Charge at ¶¶ 17-18. While employed at Frontier, Ms. Hughes-Draughn breastfed her first child
  from August 5, 2015 through May 2016. Id. at ¶¶ 17, 33. Ms. Hughes-Draughn was pregnant
  with her second child from March 2016 through December 16, 2016. Id. at ¶¶ 34, 36. She was
  on Maternity Leave from October 14, 2016 through April 15, 2017. Id. Ms. Hughes-Draughn
  then took an extended leave of absence until April 17, 2018. Id. at 36.

          There can be no doubt that most of the allegations in the Charge are time-barred, as
  they are well before the August 19, 2017 cut-off imposed by Title VII and enforced by the
  EEOC. National Railroad Passenger Corp. v. Morgan, 536 U.S. 101, 117 (2002) (finding that
  repeated occurrences of the same discriminatory employment action, like the failure to provide
  an accommodation, can be challenged only if “an act contributing to the claim occurs within the
  [charge] filing period”).    Accordingly, Ms. Hughes-Draughn’s allegations regarding any
  purported discrimination during the time she was breastfeeding her first child (August 2015 –
  May 2016), during her second pregnancy (March 2016 – December 2016), during her Maternity
  Leave (December 2016 – April 2017), and during the first part of her extended leave of absence
  (April 2017 – August 2017) are time-barred.6

         In summary, it is clear that Ms. Hughes-Draughn’s allegations with respect to
  breastfeeding her first child, her pregnancy, her maternity leave, and the first part of her
  extended leave are untimely as a matter of law. The only timely allegations are those that
  occurred after August 19, 2017 – i.e., the last half of Ms. Hughes-Draughn’s extended leave.7

         C.      Ms. Hughes-Draughn’s Allegations With Respect To Her Leave Of
                 Absence Lack Factual And Legal Merit

          In her Charge, with respect to her extended leave of absence, Ms. Hughes-Draughn
  takes issue with the fact that she was required to take an unpaid leave of absence, rather than
  be: (a) reassigned to a temporary light duty position until she was done breastfeeding; or, (b)
  paid for her time away from work. She also raises concerns about Frontier’s requirement that
  she submit medical certification.



  6
    Likewise, Ms. Hughes-Draughn’s allegations regarding any discrimination under the CADA and the PWFA
  that occurred before December 15, 2017, six months before she filed her charge, are time-barred. See
  Colo. Rev. Stat. Ann. § 24-34-403 (West).
  7
   The Charge does not contain any allegations related to Ms. Hughes-Draughn’s return to work following
  her extended leave of absence.




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                  1.      All Medical Leaves Of Absence Provided To Pilots Are Unpaid

         As an initial matter, the terms and conditions of the leaves of absence policies about
  which Ms. Hughes-Draughn complains are set forth in the CBA. That is, they were collectively
  bargained for by FAPA and on behalf of Ms. Hughes-Draughn, who voluntarily agreed to be a
  part of the union. This cannot be lost, as the Charge consistently refers to the leaves of
  absence policies to which Ms. Hughes-Draughn is subject to as “Frontier’s policies.” See e.g.
  Charge at ¶¶ 6, 7, 9, 35, 42, 44, 47 (referring to “Frontier’s policies”). This is misleading
  because it fails to inform the EEOC that Ms. Hughes-Draughn’s interests were represented by
  FAPA and accounted for in the determination of the scope of these policies.

          That aside, Ms. Hughes-Draughn takes issue with the fact that she was not provided a
  paid leave of absence. The CBA does not provide for a paid leave of absence for pilots unable
  to fly due to any type medical condition. See generally Exhibit B (CBA). As set forth in the
  CBA, Frontier provides pilots with the following types of medical leave: (a) Family and Medical
  Leave of Absence; (b) Maternity Leave of Absence; and, (c) Medical Leave of Absence. See
  Exhibit B at Section 9 (Leaves of Absence).8 Nowhere in the CBA does it provide that a pilot
  shall be paid in connection with any of the foregoing leaves of absence, other than to the
  extent the pilot wishes to be paid from accrued sick leave or vacation time. Accordingly, the
  fact Frontier does not pay pregnant pilots on a leave of absence in connection with their
  pregnancy or birth of a child cannot be deemed discriminatory where, as here, the Company
  does not pay any pilot (male or female) on a leave of absence for non-pregnancy related
  medical conditions. See Young v. UPS, 135 S. Ct. 1338, 1343-44 (2015). In summary, this
  renders any assertion that Frontier pay Ms. Hughes-Draughn for her time away from work for
  pregnancy-related medical conditions contrary to the mandates of Title VII. Id. (only requiring
  an employer to treat “women affected by pregnancy … the same for all employment-related
  purposes … as other persons not so affected but similar in their ability or inability to work”)
  (quoting 42 U.S.C. § 2000e(k)) (emphasis added).

                  2.      Frontier Does Not Provide Temporary Light Duty Assignments as
                          an Accommodation to Pilots, Regardless of the Basis for the
                          Accommodation Request

         In her Charge, Ms. Hughes-Draughn takes issue with the fact that Frontier does not
  assign pilots to a temporary light duty position to accommodate their stated need to express
  breast milk.9 Ms. Hughes-Draughn’s claim fails on numerous grounds.

  8
    Notably, Frontier pilots are eligible for workers’ compensation, as well as long term and short term
  disability benefits in connection with qualifying conditions.
  9
    While not in the relevant time period, Ms. Hughes-Draughn also takes issue with the fact that Frontier
  failed to provide her with the opportunity to be reassigned to a temporary light duty position to
  accommodate her inability to fly in the third trimester of her 2016 pregnancy. See Charge at ¶¶ 6, 7, 34,
  35. Under the Maternity Leave of Absence policy set forth in the CBA, “[a]fter the 32nd week of




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          First, the CBA does not require, and Frontier’s standard policies and practices do not
  provide for, temporary light duty assignments for any pilot (male or female) unable to fly due
  to: (a) an on-the-job injury; (b) a non-work related injury; or, (c) any other medical condition
  or disability. Ms. Hughes-Draughn is simply wrong when she claims that “under Frontier’s
  policies, other employees are permitted to seek temporary alternative assignments if they can
  demonstrate medical necessity or disability.” Charge at ¶ 7. During the relevant time period,
  Frontier did not provide a temporary light duty assignment to any pilot unable to fly for any
  reason.
          Second, in any event, Ms. Hughes-Draughn’s argument is unfounded that she “suffered
  financial harm” because Frontier did not offer “temporary job reassignment for pregnant and
  breastfeeding pilots.” Charge at ¶37. By her own admission, Ms. Hughes-Draughn did not seek
  a reassignment during the time she was on her extended leave of absence due to
  breastfeeding. Id. at ¶¶ 38, 39. Thus, as Ms. Hughes-Draughn never asked for any job
  reassignment during the time she was breastfeeding, Frontier certainly could not have
  discriminated against her for not providing this accommodation.
         Given the foregoing, the only conclusion that can be reached is that Ms. Hughes-
  Draughn demands that the EEOC insist she be treated more favorably than other pilots. There
  is no support in the relevant law, including the EEOC’s guidance interpreting the same. See
  Adams v. Potter, 193 F. App’x 440, 445 (6th Cir. 2006) (“accommodations are not reasonable if
  they would usurp the legitimate rights of other employees in a collective bargaining
  agreement”) (citation and internal quotation omitted).
          According to the EEOC Enforcement Guidance on Pregnancy Discrimination and Related
  Issues, in enacting the PDA:

                  Congress sought to make clear that ‘pregnant women who are
                  able to work must be permitted to work on the same conditions as

  pregnancy, or whenever such Pilot’s doctor will not provide the required medical authorization, whichever
  comes first, the Pilot will request Maternity Leave.” Exhibit B at Section 9.H. Notably, in her Charge,
  Ms. Hughes-Draughn does not claim that she should have been permitted to fly after her 32nd week of
  pregnancy or even that she wanted to continue working in any capacity, but instead, simply claims she
  “did not have an option” to request a temporary reassignment. Charge at ¶ 35. In fact, Ms. Hughes-
  Draughn went on Maternity Leave earlier than required by the CBA. Id. at ¶ 34 (She went on leave in the
  “30th week” of her pregnancy).
  The Federal Aviation Administration’s regulations prohibit a person who holds a current medical certificate
  from acting as a pilot when she knows or has reason to know of any medical condition that would make
  the person unable to meet the requirements for the medical certificate necessary for the pilot operation.
  14 C.F.R. § 61.53. Given the medical risks associated with flying during pregnancy, including premature
  labor, and the inherent risk to the safety of flight operations in the event of a medical emergency to a
  pilot, the CBA identifies that a pregnant pilot will no longer be eligible to fly a plane at 32 weeks of
  pregnancy. In her Charge, Ms. Hughes-Draughn does not dispute the legitimate business and safety
  reasons behind this decision, which was collectively bargained for and agreed to by her union.




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                other employees; and, when they are not able to work for medical
                reasons, they must be accorded the same rights, leave privileges
                and other benefits, as other workers who are disabled from
                working.’ The PDA requires [only] that pregnant employees be
                treated the same as non-pregnant employees who are similar in
                their ability or inability to work.

  Enforcement Guidance: Pregnancy Discrimination and Related Issues, 2015 WL 4162723, at *2
  (EEOC Notice No. 915.003) (June 25, 2015) (emphasis added). Pursuant to the foregoing,
  because Frontier does not provide temporary light duty assignment to pilots, the fact that
  Frontier did not provide Ms. Hughes-Draughn this accommodation is not evidence of
  discrimination under the PDA.

           Further, in Young v. UPS, the United States Supreme Court held that to succeed on a
  claim that the denial of an accommodation constitutes disparate treatment under the PDA, the
  plaintiff must show, among other things, “that she sought [an] accommodation, that the
  employer did not accommodate her, and that the employer did accommodate others ‘similar in
  their ability or inability to work.’” 135 S. Ct. at 1354 (emphasis added). Here, Ms. Hughes-
  Draughn cannot establish that she was denied an accommodation provided to other pilots and
  accordingly, cannot set forth a prima facie case of discrimination. See Wade v. Brennan, 647 F.
  App’x 412, 417 (5th Cir. 2016) (denying Title VII claim where complainant “failed to show
  [temporary reassignment position] was an existing position, so reassignment there would
  necessarily require [employer] to create a new position for her, which is not a reasonable
  accommodation”).

           In summary, when Frontier did not offer Ms. Hughes-Draughn the option of a temporary
  light duty assignment, it treated her the same as non-pregnant pilots who are similar in their
  ability to work or not work. Therefore, the Company met and is meeting the letter and spirit of
  the law.

                3.      Frontier Requires All Pilots Taking Leaves of Absence To Submit
                        Medical Certification

          Finally, Ms. Hughes-Draughn appears to take issue with the fact that before extending
  her leave Frontier needed a certification from a health care provider identifying the medical
  condition that precluded her return to work. See Charge at ¶ 40. Frontier requires all pilots
  requesting medical leaves of absence to submit medical certifications identifying the basis for
  their need for the leave. This is consistent with the terms of the CBA.

         Under the Maternity Leave of Absence policy, “[i]f a Pilot is unable to return to Active
          Service within 120 days after the pregnancy ends because of a certified medical
          incapacitation, she shall be entitled to receive a Medical Leave of Absence under the
          provisions of this Section.”




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            Under the Medical Leave of Absence policy, Frontier has the right to “require a Pilot
             who requests a Medical Leave of Absence to first present a reasonably sufficient report
             from the Pilot’s health care provider certifying the Pilot’s need for Medical Leave.”

          Exhibit B at Sections 9.H.15.a, 9.I.2 (emphasis added). In short, Ms. Hughes-Draughn’s
  belief that pilots should be able to take extended leaves of absence without input from a health
  care provider is misguided. Frontier requires all pilots to submit certification from a health care
  provider before taking leaves of absence. Again, Ms. Hughes-Draughn appears to be
  suggesting that pregnant and breastfeeding pilots should receive preferential treatment. As
  described above, the law does not support this notion.

             D.     Frontier’s Provision Of An Extended Leave Of Absence To Ms. Hughes-
                    Draughn Undercuts The Remaining Allegations In Her Charge

          Ms. Hughes-Draughn contends that the Maternity Leave of Absence policy allows for up
  to 120 days of unpaid maternity leave, but that after “120 days, employees are required to
  return to work as soon as they are deemed medically fit for duty, regardless of their specific
  needs or desire to extend the period of unpaid leave.” Charge at ¶ 8. She also claims that
  “Frontier has been inconsistent in making medical leave available for pilots for reasons related
  to breastfeeding.”

        As a preliminary matter, Frontier does allow employees to take extended leaves of
  absence following the birth of a child. Ms. Hughes-Draughn herself took over 1 year of leave
  (16 months) after the birth of her second child. Charge at ¶36.

          Furthermore, there is no federal law that requires Frontier to provide a paid maternity
  leave of absence or even that it administer a Maternity Leave of Absence policy. Rather,
  Frontier is required only to follow the FMLA, which is to say it must ensure eligible employees
  are allowed “to take job-protected, unpaid leave for up to a total of 12 workweeks within any
  12 months.” 29 C.F.R. § 825.100(a). Frontier more than met this federal mandate.
  Specifically, the CBA has a separate leave of absence policy addressing the FMLA. Exhibit B at
  Section 9.F. Thus, the fact that the Maternity Leave of Absence policy exists and affords
  Ms. Hughes-Draughn more than 17 weeks of leave after the birth of her child demonstrates just
  the opposite of unlawful treatment against female pilots. Put another way, the Maternity Leave
  of Absence policy provides for coverage far in excess of what is required by federal law and
  demonstrates a good faith attempt to accommodate working mothers.

  III.       LEGAL ANALYSIS

         In her Charge, Ms. Hughes-Draughn contends she was discriminated against based on
  her sex in violation of Title VII (as amended by the PDA), the CADA, and the PWFA. Since she
  does not offer direct evidence of discrimination on this claim, this allegation of discrimination
  must be analyzed under the McDonnell Douglas burden-shifting framework. A plaintiff alleging




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   that the denial of an accommodation constituted disparate treatment under the PDA establishes
   a prima facie case by showing that: (1) she is a member of a protected class; (2) she sought an
   accommodation and the employer did not accommodate her; and, (3) the employer did
   accommodate others similar in their ability or inability to work. Young, 135 S. Ct. at 1354. If a
   plaintiff can make this showing, then the “employer may then seek to justify its refusal to
   accommodate the plaintiff by relying on legitimate, non-discriminatory reasons for denying her
   accommodation.” Id. “If the employer offers an apparently legitimate, non-discriminatory
   reason for its actions,” the burden then shifts back to the plaintiff to “show that that employer’s
   proffered reasons are in fact pretextual.” Id.

          For the reasons set forth above, with respect to her timely claim of discrimination (and
   even those that are untimely), Ms. Hughes-Draughn cannot meet her prima facie case because
   she cannot demonstrate that she sought an accommodation that Frontier did not grant to her,
   but provided others similar in their ability to work or not work. For example:

           Ms. Hughes-Draughn complains that she was not afforded the accommodation of a
            paid leave of absence. Frontier does not provide a paid leave of absence to pilots
            unable to fly due to any type medical condition.

           Ms. Hughes-Draughn protests the requirement that she submit medical certifications
            during her extended leave of absence. Frontier requires all pilots requesting leaves of
            absence to submit documentation certifying their need for a leave of absence.

           Ms. Hughes-Draughn also takes issue with the fact that Frontier failed to provide her
            with the opportunity to be reassigned to a temporary light duty position to
            accommodate her inability or desire not to fly. Frontier does not provide temporary
            light duty assignment to any pilot unable to fly for any reason (e.g., on the job injury,
            off the job injury, any medical condition or disability).

          Accordingly, Ms. Hughes-Draughn’s discrimination claim fails at the outset, as she cannot
   even make it past her prima facie case. Indeed, Frontier’s decision to adhere to the provisions
   of the CBA and to treat Ms. Hughes-Draughn the same as all other pilots in their ability or
   inability to work is evidence that its business decisions were legitimate and non-discriminatory.
   Accordingly, Ms. Hughes-Draughn also cannot establish Frontier’s decisions were pretextual.

          In summary, Ms. Hughes-Draughn’s allegations are either untimely as a matter of law or
   without legal merit.




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    IV.      CONCLUSION

            For the reasons detailed above, Ms. Hughes-Draughn has not been subject to any form
    of discrimination. Rather, Frontier has treated her fairly and lawfully at all times. Accordingly,
    the Company respectfully requests that Ms. Hughes-Draughn's Charge be dismissed with a
    finding of "no probable cause." Please do not hesitate to contact me if you require any further
    information.

    Sincerely,


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    Oanielle L. Kitson

    DLK/SG

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